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   Patterns in the Performance Ratings, Promotion, Pay and Termination
     of African American Employees at Cargill, Inc. from 1995 to 2003




                                          David W. Peterson, PhD
                                          Lisa Grant Harpe, PhD
                                          Murray S. Simpson, PhD
                                          Peopleclick Research Institute
                                          Peopleclick, Inc.
                                          Two Hannover Square, 7th Floor
                                          Raleigh NC 27601
                                          (919) 645-2975




  April 21, 2004
  (Revised July 9, 2004)
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      Patterns in the Performance Rating, Promotion, Pay and Termination of African
                   American Employees at Cargill, Inc. from 1995 to 2003


  Introduction and Summary

           Peopleclick, Inc. is retained by plaintiffs’ counsel to determine whether statistical
  evidence supports the claim that Cargill, Inc. discriminates against salaried African
  American employees below the senior management level1 in performance rating,
  advancement, compensation and termination. Upon finding such evidence, we are asked
  further to determine whether it is pervasive, or is confined to some isolated group of
  employees or time period. Based on the studies in this report, we conclude that:

       •   Cargill generally employs few African Americans relative to their representation
           in the civilian labor force in each of the nine EEO-1 job categories (Officials and
           Managers, Professionals, Sales Workers, Technicians, Office and Clerical
           Workers, Craft Workers, Operatives, Laborers and Service Workers).

       •   The following disparities between African Americans and similarly situated peers
           persist from year to year, apply to both exempt and non-exempt employees, and
           are found across divisions and job groups, even after accounting for differences in
           education level and service:

           o African Americans receive disproportionately low performance ratings
           (imbalance: 9.42 standard deviations; probability less than one in a billion
           billion)2


  1
    Senior managers are identified as employees with pay grades ending in numbers above 15 or
  letters A, B, C, SR, ST, or SX.
  2
    Statistical imbalances are customarily expressed either as probabilities or numbers of standard
  deviations. Imbalances of less than two standard deviations are generally considered small
  enough to attribute to chance, while those greater than two or three are generally considered so
  large that they call for some explanation other than chance. In the absence of discrimination, a
  disparity to the disadvantage of African Americans that is as large or larger than 9.42 standard
  deviations is extremely unlikely – less than one in a billion billion. The correspondence between
  numbers of standard deviations and probabilities is outlined in the following table:
           Standard Deviations      Probabilities
                    2               0.02275                   or one in 44
                    3               0.001350                  or one in 741
                    4               0.00003167                or one in 31,574
                    5               0.0000002867              or one in 3,488,556
                    6               0.0000000009866           or one in 1,013,594,692
                    7               0.000000000001280         or one in 781,364,430,891


                                                  2
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         o African Americans receive disproportionately few promotions (imbalance:
         4.82 standard deviations; probability less than one in a million)

         o African Americans receive smaller pay increases (imbalance: 5.11 standard
         deviations; probability less than one in six million)

         o African Americans receive smaller bonuses, awards and incentives
         (imbalance: 10.38 standard deviations; probability less than one in a billion
         billion)

         o African Americans are terminated at disproportionately higher rates
         (imbalance: 7.96 standard deviations; probability less than one in a million
         billion)

     •   In sum, there is a pervasive pattern of statistically significant disparities to the
         disadvantage of African Americans throughout Cargill. These disparities are not
         confined to a single year, nor to only exempt or non-exempt employees, nor to a
         single division or job group, nor are they attributable to differences in educational
         attainment or years of service to Cargill.

  The details supporting these conclusions are explained below.


  Sources of Information

  We received the following data files through plaintiffs’ counsel:

     •   Cargill HRIS data with SSN (Bates Number 2000007-08)
     •   Cargill ResTrac data (Bates Number 2000009)
     •   HRIS Data Record Layouts (Bates Numbers 2000010-13)
     •   HRIS Lookup Table Record Layouts (Bates Numbers 2000014-18)
     •   ePMP data (Bates Numbers 2000023 – 24)
     •   Lookup tables 69 and 10048 only with new fields included and full file of
            employee data with new fields included (Bates Number 2000031)
     •   ResTrac and job posting data (Bates Number 2000033)
     •   Bonus and Options data, including data for salary grades above 15 (Bates
            Number 2000034)
     •   HRIS data on salaried non-exempt employees and employees in Bands A, B and
         C (Bates Number 2000036)
     •   Pre-July 1997 ResTrac data (Bates Number 2000037)
     •   ePMP data for salaried exempt employees, grades 15 and below (Bates Number
            2000038)
     •   ePMP data for salaried non-exempt employees and exempt employees above
            grade 15 (Bates Number 2000039)




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     •   Status data for Excel employees in grades above 15; position data for all Excel
         exempt salary grades and location data for all Excel exempt salary grades (Bates
         Number 2000040)
     •   1997 / 1999 KEIS data; 2000 LTMP data; KEIS glossary of terms; Leadership &
         Talent Management Process Glossary; and Leadership & Talent Management
         Process (Bates Number 2000041)
     •   Supplemental electronic LTMP data (Bates Number 2000044)
     •   Supplemental ePMP, Job Posting, Restrac and Bonus and Options data (Bates
         Number 2000045)
     •   Calendar Year 2002 – YTD 2003 HRIS data (Bates Number 2000046)
     •   Documents from Cargill’s 2000-2001 affirmative action plans including
         descriptions of job groups (Bates Numbers 168996, 168998, 169003, 169005,
         368847-48, 368850-52, 368853, 368856, 368859-64, 368866-67, 368869,
         368871, 371505-7, 380559)
     •   EEO-1 Reports for 1990-2003 (Bates Numbers 119187-89, 119978, 119980-82,
         120112, 120115-16, 120375-77, 120243-45, 307852-53, 316294, 393990-91,
         820287-303, 820891-92, 964091-93, 964098-99, 964102-03)
     •   Sample Affirmative Action Plans (Bates Numbers 161840, 161900, 163732, 163837,
         166747, 166895, 166896)

         The HRIS (Human Resource Information System) files in the list above cover the
  time period January 1992 – October 2003. They serve as the primary data source
  underlying our studies by providing historical records for each employee with regard to
  educational attainment, positions held, performance ratings, annual pay and quarterly
  earnings. They also include static employee information such as hire date, birth date and
  race as well as an indicator of the employee’s status (e.g., active, on-leave, retired,
  terminated).

  Claims and Studies

         Plaintiffs, seeking to represent a class of African American management,
  professional, and other salaried exempt and non-exempt employees, allege that Cargill
  discriminates against African Americans in performance rating, advancement,
  compensation and termination. We first show that Cargill employs few African
  Americans relative to their representation in the labor market, an indication that African
  Americans either are not or else do not feel themselves particularly welcome at Cargill.
  Then, in a series of five studies examining, in turn, employee performance ratings,
  promotions, pay progression, discretionary pay and terminations, we show that statistical
  evidence supports plaintiffs’ claims that even those limited number of African American


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  employees at Cargill do not fare as well as their non-African American peers. For each
  study, we describe below the key features of the methodology and summarize the results.
  First, however, we provide a brief explanation of the approach taken to assess plaintiffs’
  claims.

  Detecting Race Patterns in Cargill’s Employment Practices

            We employ a common sequence of steps to analyze Cargill’s performance rating,
  promotion, pay and termination practices for statistical indications of employment
  discrimination. We start with the databases provided to us by plaintiffs’ counsel and
  from these create data sets (called snapshots) of employees who were actively employed
  by the company on June 30th and December 31st of each year from 1995 to 2003.3 Next,
  we group employees in a snapshot by their exempt or non-exempt status under the Fair
  Labor Standards Act (‘FLSA status’), division, job group4, education level and years of
  service, based on our expectation that employment decisions at Cargill typically are made
  along divisional lines, and take into account the type of job an employee holds, and an
  employee’s educational attainment and tenure with the company. We call these groups
  “cohorts,” and they form the basic unit of analysis in our studies.


            Our studies check for disparities between African Americans and their cohort
  peers in assignment of performance ratings, selection for promotion, selection for
  termination, rates of pay progression, and receipt of discretionary incentive awards. A
  disparity in, say, promotions is said to be “statistically significant” when it is quite
  different from that which would be expected if promotions were granted randomly, and
  hence without regard to race. In this report, we interpret the magnitude of a disparity in
  one of two ways: (i) as a number of standard deviations or (ii) as a p-value.


  3
      A December 31st snapshot is not created for 2003 since the data end in October of that year.
  4
    Job groups are groupings of "jobs at the establishment with similar content, wage rates, and
  opportunities." (41 CFR 60-2.12(b)) "Similarity of content refers to the duties and
  responsibilities of the job titles which make up the job group. Similarity of opportunities refers to
  training, transfers, promotions, pay, mobility, and other career enhancement opportunities offered
  by the jobs within the job group." Id.



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          Courts and statisticians generally regard a disparity between –2 and +2 standard
  deviations as small enough to attribute reasonably to chance factors in the assignment,
  selection or pay-setting process. For that reason, such a disparity is said to be statistically
  insignificant. On the other hand, a disparity less than –2 standard deviations (for
  example, –4.7) or greater than +2 standard deviations is generally interpreted as being
  statistically significant, that is, likely caused by some factor other than chance. In the
  context of this report, it may support an inference that race was used as a criterion in
  making the employment decisions under question. Henceforth in this report, a positive
  number of standard deviations indicates that African Americans are favored relative to
  their non-African American peers; a negative number of standard deviations indicates
  they are disfavored relative to their peers.5

          The above discussion pertains to isolated or “bottom line” numbers of standard
  deviations. Where a number of standard deviations is just one among several, its
  interpretation is more complex. For example, in the performance ratings study discussed
  below, we find from among 40 job groups having comparators that 14 have a disparity
  of –2 or more standard deviations to the disadvantage of African Americans and only
  one has a disparity in excess of +2 standard deviations to the advantage of African
  Americans (i.e., +2.19 ). Under a model that randomly assigns performance ratings to
  employees, it is very unlikely that 14 or more job groups would have such large
  disparities to the disadvantage of African Americans, so unlikely in fact that this result
  cannot be attributed reasonably to chance; it is statistically significant. On the other
  hand, it is quite likely under a random assignment model that at least one job group
  would have a number of standard deviations equal to or exceeding +2.19 standard
  deviations, so likely in fact that this result can be attributed reasonably to chance and is
  therefore statistically insignificant.



  5
    When establishing the two standard deviation threshold, courts had in mind disparities
  measured for random variables that follow a normal distribution. If a random variable follows a
  different native distribution, such as the hypergeometric or binomial distributions, then disparities
  based on the random variable should be expressed as numbers of standard deviations on a normal
  scale (i.e., normal-equivalent numbers of standard deviations) rather than on the native scale.



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            Another way to express a racial disparity is in terms of a p-value (or probability
  value).6 Consider a p-value in the context of a study examining the assignment of
  performance ratings. Such a p-value measures the likelihood (under a random
  assignment model) of observing a disparity at least as disadvantageous (if negative) or
  advantageous (if positive) to African Americans as the disparity actually observed. A
  small p-value indicates that the observed disparity (or one even more extreme) is an
  unlikely event under a random assignment model. More specifically, it can be shown that
  a disparity in excess of about two (normal-equivalent) standard deviations is so large that
  it would occur less than 2.5% of the time if performance ratings were distributed across
  members of a cohort in completely random fashion. Thus, the two standard deviation
  threshold for declaring statistical significance corresponds closely to a 2.5% threshold
  for p-values.7 A p-value smaller than this threshold indicates the disparity is statistically
  significant; a p-value larger than this threshold indicates the disparity is statistically
  insignificant.


            Although cohorts are the basic unit of analysis in our studies, some may have so
  few members that even an egregious disparity between African Americans and their
  cohort peers would not generate a number of standard deviations in excess of two or a p-
  value less than 2.5%. Therefore, to assess whether any patterns persist across divisions
  or job groups, we aggregate the statistical results found at the cohort level by division and
  again by job group. We do the same for FLSA status, education level, and years-of-
  service groups. We aggregate cohort results by snapshot year to determine whether any
  pervasive patterns appear on a year-to-year basis. We also aggregate the cohort results
  together to obtain an overall summary.




  6
      A p-value may be one-tailed or two-tailed. In this report, we refer only to one-tailed p-values.
  7
    The p-value threshold of 2.5% corresponds more exactly to a 1.96 threshold on the standard
  deviation scale, but the latter figure is usually rounded off to 2 in practice.



                                                     7
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  Section I. General Characteristics of Cargill’s Salaried Workforce

             Table 1.1 below shows the racial composition of Cargill’s U.S. salaried workforce
  at year’s end for each year from 1995-2002.8 As the table indicates, Cargill has
  employed African Americans in percentages ranging from 3.83% (437 out of 11,407)
  in 1995 to 4.35% (581 out of 13,361) in 2001. The percentage of African Americans
  was smaller each year among exempt employees (ranging from 3.07% to 3.30%) than
  among non-exempt employees (5.72% to 6.75%).


                Table 1.1 Racial Composition of Cargill’s U.S. Salaried Workforce

                   Total        % Afr      Total        % Exempt     Total Non-    % Non Exempt
      Year       Employees      Amer      Exempt        Afr Amer      Exempt         Afr Amer
      1995         11,407        3.83      8,139          3.07         3,268             5.72
      1996         11,941        3.93      8,589          3.12         3,352             6.00
      1997         13,441        4.05      8,992          3.21         4,449             5.73
      1998         13,333        4.13      9,053          3.17         4,280             6.14
      1999         14,191        4.33      9,312          3.30         4,879             6.29
      2000         13,623        4.24      9,045          3.23         4,578             6.25
      2001         13,361        4.35      8,934          3.16         4,427             6.75
      2002         13,784        4.26      9,286          3.13         4,498             6.58


             Cargill records the EEO-1 category of each employee in its HRIS database and uses this
  information to complete the EEO-1 report for submission to the Equal Employment Opportunity
  Commission (EEOC) and Office of Federal Contract Compliance Programs (OFCCP). We
  compared the racial composition of Cargill’s salaried workforce for each of the above
  years to that of the U.S. civilian labor force for each of the nine EEO-1 job categories,
  using data from the 1990 and 2000 censuses.9 For each year and almost every EEO-1


  8
    These counts and percentages represent active, salaried, full-time employees at or below grade
  15 in the U.S. The year-end snapshots used here and in our studies do not include employees on
  long-term disability or those with a location of “International.” No year-end snapshot is available
  for 2003 since the HRIS data end in October of that year. Salaried U.S. employees make up less
  than half of Cargill’s total U.S. workforce; as of 2001, the total number of Cargill employees was
  40,662, according to its 2001 EEO-1 Form.
  9
    Federal agencies often use the decennial census Special EEO file, one version of which reports
  the race and gender composition of the civilian labor force by EEO-1 category, as a benchmark
  against which to compare an employer’s incumbent workforce for compliance with anti-


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  category, Cargill employed fewer African Americans than would be expected given their
  availability in the U.S. civilian labor force. Below, we show the results for years 1995,
  1998 and 2001. Appendix A contains the results for the remaining years as well as the
  results of comparisons conducted at the regional level, which are generally consistent
  with the results presented below.10


          Table 1.2 below depicts the situation at the end of 1995 for each EEO-1 job
  category. It shows, for example, that there were 2,811 Officials and Managers at
  Cargill, of whom 2.60% were African American. In contrast, the census data indicate
  that African Americans, in 1990, represented 5.35% of the Officials and Managers in
  the U.S. civilian labor force. By 2000, this percentage had risen to 6.29%.11 Chart 1.2
  provides a graphical depiction of these comparisons. Tables 1.3 and 1.4 make the same
  comparisons for year end 1998 and 2001, respectively, with graphical depictions in the
  accompanying charts. As is evident from the tables and the charts, Cargill generally
  employed fewer African Americans than would be expected given their representation in
  the civilian labor force, doing so for all but two EEO-1 categories (Craft Workers and
  Laborers) in 1995, all but one category (Craft Workers) in 1998 and one category
  (Technicians) in 2001.




  discrimination laws. In its Affirmative Action Program, Cargill collects jobs into the same “job
  group” units that we use in our studies.
  10
     While these studies involve only salaried employees, we also ran a version based on all Cargill
  employees reported on the company’s EEO-1 forms for each of the years 1995-2003. This
  version also indicates that Cargill consistently has employed few African Americans relative to
  their presence in the nine EEO-1 categories within the U.S. civilian labor force.
  11
     We also conducted this comparison by region and found substantially similar results,
  especially in the midwest region where the bulk of Cargill’s work force is employed. These
  results are presented in Appendix A.


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   Table 1.2 Racial Composition of Cargill’s Salaried Workforce by EEO-1 Categories
             in 1995, Compared to the U.S. Civilian Labor Force According to the
             1990 and 2000 Census

                                                         1995 Cargill Salaried Workforce                                              Census
                                                                              Non-                                               1990        2000
                                                    Total      African       African    African                                 African    African
        EEO-1 Job Category                        Employees American American American                                         American American
                                                           (#)                 (#)                   (#)                (%)        (%)        (%)

  Officials and Managers (01)                                 2,811                73                 2,738             2.60     5.35         6.29
  Professionals (02)                                          4,019            162                    3,857             4.03     7.34         7.63
  Technicians (03)                                              410             24                      386             5.85     8.87        10.97
  Sales Workers (04)                                          1,265             14                    1,251             1.11     7.75         8.61
  Office/Clerical Workers (05)                                2,327            114                    2,213             4.90    11.41        12.24
  Craft Workers (06)                                            105             14                       91            13.33     7.21         6.84
  Operatives (07)                                               360             18                      342             5.00    14.07        13.44
  Laborers (08)                                                  51             15                       36            29.41    13.05        11.61
  Service Workers (09)                                           30                  2                     28           6.67    17.06        15.79


   Chart 1.2 Racial Composition of Cargill’s Salaried Workforce by EEO-1 Categories
             in 1995, Compared to the U.S. Civilian Labor Force According to the
             1990 and 2000 Census

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    Percentage




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      Table 1.3 Racial Composition of Cargill’s Salaried Workforce by EEO-1 Categories
                in 1998, Compared to the U.S. Civilian Labor Force According to the
                1990 and 2000 Census

                                                     1998 Cargill Salaried Workforce                                               Census
                                                                          Non-                                                1990        2000
                                                 Total     African       African   African                                   African    African
    EEO-1 Job Category                         Employees American American American                                         American American
                                                    (#)                 (#)                 (#)                (%)            (%)          (%)

Officials and Managers (01)                            2,514             71                 2,443              2.82           5.35         6.29
Professionals (02)                                     5,345            203                 5,142           3.80              7.34         7.63
Technicians (03)                                         409             27                   382           6.60              8.87        10.97
Sales Workers (04)                                     1,160             11                 1,149           0.95              7.75         8.61
Office/Clerical Workers (05)                           2,333            108                 2,225           4.63             11.41        12.24
Craft Workers (06)                                       203             25                   178          12.32              7.21         6.84
Operatives (07)                                          922             61                   861           6.62             14.07        13.44
Laborers (08)                                            389             40                   349          10.28             13.05        11.61
Service Workers (09)                                       25                 2                    23          8.00          17.06        15.79



      Chart 1.3 Racial Composition of Cargill’s Salaried Workforce by EEO-1 Categories
                in 1998, Compared to the U.S. Civilian Labor Force According to the
                1990 and 2000 Census


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       Percentage




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     Table 1.4 Racial Composition of Cargill’s Salaried Workforce by EEO-1 Categories
               in 2001, Compared to the U.S. Civilian Labor Force According to the
               1990 and 2000 Census

                                                   2001 Cargill Salaried Workforce                                               Census
                                                                        non-                                                1990       2000
                                               Total     African       African   African                                   African    African
    EEO-1 Job Category                       Employees American American American                                         American American
                                                  (#)                    (#)                 (#)               (%)              (%)             (%)

Officials and Managers (01)                        2,757                  70                 2,687             2.54            5.35             6.29
Professionals (02)                                 4,949                 190                 4,759           3.84              7.34          7.63
Technicians (03)                                     363                  35                   328           9.64              8.87         10.97
Sales Workers (04)                                 1,144                  17                 1,127           1.49              7.75          8.61
Office/Clerical Workers (05)                       2,023                  90                 1,933           4.45             11.41         12.24
Craft Workers (06)                                   373                  19                   354           5.09              7.21          6.84
Operatives (07)                                    1,314                 119                 1,195           9.06             14.07         13.44
Laborers (08)                                        328                  35                   293          10.67             13.05         11.61
Service Workers (09)                                     20                    1                   19          5.00           17.06         15.79


     Chart 1.4 Racial Composition of Cargill’s Salaried Workforce by EEO-1 Categories
               in 2001, Compared to the U.S. Civilian Labor Force According to the
               1990 and 2000 Census

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       Percentage




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   Section II. Performance Management Process (PMP)

             Plaintiffs claim that Cargill uses its Performance Management Process (PMP)
   system in a discriminatory manner to justify employment decisions adverse to African
   Americans, such as decisions to terminate African Americans, to not promote African
   Americans and to deny African Americans merit pay increases or other advancement and
   development opportunities. Our examination of performance ratings in the HRIS pay
   history files permits the following characterizations of the PMP system. First, Cargill
   does not record a current rating for a large percentage of its employees in any given year.
   On a year-by-year basis from 1995-2002, the percentage of employees with a
   performance rating for that year ranges from a low of 60.7% in 1996 to a high of 77.2%
   in 2002.12,13 Second, Cargill has used several different rating scales over time with no
   clear correspondence between rating systems. Of these scales, two predominate during
   the claim period. One rating scale uses the numbers 2-6 with 6 being the highest rating
   and 2 being the lowest.14 The other rating scale uses the following five letter
   designations: BE, MS, ME, ES and EE.15


             To conduct a consistent statistical analysis of the PMP system, we convert the
   letter scale to a five-point scale with 5 being the highest rating and 1 being the lowest.
   We also convert the number scale to the same five-point scale with 5 being the highest
   rating and 1 being the lowest. However, we do not combine employees rated under the
   different systems, which would presume, for example, that a ‘5’ under the number system
   is equal to ‘EE’ in the letter system. Instead, we use the rating scale, letter or number, as




   12
        These percentages are recorded in Table 2.2 for each year, 1995 through 2002.
   13
      Furthermore, the percentage of African Americans missing a rating was consistently higher
   than would be expected given their representation in the workforce.
   14
      According to HRIS code descriptions provided by Cargill, 1 = Newcomer; 2 = Unsatisfactory;
   3 = Needs Improvement; 4 = Good; 5 = Very Good; 6 = Outstanding.
   15
      According to HRIS code descriptions provided by Cargill, BE = Below Expectations; MS =
   Meets Some Expectations; ME = Meets Expectations; ES = Exceeds Some Expectations and EE
   = Exceeds Expectations.


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   an employee grouping variable to take into account the possibly different nature of these
   rating systems.


           Using year-end snapshots of Cargill’s salaried workforce from 1995 to 2002, we
   group employees in each snapshot by FLSA status, division, job group, education level16
   and service.17 For each snapshot year, we identify each employee’s rating in that year
   and include in our analysis only employees who received a rating of 2 through 6 or one of
   the five letter ratings (BE, MS, ME, ES, EE).18

           We use a standard statistical procedure called the rank sum test to determine
   whether African Americans within a cohort tend to fall at the low end of the rating scale
   compared to what would be expected if ratings within cohorts were assigned without
   regard to race. To examine whether there are pervasive patterns of racial disparities
   within Cargill, we aggregate the results from the cohorts by year, FLSA status, division,
   job group, educational level and service quartile. We then aggregate the results across all
   cohorts for an overall summary.


           Table 2.1 shows the overall summary result across all cohorts and years. It shows
   that over the eight-year period covered by the study, there were 2,225 instances in which
   African American employees were assigned ratings. It shows further that when these
   ratings are compared within cohorts, the overall pattern is disadvantageous to African

   16
      Based on HRIS education files, we place employees into one of four education levels as
   follows: no recorded degree = None recorded; degrees AA and AD = Less than college; degrees
   BA, BS, BC and BD = College; and degrees MA, MS, MD, DO, DP, JD and PG = Advanced
   Degree.
   17
      Based on the distribution of years of service for all employees in our snapshots, we group
   employees into one of four service quartiles where employees in the 1st quartile have the least
   service and those in the 4th quartile have the most.
   18
      There were a handful of other ratings in the HRIS files, such as B, M, E, MH and ML. We
   chose to limit our reported study to those rated under the two predominant rating scales.
   However, we conducted an additional study that included these ratings and found similar results
   (see note 19). Also, it is our understanding that employees are generally rated in June, so it is
   reasonable to expect that each employee’s rating would be recorded by the December 31st
   snapshot date.



                                                   14
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   Americans by 9.42 standard deviations. (Recall that a negative sign in front of a
   number of standard deviations, designated by parentheses around the number of standard
   deviations in this table and all tables in this report, indicates that the imbalance disfavors
   African Americans.) That is, there is a very strong pattern of imbalance from cohort to
   cohort showing that African Americans received lower performance ratings than did their
   cohort peers. Expressed on the probability scale, this imbalance has a p-value of less
   than one in a billion billion. That is, it is virtually inconceivable that an imbalance this
   severe would occur if, within each cohort, performance ratings were assigned randomly
   (and hence without regard to race).19

           For purposes of determining whether this overall imbalance is attributable to
   imbalances in just one or a few rogue cohorts, we break down this summary into
   component parts in each of the next six tables. Table 2.2 breaks down the summary
   disparity showing its year by year components, revealing that the pattern of disadvantage
   to African Americans exists for every year between 1995 and 2002. For six of the eight
   years, the disparity exceeds two standard deviations. The largest disparities occur in the
   years 2000-2002, those in which the highest percentages of employees are rated.20


           The next two tables break down the overall summary by rating system (Table 2.3)
   and FLSA status (Table 2.4), showing that disparities exceed two standard deviations
   both for exempt employees and for non-exempt employees, and both for employees rated
   under the letter rating system and for those rated under the numerical rating system, all to
   the disadvantage of African Americans. Further, as seen in Tables 2.5 and 2.6, the


   19
      We conducted an additional study that converts all ratings, not just those found in the two
   official ratings systems, into a five-point scale with 1 being the lowest rating and 5 being the
   highest. With all ratings included, the overall ratings disparity between African Americans and
   their peers equates to –9.79 standard deviations, slightly stronger evidence that African
   Americans receive disproportionately low performance ratings.
   20
      The disparities in 1997 and 1999 are both less than two standard deviations in magnitude, but
   both are negative, and both should be interpreted in the context of the imbalances for the other
   years. One would expect that, if Cargill’s practices were consistently tipped against its African
   American employees, there would be some years in which the imbalances are more apparent than
   others. The yearly imbalances, including those for 1997 and 1999, are consistent with a steady
   yearly pattern measuring 3.14 standard deviations to the disadvantage of African Americans.


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   disparity in ratings between African Americans and their peers cannot be isolated to one
   or a few job groups or one or a few divisions.21

             At the job group level (Table 2.5), African Americans received lower than
   expected ratings in 34 out of the 40 job groups in which there were comparators. Out
   of these 34 job groups, the disparity equals or exceeds two standard deviations to the
   disadvantage of African Americans in 14 job groups.22 These 14 job groups cut across
   different job functions, such as Production, Administration, Information Systems,
   Transportation and Logistics, Clerical, Labor and Human Resource Development.


             At the division level (Table 2.6), African Americans receive lower than expected
   performance ratings in 43 of the 53 divisions in which there are comparators. The
   disparity exceeds two standard deviations to the disadvantage of African Americans for
   each of 15 divisions.23 There are no divisions with a rating disparity that exceeds two
   standard deviations to the advantage of African Americans.




   21
        The job group and division names reported in the tables are the ones provided by Cargill.
   22
      The number of standard deviations associated with the disparities in these 14 job groups
   ranges from –5.74 to –2.00. There are 36 job groups large enough to generate an imbalance of
   –2.00 or more standard deviations. The probability that 14 or more of these would randomly
   yield a number of standard deviations less than or equal to –2.00 is less than one in a million
   million, and equates to –7.55 standard deviations. Being far greater than two standard
   deviations in magnitude, this signals an imbalance to the disadvantage of African Americans too
   large to attribute to chance. There was one job group, job group 21-General Professionals (+2.19
   standard deviations), where the disparity exceeds +2 standard deviations to the advantage of
   African Americans. The probability that one or more job groups would randomly yield a number
   of standard deviations equal to or exceeding +2.19 is 0.4116, which corresponds to 0.22
   standard deviations. Being less than two standard deviations in magnitude, this signals an
   imbalance to the advantage of African Americans that is so small as to be attributable to chance.
   23
      The number of standard deviations associated with the disparities in these 15 divisions ranges
   from –4.0 to –2.04. There are 40 divisions large enough to generate an imbalance of –2.04 or
   more standard deviations. The probability that 15 or more of these would randomly yield a
   number of standard deviations equal to or exceeding –2.04 is less than one in a million million,
   and equivalent to –7.90 standard deviations. Being substantially greater than two standard
   deviations in magnitude, this is an imbalance to the disadvantage of African Americans that
   cannot reasonably be attributed to chance.



                                                     16
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          Table 2.7 shows the ratings disparity summarized by education level and also by
   years of service. In the education summary, the disparities are most pronounced among
   the two largest groups of employees, those with college degrees (−4.99 standard
   deviations) and those with no recorded degrees (−7.50 standard deviations). In each of
   the other two educational groups of employees, the imbalance of performance ratings
   also disfavors African Americans, one slightly in excess of two standard deviations in
   magnitude and one slightly less than two standard deviations.

          The table also shows that when cohorts are grouped based on employee service,
   every single service quartile produces a statistically significant imbalance to the
   disadvantage of African Americans. These imbalances range from −3.02 to −5.44
   standard deviations.

          Of particular interest for the purposes of class certification is the fact that the
   overall disparity cannot be attributed to a single time period, division or job group or to
   only exempt or non-exempt employees. Even after we account for educational
   attainment and service, the disparities in performance ratings between African Americans
   and their peers are not isolated to one particular year, rating system, FLSA status,
   division, job group, education level or service group. The results presented above point
   to a pervasive pattern at Cargill in which African Americans receive disproportionately
   low ratings compared to similarly situated non- African Americans.




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                TABLES 2.1 - 2.6: PERFORMANCE MANAGEMENT PROCESS
                                     (PMP) RATINGS


                                          Table 2.1 Overall Summary



                                                          Total African
                             Total Employees               Americans                S.D.s
                                                                                               24
                                    64,216                      2,225                 (9.42)




                                                Table 2.2 By Year

                                                         Total African                      % of Total
                 Year       Total Employees               Americans              S.D.s       Rated
                  1995              5,964                     202                (2.71)       62.3
                  1996              6,709                     213                (2.35)       60.7
                  1997              7,505                     242                (1.74)       62.4
                  1998              7,771                     283                (2.60)       68.5
                  1999              7,873                     295                (1.37)       68.7
                  2000              8,339                     310                (4.26)       71.0
                  2001              9,667                     324                (5.32)       74.3
                  2002             10,388                     356                (4.73)       77.2



                                          Table 2.3 By Rating System

             Rating System          Total Employees             Total African Americans             S.D.s
            Letter                         58,266                         1,963                     (9.19)
            Number                          5,950                           262                     (2.23)



                                           Table 2.4 By FLSA Status

                    FLSA           Total Employees           Total African Americans            S.D.s
                  Exempt                  49,720                         1,528                  (9.10)
                  Nonexempt               14,496                           697                  (3.05)




   24
        For this and other tables in the report, parentheses around a number indicate that the number is negative.


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                                                    Table 2.5 By Job Group

              st                                                                       Total     Total African
Job Group (1 2 digits are Cargill’s EEO category. PG = Pay Grade)                                                     S.D.s
                                                                                     Employees    Americans
  02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                                      7,779            353          (5.74)
  02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)                                     2,386             75          (3.54)
  __ 11 MANAGEMENT ll                                                                    849              28          (2.98)
  02 O INFORMATION SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                               2,400             56          (2.89)
  01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                                        4,564            142          (2.76)
  02 X OTHER SPECIALISTS (PG 1-10)                                                      1,165             39          (2.47)
  02 OTHER SPECIALIST (PG 1-10)                                                         1,988             37          (2.43)
  01 C GENERAL MANAGEMENT (PG 9-15)                                                      628              11          (2.40)
  02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                                             845              15          (2.29)
  01 N INFO SYSTEMS MANAGEMENT (PG 11+)                                                 1,217             26          (2.16)
  01 S TRAFFIC, TRANS & LOGISTICS MANAGEMENT (PG 11+)                                    308              11          (2.11)
  05 N3 SKILLED CLERICAL 1-4                                                            1,296             95          (2.04)
  08 N6 LABORERS                                                                         174              10          (2.03)
  02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                                        1,352             51          (2.00)
  02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                                        3,753            233          (1.92)
  02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                                        1,110             51          (1.81)
  06 N4 CRAFTS                                                                           555              26          (1.70)
  05 N1 SKILLED CLERICAL 5-7                                                            3,101            120          (1.59)
  05 NY ACCOUNTANTS 6-7                                                                  750              18          (1.41)
  02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                                         507              19          (1.40)
  05 NV SECRETARIES 2-5                                                                  888              44          (1.38)
  01 K ACCOUNTING MANAGEMENT (PG 10+)                                                   1,561             28          (1.09)
  02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                                        1,019             57          (1.00)
  01 XX-8595 PAINTING & DECORATING OCC                                                   269              11          (0.98)
  07 N5 OPERATIVES                                                                      2,786            137          (0.84)
  03 NR TECHNICAL SUPPORT                                                               1,172             52          (0.79)
  04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                                           1,586             17          (0.75)
  05 NZ ACCOUNTANTS 2-5                                                                 2,051            119          (0.42)
  __ 41 SALES BELOW 10                                                                   361               3          (0.40)
  04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                                          4,482             68          (0.25)
  __ 12 MANAGEMENT lll                                                                   753              27          (0.19)
  03 NT COMPUTER OPERATIONS                                                              394              53          (0.17)
  05 NU SECRETARIES 6-7                                                                 1,182             13          (0.16)
  02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                                       1,843             43          (0.02)
  01 H MERCHANDISING MANAGEMENT (PG 11+)                                                1,023             26           0.20
  01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                                      1,262             34           0.25
  01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                                        1,260             27           0.28
  09 N7 SERVICE WORKERS                                                                  119               9           0.29
  01 U SALES MANAGEMENT (PG 11+)                                                        1,560             23           0.73
  __ 21 GENERAL PROFESSIONALS                                                            306               2           2.19
                                                                                                 Highlighted lines have 50 or
An additional 15 job groups have insufficient data to calculate a number of S.D.s.
                                                                                                  more African Americans.




                                                                     19
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                              Table 2.6 By Division
                                     Total No. of   Total No. of African
           Division                  Employees          Americans          S.D.s
           07515-ADMIN                   4,051                     83      (4.00)
           07420-EXCEL BEEF              2,078                     62      (3.66)
           00512-CORN MLG                4,232                    215      (3.52)
           07115-HORIZMILL                   948                   56      (3.35)
           07500-SSC                         280                   19      (2.96)
           00535-HOHENBERG                   138                   49      (2.70)
           07135-SWEETNRNA               2,437                    149      (2.64)
           00505-ADMIN                   3,567                     86      (2.49)
           07465-PHOSPHPROD                  947                   61      (2.45)
           07510-WIRE                        150                   13      (2.38)
           00533-CIS                     1,169                    106      (2.34)
           07010-AGHORIZUS               1,514                     24      (2.12)
           07295-CIS                         732                   85      (2.11)
           00518-DRY MLG                 1,506                    100      (2.11)
           07495-NSS                     1,780                     57      (2.04)
           00073-COFFEE                      144                   26      (1.81)
           07968-MEAT SOL                1,092                       8     (1.80)
           00513-OILSEEDS                1,183                     58      (1.78)
           00523-CSW                         550                   30      (1.57)
           00510-CCI                         134                     8     (1.41)
           07080-WILBUR                      229                     3     (1.38)
           07370-CGLCITRPUR                  191                     8     (1.37)
           07430-EXCEL PORK                  702                   13      (1.31)
           00036-WWJFV                       228                   15      (1.28)
           07105-ARO                          87                     6     (1.18)
           07415-EMMPAK                      418                   14      (1.18)
           07245-HEA/FDTECH                  237                     4     (1.16)
           07475-FERTDISTR                   286                     5     (1.09)
           07120-DSONA                       359                   22      (1.05)
           00516-FOOD SECTR                   94                     6     (1.05)
           07480-DEICTECHN                   494                   15      (1.04)
           07110-US PNUTS                     14                     3     (1.00)
           00405-PEANUTS                      77                   16      (0.99)
           00539-EXCEL                   5,596                    129      (0.95)
           07070-TURKPROD                1,202                     34      (0.91)
           07025-CAN                     2,107                     25      (0.75)
           00108-WILBR CHOC                  181                     4     (0.73)
           07440-EXCELCR                     263                   20      (0.62)
           00550-PPD                     1,504                     11      (0.60)
           07220-VIT E                        31                     1     (0.58)
           00532-FMG                     1,124                     15      (0.51)
           07405-WWCOTTON                    191                   36      (0.46)
           00034-FERTILIZER              1,574                     69      (0.28)
           00503-AN NUTR DV              3,621                     32      0.05
           07325-GOSCNA                  1,231                     77      0.06



                                        20
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                                                    Table 2.6 cont’d

                                                         Total                Total African
                              Division                 Employees               Americans                S.D.s
             07125-DRYCORNING                                     249                          6         0.17
             00507-SALT                                          1,920                         64        0.18
             00508-SEED                                          1,067                         4         0.38
             00106-NAG/AGM                                        145                           4        0.50
             00001-NAG                                           3,001                        103        0.90
             00538-NSS                                           1,777                         57        1.16
             07485-SALT                                          1,238                         62        1.23
             07060-SUNFRFDS                                        329                         4          1.41
             57 additional divisions have insufficient data to calculate      Highlighted lines have 50 or more
             a number of S.D.s.                                                      African Americans.




                              Table 2.7 By Education Level and Service

   Education Level              Total Employees                          Total African Americans                  S.D.s
    Advance degree                           4,829                                    126                         (1.98)
    College                                 25,226                                    634                         (4.99)
    Less than college                        3,884                                    119                         (2.02)
    None recorded                           30,277                                  1,346                         (7.50)
    Years of Service             Total Employees                         Total African Americans                  S.D.s
     1st quartile                        11,017                                       409                         (3.02)
     2nd quartile                        17,475                                       539                         (5.27)
     3rd quartile                        17,655                                       540                         (4.78)
     4th quartile                        18,069                                       737                         (5.44)




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   Section III. Promotions

          Plaintiffs claim that Cargill discriminates against African Americans in
   advancement, including promotions. Our second study examines whether African
   Americans are promoted at the same rates as their non-African American peers. For this
   study, we create snapshots of Cargill’s salaried workforce as of June 30th and December
   31st of each year from 1995 to 2002.25 For each semi-annual snapshot, we group
   employees by FLSA status, division, job group, education level and service and identify
   within each group those employees promoted during the subsequent six month period.


          Within each cohort, we compare the proportion of African Americans promoted
   with that of all other members of the cohort. As in the study of performance ratings, we
   examine whether there are pervasive patterns of racial disparity by aggregating the results
   from the cohorts in turn by year, FLSA status, division, job group, education level, and
   service quartile. We then aggregate the results across all cohorts for an overall summary.


          Table 3.1 shows the overall summary results. It shows that over the period from
   1995 through 2003, 382 African Americans were promoted. It also shows that, had
   promotions been awarded within each cohort in the same proportion to both African
   Americans and to non- African Americans, that 461.40 promotions would have gone to
   African Americans. This disparity equates to –4.82 standard deviations, or, on the
   probability scale, to less than one chance in a million. This is a disparity far too great to
   attribute solely to chance.


          Table 3.2 shows the year-by-year components of this overall disparity. It shows
   for each year the total number of employees in the snapshots (there are two snapshots
   each year starting with 1996), the number from among this total that were promoted, and
   the number of these who are African American. Also reported is the number of African
   Americans that would be promoted if Cargill promoted them at exactly the same rate as
   their cohort peers. The last two columns of the table report the difference between the

   25
     By using semi-annual snapshots instead of annual ones, we capture instances in which an
   employee is promoted once in the first half of a year, and then again in the second.


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   actual and expected numbers of African American promotions and the number of
   standard deviations associated with this difference. As shown in the table, African
   Americans were promoted less often than expected in eight out of nine years, with the
   disparity exceeding two standard deviations to the disadvantage of African Americans in
   two years (namely, 2000 and 2002).26


           Table 3.3 shows that the disparity between the actual and expected number of
   African American promotions exceeds three standard deviations to the disadvantage of
   exempt African Americans, and also non-exempt African Americans.


           Table 3.4 presents the results broken down by job group. Cargill promoted fewer
   African Americans than expected in 26 of the 45 job groups in which there are
   comparators and at least one promotion. The disparity in promotions exceeds two
   standard deviations to the disadvantage of African Americans in four of these job groups,
   but in no case is there an imbalance favoring African Americans by as much as two
   standard deviations.27 Once again, the overall disparity is not attributable to just one or
   two job groups, but rather is spread across several.

           Table 3.5 shows that, at the division level, African Americans received fewer
   promotions than expected in 46 out of 60 divisions in which there are comparators and
   at least one promotion. The disparity exceeds two standard deviations in three

   26
      As with Table 2.2 (see note 20), each of these yearly entries needs to be interpreted in the
   context of the others; one cannot properly infer that only those years with disparities in excess of
   two standard deviations call for an explanation other than chance. The yearly imbalances are
   consistent with a steady annual pattern of disadvantage to African Americans measuring –1.44
   standard deviations, from which the yearly entries in Table 3.2 may be regarded as random
   departures, some less favorable and some more favorable. If promotions are awarded randomly
   (and hence in a nondiscriminatory manner) within cohorts, the yearly entries should appear to be
   random departures from 0.00 standard deviations, and the entries in Table 3.2 clearly do not
   meet this requirement.
   27
      The number of standard deviations associated with the disparities in the four job groups range
   from –2.84 to –2.07. There are 29 job groups large enough to generate an imbalance of –2.07
   or more standard deviations. The probability that four or more of these 29 job groups would
   randomly yield a number of standard deviations less than or equal to –2.07 is 0.0022 (one in
   443) which equates to –2.84 standard deviations.



                                                    23
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   divisions.28 There are no divisions with a disparity exceeding two standard deviations to
   the advantage of African Americans. Again, the overall imbalance is not attributable to a
   single division but rather is spread among several.


           Table 3.6 shows the promotion disparity’s components summarized by education
   level and also by years of service. In the education summary, the disparity is most
   pronounced among college graduates (–2.72 standard deviations) and employees for
   whom no education is recorded (–3.81 standard deviations), these being the categories
   that account for the great majority of employees. Results from the two other educational
   categories also tip against African Americans, but by less than a standard deviation each.
   As the summary by years of service shows, the promotion disparity is greatest among
   employees with relatively little seniority (–5.51 standard deviations) and those with a lot
   of seniority (–2.48 standard deviations). Once again, it appears that the overall disparity
   is not confined to a single small group of employees.


           In sum, there is a very strong overall pattern in which African Americans do not
   receive a proportionate share of promotions relative to their peers – employees having the
   same education level, length of service, FLSA status, job group and division. This
   overall imbalance measures –4.82 standard deviations, equivalent to less than one
   chance in a million. Of particular interest for the purposes of class certification is the fact
   that the overall disparity cannot be attributed to a single time period, division or job
   group or to only exempt or non-exempt employees. Neither can it be attributed to some
   small group of employees distinguished by their education level or service.




   28
      The numbers of standard deviations associated with the disparities in the three divisions range
   from –2.00 to –3.10. There are 23 divisions large enough to generate an imbalance of –2.00
   or more standard deviations. The probability that three or more of these would randomly yield a
   number of standard deviations less than or equal to –2.00 is 0.0146 (one chance in 68), which
   equates to –2.18 standard deviations.



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                           TABLES 3.1 – 3.5: PROMOTIONS


                              Table 3.1 Overall Summary

                                    African
          Total        Total       Americans
        Employees    Promoted      Promoted           Expected     Shortfall   S.D.s
           221,154      12,377        382              461.40       (79.40)    (4.82)




                                   Table 3.2 By Year

                                          African
                 Total         Total     Americans
       Year    Employees     Promoted    Promoted      Expected   Difference     S.D.s
       1995        10044          388            18      20.45      (2.45)      (0.65)
       1996        23028         1516            42      51.64      (9.64)      (1.65)
       1997        24436         1533            53      58.73      (5.73)      (0.94)
       1998        26821         1750            55      63.19      (8.19)      (1.23)
       1999        26929         1811            57      61.89      (4.89)      (0.70)
       2000        28049         2045            48      74.46     (26.46)      (3.85)
       2001        26964         1419            43      54.19     (11.19)      (1.89)
       2002        27028         1193            40      51.61     (11.61)      (2.15)
       2003        27855          722            26      25.25        0.75        0.07




                               Table 3.3 By FLSA Status

                                          African
                               Total     Americans
         FLSA       Total    Promoted    Promoted      Expected   Difference   S.D.s
        Exempt     150,514       9,220      246         294.31     (48.31)     (3.63)
       Nonexempt    70,640       3,157      136         167.09     (31.09)     (3.14)




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                                              Table 3.4 By Job Group

               st
  Job Group (1 2 digits are Cargill’s EEO category.     Total           Total    Afr Amer
                 PG = Pay Grade)                      Employees       Promoted   Promoted   Expected   Difference   S.D.s
05 NZ ACCOUNTANTS 2-5                                         9,577        449      16       27.21      (11.21)     (2.84)
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)          23,286         1,174      29       43.00      (14.00)     (2.45)
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                5,261        676      8        16.05       (8.05)     (2.30)
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)            12,366           913      38       50.16      (12.16)     (2.07)
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                    2,541        242      1         4.33       (3.33)     (1.96)
05 N3 SKILLED CLERICAL 1-4                                    6,276        285      14       20.66       (6.66)     (1.78)
03 NR TECHNICAL SUPPORT                                       5,354        337      8        13.25       (5.25)     (1.68)
02 R DEVELOP & ANALYTICAL RESRCH SPEC (PG 1-10)               7,809        606      11       17.46       (6.46)     (1.65)
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)               5,503        458      13       16.69       (3.69)     (1.19)
01 XX-8595 PAINTING & DECORATING OCC                           700          20      1         2.69       (1.69)     (1.17)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                3,499        441      16       19.80       (3.80)     (1.15)
05 N1 SKILLED CLERICAL 5-7                                11,319           575      16       20.74       (4.74)     (1.13)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                1,901        246      7         9.71       (2.71)     (1.01)
__ 11 MANAGEMENT ll                                           2,097         82      1         2.66       (1.66)     (0.97)
01 H MERCHANDISING MANAGEMENT (PG 11+)                        3,166        165      4         6.02       (2.02)     (0.90)
09 N7 SERVICE WORKERS                                          418          14      0         1.15       (1.15)     (0.79)
06 N4 CRAFTS                                                  4,234        102      6         7.91       (1.91)     (0.78)
01 K ACCOUNTING MANAGEMENT (PG 10+)                           4,613        242      4         5.51       (1.51)     (0.56)
05 NV SECRETARIES 2-5                                         3,644        227      5         6.19       (1.19)     (0.35)
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                3,503        244      6         7.15       (1.15)     (0.33)
08 N6 LABORERS                                                4,375        162      15       16.21       (1.21)     (0.25)
07 N5 OPERATIVES                                          16,947           584      33       33.75       (0.75)     (0.05)
__ 20 FINANCIAL PROFESSIONALS                                  458          47      2         2.10       (0.10)     0.00
__ 41 SALES BELOW 10                                           982         135      3         3.17       (0.17)     0.00
__ CS {Unknown Job Group}                                      176          17      1         0.50        0.50      0.00
01 A GENERAL MANAGEMENT III (PG 18+)                           132          10      1         0.70        0.30      0.00
01 B GENERAL MANAGEMENT ll (PG 9-17)                           436          32      1         0.76        0.24      0.00
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                         3,608        178      4         3.92        0.08      0.00
01 S TRAFFIC, TRANS & LOGISTICS MNGMENT (PG
                                                               836          32      1         1.00        0.00      0.00
11+)
02 O INFO SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)              7,045        379      10        9.75       0.25       0.00
02 X OTHER SPECIALISTS (PG 1-10)                              3,583        205      7         7.14       (0.14)     0.00
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                   5,255        314      6         6.45       (0.45)     0.00
05 NU SECRETARIES 6-7                                         4,206        177      2         1.50        0.50      0.00
__ 21 GENERAL PROFESSIONALS                                    797          38      1         0.49        0.51      0.01
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)            12,720           570      19       18.45        0.55      0.01
05 NY ACCOUNTANTS 6-7                                         2,880        158      9         8.21        0.79      0.18
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)              12,490           485      8         7.05       0.95       0.20
__ 12 MANAGEMENT lll                                          1,951        118      6         4.76        1.24      0.39
02 OTHER SPECIALIST (PG 1-10)                                 6,672        353      6         4.85        1.15      0.45
01 U SALES MANAGEMENT (PG 11+)                                4,542        151      3         2.00       1.00       0.54
__ 30 TECHNICIANS                                              191          15      1         0.25        0.75      0.58
03 NT COMPUTER OPERATIONS                                     1,284         83      12       10.32       1.68       0.73
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                3,737        153      6         3.99        2.01      0.92




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                                                             Table 3.4 cont’d

               st
 Job Group (1 2 digits are Cargill’s EEO category.                 Total             Total       Afr Amer
           PG = Pay Grade)                                       Employees         Promoted      Promoted      Expected     Difference    S.D.s
01 I MERCHANDISING MANGEMENT-LEVEL II (PG 5-10)                       3,707              267         17          13.24         3.76       1.46
01 C GENERAL MANAGEMENT (PG 9-15)                                          1,748         98            4          2.50           1.50     1.66
12 additional job groups have insufficient data to calculate a number of S.D.s.    Highlighted lines have 20 or more expected African Americans.




                                                      Table 3.5 By Division

                                        Total            Total             Afr Amer
                Division              Employees        Promoted            Promoted        Expected         Difference    S.D.s
    00512-CORN MLG                          14,920            1,517           54               75.37         (21.37)      (3.10)
    00513-OILSEEDS                           7,834              442            9               18.24          (9.24)      (2.60)
    07120-DSONA                              3,243              127            7               12.67          (5.67)      (2.00)
    00507-SALT                               5,361              297            3               8.15           (5.15)      (1.89)
    07440-EXCELCR                              707               43            1               3.14           (2.14)      (1.45)
    07105-ARO                                  434               15            0               1.97           (1.97)      (1.29)
    00518-DRY MLG                            6,281              419           20               24.79          (4.79)      (1.19)
    07245-HEA/FDTECH                           683               46            1               2.61           (1.61)      (1.15)
    00538-NSS                                7,993              429            9               12.99          (3.99)      (1.14)
    00001-NAG                               16,634            1,117           45               52.18          (7.18)      (1.14)
    00516-FOOD SECTR                           450               65            1               2.59           (1.59)      (0.79)
    00539-EXCEL                             16,113            1,067           25               28.67          (3.67)      (0.71)
    07135-SWEETNRNA                          7,532              359           17               19.39          (2.39)      (0.58)
    07515-ADMIN                              9,710              440            7               8.99           (1.99)      (0.56)
    00523-CSW                                2,014               78            4               5.17           (1.17)      (0.55)
    07290-VALUEINV                             353               22            0               0.80           (0.80)      (0.50)
    07968-MEAT SOL                           2,644              146            1               2.00           (1.00)      (0.44)
    00036-WWJFV                              1,115               68            1               1.83           (0.83)      (0.43)
    07420-EXCEL BEEF                         5,346              261            4               5.25           (1.25)      (0.37)
    07010-AGHORIZUS                          7,276              174            1               1.94           (0.94)      (0.35)
    00533-CIS                                3,164              220           18               19.46          (1.46)      (0.34)
    00532-FMG                                3,984              405            3               4.06           (1.06)      (0.32)
    07070-TURKPROD                           3,962              189            2               2.98           (0.98)      (0.32)
    00546-CGL ENERGY                         1,038               81            3               3.77           (0.77)      (0.29)
    07295-CIS                                2,064               57            7               7.94           (0.94)      (0.25)
    00503-AN NUTR DV                         9,782              321            1               1.79           (0.79)      (0.25)
    07500-SSC                                  586               11            0               0.60           (0.60)      (0.20)
    07025-CAN                                6,050              197            1               1.65           (0.65)      (0.13)
    00535-HOHENBERG                          1,129               31            5               5.65           (0.65)      (0.10)
    07220-VIT E                                 77               10            0               0.55           (0.55)      (0.08)
    00505-ADMIN                             14,218            1,167           31               31.66          (0.66)      (0.04)
    07415-EMMPAK                             1,303               36            1               1.52           (0.52)      (0.03)
    00015-WGTG-LA                              355               43            1               0.67            0.33       0.00
    00047-ROGERS                               239               11            0               0.25           (0.25)      0.00
    00073-COFFEE                               474               25            1               1.50           (0.50)      0.00




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                                                   Table 3.5 cont’d

                               Total           Total              Afr. Amer.
         Division            Employees       Promoted             Promoted        Expected    Difference      S.D.s
00108-WILBR CHOC                     872                20             0            0.33        (0.33)        0.00
00405-PEANUTS                         924               20            3             2.52         0.48         0.00
00510-CCI                             470               14            0             0.50        (0.50)        0.00
00530-WILLKNIGHT                     1,571              77            1             0.55         0.45         0.00
00537-SILENT KNIGHT                   212                5            1             1.07        (0.07)        0.00
07090-FDPHARMNAM                      355                6            0             0.25        (0.25)        0.00
07100-SOYPROTSOL                      332               19            0             0.05        (0.05)        0.00
07110-US PNUTS                          83               2            0             0.50        (0.50)        0.00
07115-HORIZMILL                      2,593             132            9             9.43        (0.43)        0.00
07325-GOSCNA                         5,390             202           26            26.05        (0.05)        0.00
07370-CGLCITRPUR                      581               36            2             2.14        (0.14)        0.00
07405-WWCOTTON                        624               19            3             2.92         0.08         0.00
07443-TAYLOR BEEF                     181                1            0             0.10        (0.10)        0.00
07475-FERTDISTR                       764               47            0             0.25        (0.25)        0.00
07495-NSS                            4,683             168            7             7.31        (0.31)        0.00
07480-DEICTECHN                      1,253              52            1             0.49         0.51         0.02
00531-AFL                             914               57            5             4.31         0.69         0.12
07485-SALT                           3,293             129            6             5.23         0.77         0.15
00034-FERTILIZER                     4,674             223            6             5.14         0.86         0.20
07465-PHOSPHPROD                     2,555             101            7             5.70         1.30         0.42
07963-ALLIANT                         100                9            1             0.25         0.75         0.58
00550-PPD                            5,685             332            8             5.67         2.33         1.01
00511-BIOSCIENCES                     650               48            1             0.14         0.86         1.04
00106-NAG/AGM                         592               43            4             2.50         1.50         1.04
07430-EXCEL PORK                     1,747              79            3             1.22         1.78         1.38
An 55 additional divisions have insufficient data to          Highlighted lines have 20 or more expected African
calculate a number of S.D.s.                                                      Americans.



                               Table 3.6 By Education Level and Service

                        Total     Total                      Afr Amer
      Education Level Employees Promoted                     Promoted           Expected Difference        S.D.s
     Advance degree             15,226           1,043             38            40.37        (2.37)       (0.49)
     College                    79,396           6,535            164            193.84      (29.84)       (2.72)
     Less than college          12,974             622             15            18.11        (3.11)       (1.04)
     None recorded             113,558           4,177            165            209.08      (44.08)       (3.81)
                              Total     Total                Afr Amer
          Service           Employees Promoted               Promoted           Expected Difference S.D.s
       1st quartile              55,607          4,687            140            199.40   (59.40)   (5.51)
       2nd quartile              54,850          3,814            114            124.84   (10.84)   (1.20)
       3rd quartile              54,521          2,567             89            83.50      5.50     0.72
       4th quartile              56,176          1,309             39            53.66    (14.66)   (2.48)




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   Section IV. Pay Progression

              Plaintiffs claim that Cargill discriminates against African Americans in
   advancement and compensation. A pay progression study offers a method for examining
   both pay and advancement practices, since pay increases often correspond to promotions
   and other advancement opportunities. For this study, we group employees similarly
   situated as of December 31st of each year and, for those present in the next year’s
   snapshot, compute each employee’s change in annual salary between the current and
   subsequent snapshot.29 Using a rank sum test, we then examine whether the pay of
   African Americans increases at a rate similar to non- African Americans who share the
   same FLSA status, division, and job group with similar levels of education and company
   service.30


              Table 4.1 shows the overall summary for the pay progression study. Overall,
   Cargill gave disproportionately low pay increases to African Americans as compared to
   non- African Americans with the same FLSA status, in the same job group, in the same
   division, with similar education and service. The overall disparity between the actual and
   expected pay increases equates to –5.11 standard deviations, based on a rank sum test.
   Expressed on the probability scale, this imbalance has a p-value of less than one in six
   million. The average increase in annual pay for African Americans lagged behind that of
   their peers by $319.93.


              Table 4.2 breaks down the summary by year. It shows that African Americans
   received smaller pay increases than non- African Americans in seven of the eight years
   examined. The disparities exceed two standard deviations in three years (namely, 1998,
   2000 and 2002), all to the disadvantage of African Americans. In the seven years in


   29
        Annual salary refers to the base rate of pay reported in the pay history records.
   30
      For this study, we exclude any employee with an annual salary less than $10,000 due to
   uncertainty about how these employees are compensated. Most of these employees are in sales
   positions. We use base salary as a measure of pay, excluding, e.g., any awards, bonuses or stock
   options.



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   which the pay increases of African Americans lagged behind those of their similarly
   situated peers, the average pay increase disparities range from $122.83 to $657.00. In
   the one year in which the average pay increase favored African Americans, the disparity
   was only $42.83.


           Table 4.3 shows that both exempt and non-exempt African Americans received
   disproportionately small pay increases. The number of standard deviations associated
   with the pay increase disparities exceeds two standard deviations to the disadvantage of
   both exempt and non-exempt African Americans.


           Table 4.4 presents the results of the pay progression study by job group. African
   Americans received smaller pay increases than expected in 35 of the 45 job groups in
   which there are comparators. The disparity in pay increases exceeds two standard
   deviations to the disadvantage of African Americans in seven of these job groups.31
   There are no job groups in which the disparity exceeds two standard deviations to the
   advantage of African Americans.

           Table 4.5 presents the results at the division level. African Americans received
   smaller pay increases than expected in 44 out of 60 divisions in which there are
   comparators. The disparity exceeds two standard deviations to the disadvantage of
   African Americans in seven divisions.32 There are no divisions with a disparity
   exceeding two standard deviations to the advantage of African Americans.




   31
      The number of standard deviations associated with the disparities in the seven job groups
   range from –2.85 to –2.08. There are 38 job groups large enough to generate an imbalance of
   –2.08 or more standard deviations. The probability that seven or more of these would randomly
   yield a number of standard deviations less than or equal to –2.08 is less than one in 146,000,
   and equates to –4.35 standard deviations.
   32
      The numbers of standard deviations associated with the disparities in the seven divisions range
   from –3.28 to –2.02. There are 47 divisions large enough to generate an imbalance of –2.02
   or more standard deviations. The probability that seven or more of these would randomly yield a
   number of standard deviations less than or equal to –2.02 is less than one in 14,000, and
   equates to –3.81 standard deviations.



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          Table 4.6 shows the overall summary broken down first by educational level and
   them by years of service. In every educational category, the pay increases of African
   Americans lag behind those of non- African Americans. In two of the four categories,
   the differences exceed two standard deviations. Likewise, in every quartile of service,
   the pay increases of African Americans lag behind those of their cohort peers, and in two
   quartiles, the disparities are greater than two standard deviations. Again, the overall
   disparity is not limited to just a few small employee groups.


          In sum, there is a strong pattern in which African Americans have received
   smaller pay increases than have their cohort peers, measuring –5.11 standard deviations
   or, on the probability scale, less than one chance in six million. Of particular interest for
   the purposes of class certification is the fact that the overall disparity cannot be attributed
   to a single time period, division or job group or to only exempt or non-exempt
   employees. As with the performance rating study and the promotion study, the disparity
   in pay increases between African Americans and their peers is not restricted to one
   particular year, FLSA status, division, job group, educational level or service quartile.




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                                        TABLES 4.1-4.5: PAY PROGRESSION


                                                Table 4.1 Overall Summary

                      Total        Total African       Avg Afr Diff Afr Amer
                                                                              Weighted Diff S.D.s
                    Employees       Americans         Amer Pay     v. Non
                     85,001             3,403         $2,287.08 ($319.93)    ($895,475.51) (5.11)



                                                       Table 4.2 By Year

                     Total       Total African         Avg Afr          Diff Afr Amer
       Year                                                                                      Weighted Diff         S.D.s
                   Employees      Americans           Amer Pay              v. Non
       1995           8,348             338           $1,905.97           ($185.86)               ($49,625.95)         (1.04)
       1996           9,841             373           $1,978.72           ($210.60)               ($64,863.64)         (1.99)
       1997          10,183             393           $2,189.74             $42.83                 $13,061.77          (0.93)
       1998          10,944             415           $2,642.54           ($657.00)              ($222,066.68)         (2.04)
       1999          11,323             455           $2,687.72           ($401.24)              ($153,674.58)         (1.90)
       2000          11,605             484           $2,544.55           ($505.09)              ($205,065.82)         (2.15)
       2001          11,255             460           $2,202.43           ($122.83)               ($48,025.34)         (1.26)
       2002          11,502             485           $1,991.30           ($412.01)              ($165,215.27)         (2.92)




                                                      Table 4.3 By FLSA

                     Total        Total African         Avg Afr        Diff Afr Amer
     FLSA                                                                                   Weighted Diff               S.D.s
                   Employees       Americans           Amer Pay            v. Non
    Exempt            58,051            1,817          $3,038.38         ($333.78)          ($503,010.45)               (2.96)
    Nonex             26,950            1,586          $1,410.76         ($303.77)          ($392,465.06)               (4.33)




                                                  Table 4.4 By Job Group

                                                                         Total                      Diff Afr
              st
  Job Group (1 2 digits are Cargill’s EEO category.        Total          Afr       Avg Afr         Amer v.       Weighted
                 PG = Pay Grade)                         Employees       Amer      Amer Pay          Non            Diff         S.D.s
__ 11 MANAGEMENT ll                                          910             26     $1,516.67      ($1,335.83)   ($32,059.98)    (2.85)
05 N3 SKILLED CLERICAL 1-4                                 2,490            201        $927.88      ($510.11)    ($72,436.20)    (2.83)
05 NV SECRETARIES 2-5                                      1,483             67     $1,228.19       ($528.41)    ($28,005.52)    (2.63)
02 R DEVELOP & ANALYTICAL RESRCH SPEC (PG 1-10)            2,890             74     $2,381.54       ($833.09)    ($54,150.94)    (2.56)
07 N5 OPERATIVES                                           6,010            428     $1,109.18       ($310.84)    ($124,024.32)   (2.19)
08 N6 LABORERS                                             1,326            130     $1,269.14       ($608.68)    ($64,520.13)    (2.10)
09 N7 SERVICE WORKERS                                        171             13        $402.00     ($1,034.24)    ($6,205.43)    (2.08)




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                                                               Table 4.4 cont.

                                                                                 Total     Avg Afr      Diff Afr
                st
  Job Group (1 2 digits are Cargill’s EEO category.            Total              Afr       Amer        Amer v.        Weighted
                 PG = Pay Grade)                             Employees           Amer        Pay         Non            Diff        S.D.s
01 K ACCOUNTING MANAGEMENT (PG 10+)                                      815        31     $5,584.62   ($2,159.19)   ($56,138.86)   (1.82)
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                       8,854       426     $2,363.14   ($222.12)     ($85,960.56)   (1.72)
01 B GENERAL MANAGEMENT ll (PG 9-17)                                     166          2    $1,500.00   ($3,500.00)    ($7,000.00)   (1.58)
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                         1,986        61     $4,884.52   ($836.58)     ($35,136.20)   (1.49)
01 C GENERAL MANAGEMENT (PG 9-15)                                        654        12     $1,000.00   ($1,059.20)    ($5,295.98)   (1.40)
01 H MERCHANDISING MANAGEMENT (PG 11+)                                 1,247        34     $3,972.22   ($4,109.58)   ($73,972.45)   (1.36)
01 E PRODUCTION MNAGEMENT - LEVEL l (PG 9-12)                          5,240       149     $3,228.34   ($364.78)     ($51,068.71)   (1.35)
05 N1 SKILLED CLERICAL 5-7                                             4,518       161     $1,526.58   ($264.38)     ($39,128.68)   (1.33)
02 O INFO SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                       2,726        64     $4,502.08   ($766.42)     ($36,788.31)   (1.16)
01 U SALES MANAGEMENT (PG 11+)                                         1,683        19     $2,764.71   ($1,473.62)   ($25,051.59)   (1.13)
05 NU SECRETARIES 6-7                                                  1,714        25     $2,060.88    ($16.91)      ($304.34)     (1.06)
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                        2,144        55     $3,270.73   ($1,157.89)   ($47,473.56)   (0.98)
01 I MERCHNDISING MNAGEMENT-LEVEL II (PG 5-10)                         1,463        44     $5,238.10   ($197.15)      ($4,140.17)   (0.98)
02 X OTHER SPECIALISTS (PG 1-10)                                       1,362        45     $6,070.97   ($819.57)     ($25,406.81)   (0.80)
05 NZ ACCOUNTANTS 2-5                                                  3,832       225     $1,350.27    ($44.90)      ($8,081.17)   (0.74)
__ 41 SALES BELOW 10                                                     362          2    $2,250.00   ($1,376.79)    ($2,753.57)   (0.73)
05 NY ACCOUNTANTS 6-7                                                  1,171        37     $1,484.05   ($429.65)      ($9,022.68)   (0.72)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                         1,344        63     $3,480.56   ($431.05)     ($15,517.78)   (0.59)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                           817        24     $3,888.89   ($264.49)      ($4,760.84)   (0.42)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                           4,788        72     $4,207.90   ($602.64)     ($41,581.98)   (0.27)
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                               912        18     $2,940.00   ($1,062.51)   ($15,937.71)   (0.27)
06 N4 CRAFTS                                                           1,554       129     $1,681.95    ($71.96)      ($6,188.46)   (0.23)
03 NR TECHNICAL SUPPORT                                                2,120       101     $2,555.24    ($97.07)      ($8,541.80)   (0.22)
01 Q RESEARCH MANAGEMENT (PG 11+)                                        800          9    $6,250.00   ($1,250.00)    ($2,500.00)   0.00
03 NT COMPUTER OPERATIONS                                                491        67     $3,097.48   ($791.58)     ($33,246.30)   0.02
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                         1,331        70     $2,766.52    $344.36       $18,595.58    0.08
01 S TRAFFIC, TRANS & LOGISTICS MNGMNT (PG
11+)
                                                                         320        10     $6,000.00   ($500.00)      ($3,000.00)   0.18

01 N INFO SYSTEMS MANAGEMENT (PG 11+)                                  1,371         25    $6,714.29    $964.10       $13,497.39    0.38
__ 30 TECHNICIANS                                                           98        2    $2,750.00    $685.00       $1,370.00     0.52
01 XX-8595 PAINTING & DECORATING OCC                                     195          9    $4,055.56   ($1,513.95)   ($13,625.59)   0.57
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                            1,755         23    $3,033.33     $22.11        $331.70      0.59
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                         4,603        325    $2,108.81     $95.63       $27,541.36    0.65
__ 21 GENERAL PROFESSIONALS                                              355          3    $2,083.33    $410.86       $1,232.57     0.90
__ 20 FINANCIAL PROFESSIONALS                                            214          1    $8,000.00   $3,500.00      $3,500.00     1.00
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                         1,495         36    $5,227.27   $1,792.09      $59,139.11    1.09
__ 12 MANAGEMENT lll                                                   1,017         42    $1,907.14    $160.45       $6,738.82     1.15
02 OTHER SPECIALIST (PG 1-10)                                          2,512         40    $3,236.09    ($74.86)      ($2,395.42)   1.22
01 A GENERAL MANAGEMENT III (PG 18+)                                        61       2     $7,000.00   $7,000.00      $14,000.00    1.41
                                                                                             Highlighted lines have 50 or more African
An additional 12 job groups have insufficient data to calculate a number of S.D.s
                                                                                                             Americans.




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                                      Table 4.5 By Division

                           Total      Total African    Avg Afr Amer   Diff Afr Amer
              Division   Employees     Americans           Pay            v. Non      Weighted Diff   S.D.s
00512-CORN MLG                6,956            349        $2,815.90     ($720.46)     ($218,300.77)   (3.28)
00533-CIS                     1,551            148        $2,930.22    ($1,290.96)    ($127,805.45)   (2.86)
00518-DRY MLG                 2,960            179        $1,408.50     ($465.19)      ($67,917.03)   (2.78)
07440-EXCELCR                  163              13        $1,850.00    ($1,831.99)     ($14,655.95)   (2.43)
07135-SWEETNRNA               1,971            103        $2,412.22     ($335.37)      ($28,171.27)   (2.37)
07115-HORIZMILL                705              49        $1,245.81     ($274.83)      ($11,542.66)   (2.11)
07420-EXCEL BEEF              1,537             43        $1,397.56     ($650.55)      ($26,672.62)   (2.02)
00036-WWJFV                    544              24        $1,826.60     ($386.16)      ($7,723.16)    (1.99)
00001-NAG                     7,238            319        $2,111.42     ($174.63)      ($52,388.84)   (1.81)
00523-CSW                      980              64        $1,437.25     ($385.54)      ($19,662.75)   (1.54)
07010-AGHORIZUS               1,996             33         $986.72      ($350.47)      ($11,565.53)   (1.51)
07475-FERTDISTR                197               3           $0.00     ($4,500.00)     ($4,500.00)    (1.34)
00507-SALT                    2,640             97        $2,366.21     ($738.47)      ($64,247.32)   (1.26)
07370-CGLCITRPUR               150               6        $2,689.67     ($788.11)      ($4,728.67)    (1.25)
00034-FERTILIZER              2,528            102        $2,468.38     ($168.68)      ($14,337.99)   (1.16)
07500-SSC                      188              14        $1,180.00     ($530.00)      ($5,300.00)    (1.12)
07080-WILBUR                   183               2        $2,250.00     ($191.67)       ($383.33)     (1.08)
00013-MOLASSES                 244               4        $2,800.00    ($3,200.00)     ($6,400.00)    (1.00)
07515-ADMIN                   2,837             58        $2,720.47     ($892.19)      ($49,070.23)   (0.96)
07968-MEAT SOL                 799               5        $2,875.00     ($697.92)      ($2,791.67)    (0.91)
00530-WILLKNIGHT               659               5        $1,308.00      $144.49         $577.95      (0.89)
00516-FOOD SECTR               196               9        $7,537.49     ($846.39)      ($6,771.15)    (0.87)
00505-ADMIN                   6,427            132        $4,268.32     ($739.93)      ($92,490.79)   (0.86)
00108-WILBR CHOC               478              10        $1,137.78     ($309.61)      ($2,786.48)    (0.81)
07325-GOSCNA                  1,730            193        $1,874.21     ($287.07)      ($47,653.74)   (0.79)
00510-CCI                      226              19         $900.00      ($237.50)      ($2,850.00)    (0.78)
07220-VIT E                     67               1        $3,000.00    ($1,214.29)     ($1,214.29)    (0.68)
07110-US PNUTS                  28              12         $552.98      ($506.51)      ($2,026.04)    (0.63)
00531-AFL                      183              15        $2,131.33     ($539.46)      ($7,013.03)    (0.58)
07290-VALUEINV                 103               3        $4,000.00     ($366.67)      ($1,100.00)    (0.54)
07485-SALT                     816              41        $1,878.42     ($270.86)      ($10,292.51)   (0.48)
07430-EXCEL PORK               514              10        $2,560.00      ($79.17)       ($791.71)     (0.37)
00513-OILSEEDS                3,492            185        $1,835.65     ($416.23)      ($59,104.64)   (0.34)
07025-CAN                     1,412             22        $1,030.10     ($161.94)      ($3,400.68)    (0.21)
07480-DEICTECHN                332               9        $1,946.67     ($180.19)      ($1,621.69)    (0.18)
00538-NSS                     4,229            173        $2,319.09      $139.69        $22,909.44    (0.18)
07070-TURKPROD                1,050             38        $1,492.14     ($109.14)      ($3,710.76)    (0.16)
07405-WWCOTTON                 152              26        $1,307.86      $13.57          $190.00      (0.15)
00532-FMG                     1,659             20        $5,350.26      ($60.75)      ($1,154.17)    (0.14)
07510-WIRE                     101              11        $1,625.00     ($135.42)      ($1,083.33)    (0.12)
00047-ROGERS                   129              21        $2,666.67     ($208.33)      ($1,250.00)    (0.04)
07060-SUNFRFDS                 236               4        $3,333.33       $0.00           $0.00       (0.00)
00503-AN NUTR DV              4,730             51        $1,272.44      ($58.71)      ($2,524.40)    0.07




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                                                        Table 4.5 cont’d

                                    Total         Total African      Avg Afr Amer       Diff Afr Amer
             Division             Employees        Americans             Pay                v. Non         Weighted Diff       S.D.s
07120-DSONA                                580                48        $1,548.72          ($497.57)        ($23,883.52)       0.13
07415-EMMPAK                               271                  9       $1,433.31          ($85.59)          ($770.29)         0.14
00535-HOHENBERG                            587                87           $980.51         $136.37           $11,864.04        0.20
07105-ARO                                  390                36        $1,873.10          ($303.90)        ($10,940.51)       0.24
00539-EXCEL                               6,949              159        $2,919.81          ($45.39)          ($7,216.99)       0.29
07295-CIS                                  479                38        $3,623.81          ($571.91)        ($21,732.51)       0.53
00106-NAG/AGM                              300                  5       $6,200.00          $1,400.00         $7,000.00         0.72
07245-HEA/FDTECH                           146                  1       $1,000.00          $500.00            $500.00          0.94
07465-PHOSPHPROD                           592                29        $5,858.62          $2,024.27         $58,703.69        0.98
00073-COFFEE                               211                17        $1,523.30          $597.71           $10,161.04        0.98
00546-CGL ENERGY                           433                  1       $6,250.00          $2,750.00         $2,750.00         1.00
00511-BIOSCIENCES                          208                  3       $6,728.64          $2,370.26         $7,110.79         1.07
00550-PPD                                 2,478               25        $2,218.80          $441.43           $11,035.65        1.07
07495-NSS                                 1,127               32        $2,658.00          $530.29           $16,969.21        1.18
00405-PEANUTS                              436                66           $922.00           $6.58            $434.48          1.33
00508-SEED                                1,371                 3       $2,333.33          $688.89           $2,066.67         1.34
00015-WGTG-LA                              159                  3       $3,666.67          $1,266.67         $3,800.00         1.73
 An additional 47 divisions have insufficient data to calculate a number of S.D.s.        Highlighted lines have 50 or more African
                                                                                                          Americans.




                                     Table 4.6 By Education Level and Service
                             Total         Total African      Avg Afr Amer       Diff Afr Amer
    Education Level        Employees        Americans             Pay                v. Non            Weighted Diff       S.D.s
  Advance degree                5,776               153         $5,205.13            ($1,634.76)       ($127,511.28)       (2.11)
  College                      31,098               785         $3,785.80              ($258.41)       ($168,225.00)       (1.82)
  Less than college             5,271               172         $1,986.33              ($176.24)        ($14,099.59)       (1.42)
  None recorded                42,856             2,293         $1,694.51              ($294.29)       ($585,639.63)       (4.33)
                             Total        Total African       Avg Afr Amer       Diff Afr Amer
            Service        Employees       Americans              Pay                v. Non            Weighted Diff       S.Ds
    1st quartile               20,124               797         $2,793.85             ($660.47)        ($430,623.83)       (4.74)
    2nd quartile               20,337               676         $2,488.15             ($521.02)        ($289,167.35)       (3.63)
    3rd quartile               22,047               779         $2,339.61             ($173.44)        ($110,830.48)       (1.55)
    4th quartile               22,493             1,151         $1,788.05              ($68.05)         ($64,853.85)       (0.74)




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   Section V. Bonuses, Awards and Incentives

           The data files made available to us report the earnings paid to Cargill employees
   for each quarter of each year, starting with the last quarter of 1995 and ending with the 3rd
   quarter of 2003. Included in these earnings data are discretionary payments such as
   bonuses, awards and incentives that permit one to examine whether African Americans
   receive these types of payments at levels comparable to their non- African American
   peers. Lacking a full understanding of which employees are eligible to receive these
   different types of discretionary payments or how such payments are determined and
   assigned, we take a conservative approach by only examining those employees who
   actually received a bonus, award or incentive. To the extent that African Americans are
   eligible for these payments but do not, in fact, receive them, the study results reported
   below may understate the actual disparity between African Americans and their peers.


           Using year-end snapshots from 1995 to 2002 and grouping employees in these
   snapshots as before (by FLSA status, job group, division, education level and service),
   we identify those employees who in the subsequent year received a bonus, award or
   incentive and calculate, for each employee, the sum of these payments. Using these
   sums, we use a rank sum test to determine whether African Americans receive smaller
   bonuses, awards and incentives compared to non- African Americans in the same cohort.

           Table 5.1 shows the overall summary for the discretionary pay study. Overall,
   Cargill gave disproportionately low bonuses, awards and incentives to African Americans
   as compared to non- African Americans with the same FLSA status, in the same job
   group, in the same division, and with similar education and service. Overall, bonuses,
   awards and incentives for African Americans lagged behind those of their similarly
   situated peers by $647.70 per year, on average, an imbalance which equates to –10.38
   standard deviations. On the probability scale, this equates to less than one in a billion
   billion that the disparity is due to chance.


           Table 5.2 breaks this overall summary down by year. The table shows that
   African Americans received smaller bonuses, awards and incentives than expected in



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   eight of the nine years examined. The disparities exceed two standard deviations to the
   disadvantage of African Americans in five years (namely 1996, 1998, 2000, 2001 and
   2002).


            Table 5.3 shows that both exempt and non- exempt African Americans received
   disproportionately small bonuses, awards and incentives. The number of standard
   deviations associated with the allocation of discretionary pay exceeds six standard
   deviations to the disadvantage of African Americans in each of the two FLSA job
   categories.


            Table 5.4 presents the results of the discretionary pay study by job group. African
   Americans received smaller bonuses, awards and incentives than expected in 39 of the
   45 job groups in which there are comparators. The disparity in discretionary pay
   exceeds two standard deviations to the disadvantage of African Americans in ten of these
   job groups.33

            Table 5.5 presents the results at the division level. African Americans received
   smaller bonuses, awards and incentives than expected in 39 out of 60 divisions in which
   there are comparators. The disparity exceeds two standard deviations to the disadvantage
   of African Americans in seventeen divisions.34

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      The number of standard deviations associated with the disparities in the ten job groups range
   from –5.87 to –2.27. There are 37 job groups large enough to generate an imbalance of –2.27
   or more standard deviations. The probability that ten or more of these would randomly yield a
   number of standard deviations less than or equal to –2.27 is less than one in 83 billion, and
   equates to –6.68 standard deviations. There are two job groups, 12-Management III and 02 L
   Accounting Specialists – Level II (PG 5-9), in which the disparity exceeds two standard
   deviations to the advantage of African Americans (2.14 and 2.64 standard deviations,
   respectively). There are 40 job groups large enough to generate an imbalance of 2.14 or more
   standard deviations. The probability that two or more of these would randomly yield a number of
   standard deviations equal to or exceeding 2.14 standard deviations is 0.1383 which equates to
   1.09 standard deviations.
   34
      The numbers of standard deviations associated with the disparities in the seventeen divisions
   range from –4.88 to –2.15. There are 40 divisions large enough to generate an imbalance of
   –2.15 or more standard deviations. The probability that seventeen or more of these would
   randomly yield a number of standard deviations less than or equal to –2.15 is less than one in a
   billion billion, and equates to more than ten standard deviations to the disadvantage of African
   Americans.


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           Table 5.6 breaks down the overall summary first by education level and then by
   length of service. It shows that for every educational group and for every service
   quartile, there is an imbalance to the disadvantage of African Americans that exceeds two
   standard deviations. Indeed, the least egregious of these imbalances is –3.63 standard
   deviations.


           In sum, there is a strong pattern in which African Americans have received
   smaller bonuses, awards or incentives than have their cohort peers, measuring –10.38
   standard deviations or, on the probability scale, less than one chance in a billion billion.
   Of particular interest for the purposes of class certification is the fact that the overall
   disparity cannot be attributed to a single time period, division or job group or to only
   exempt or non-exempt employees. As with the performance rating study, the promotion
   study and the pay increase study, the disparity in bonuses, awards and incentives between
   African Americans and their peers is not restricted to one particular year, FLSA status,
   division, job group, education level or service quartile.




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                      TABLES 5.1-5.7: BONUSES, AWARDS and INCENTIVES

                                         Table 5.1 Overall Summary

               Total  Total African Avg Afr             Diff Afr Amer
             Employees Americans Amer Pay                   v. Non               Weighted Diff       S.D.s
                  67,653         2,661       3,756.70         (647.70)           (1,474,164.82)   (10.38)



                                                Table 5.2 By Year

                 Total   Total African          Avg Afr Amer Diff Afr Amer
          Year Employees Americans                  Pay          v. Non    Weighted Diff                 S.D.s
          1995       1,021                39       599.63                24.76           817.23          0.43
          1996       6,840               217       5,560.00         (446.92)           (83,574.44)       (4.26)
          1997       6,752               260       5,813.76         (431.19)           (90,118.42)       (1.42)
          1998       7,686               312       3,553.42         (801.77)          (212,468.66)       (2.85)
          1999       8,713               332       3,163.61         (346.87)          (103,366.02)       (1.93)
          2000       9,229               391       3,253.42         (751.83)          (255,620.76)       (6.09)
          2001       8,802               380       3,240.79         (735.38)          (244,882.01)       (6.39)
          2002       9,651               413       3,162.37         (754.56)          (264,094.25)       (4.27)
          2003       8,959               317       4,211.01         (846.20)          (220,857.48)       (1.79)



                                               Table 5.3 By FLSA

                   Total     Total African       Avg Afr Amer      Diff Afr Amer
  FLSA           Employees    Americans              Pay               v. Non           Weighted Diff             S.D.s
 Exempt             48,821           1,456        5,921.40          (1,065.04)          (1,290,830.55)            (7.82)
Non-exempt          18,832           1,205        1,290.89           (172.31)            (183,334.27)             (6.84)




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                                                    Table 5.4 By Job Group

                                                                              Avg Afr
            st
Job Group (1 2 digits are Cargill’s EEO category.     Total       Total Afr    Amer       Diff Afr Amer
           PG = Pay Grade)                          Employees      Amer         Pay           v. Non       Weighted Diff S.D.s
02 F PRODUCTION SPECIALIST - LEVEL ll (PG 5-8)           8,285         380     3,452.78         (590.73)      (206,165.32)   (5.87)
07 N5 OPERATIVES                                         6,825         467     1,169.08         (189.94)       (86,234.24)   (4.54)
02 R DEVELOP & ANALYTICAL RES SPE (PG 1-10)              2,615          77     2,825.76       (1,253.25)       (87,727.38)   (4.27)
05 NZ ACCOUNTANTS 2-5                                    1,654         114     1,677.58         (252.40)       (22,210.87)   (3.64)
02 X OTHER SPECIALISTS (PG 1-10)                         1,315          42    10,917.01       (6,851.01)      (226,083.38)   (3.59)
01 D PRODUCTION MNGEMNT - LEVEL ll (PG 13+)              1,437          31    12,101.92       (4,737.91)      (113,709.79)   (2.70)
06 N4 CRAFTS                                             1,503          87     1,179.44         (313.73)       (24,470.90)   (2.50)
03 NR TECHNICAL SUPPORT                                  1,503          86     1,449.06         (177.75)       (13,509.34)   (2.42)
01 E PRODUCTION MNGEMNT - LEVEL l (PG 9-12)              5,046         154     7,045.13         (949.84)      (137,727.05)   (2.41)
01 K ACCOUNTING MANAGEMENT (PG 10+)                      1,687          23    12,986.40       (4,743.98)       (94,879.57)   (2.27)
08 N6 LABORERS                                           1,676         158      665.81          (141.62)       (19,968.90)   (1.95)
02 M ACCOUNTING SPECIALIST - LEVEL l (PG 1-4)              808          46     2,273.85       (1,058.97)       (24,356.40)   (1.86)
02 G PRODUCTION SPECIALIST - LEVEL l (PG 1-4)            4,172         234     3,868.75         (383.83)       (82,522.85)   (1.79)
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                    1,448          25     9,948.06       (2,918.06)       (43,770.89)   (1.78)
05 N3 SKILLED CLERICAL 1-4                               1,211          57     1,403.59         (144.46)        (6,645.21)   (1.71)
09 N7 SERVICE WORKERS                                      133           7      923.67          (846.90)        (2,540.69)   (1.64)
02 J MERCHANDISING SPECIALIST LEVL I (PG 1-4)              447          12     1,531.32         (505.77)        (5,057.71)   (1.63)
01 U SALES MANAGEMENT (PG 11+)                           1,648          21    16,411.08       (7,142.69)      (135,711.05)   (1.59)
01 A GENERAL MANAGEMENT III (PG 18+)                        32           2     3,497.00       (3,739.00)        (7,478.00)   (1.58)
__ 20 FINANCIAL PROFESSIONALS                              126           2     2,000.00       (5,684.75)        (5,684.75)   (1.41)
03 NT COMPUTER OPERATIONS                                  136          31     1,291.02         (428.02)        (4,708.25)   (1.36)
05 NU SECRETARIES 6-7                                      595           9     1,810.94         (147.10)          (588.39)   (1.34)
01 H MERCHANDISING MANAGEMENT (PG 11+)                   1,138          23    68,099.45          311.29          3,424.17    (1.19)
01 S TRAFFIC, TRANS & LOGISTICS MNG (PG 11+)               314          11     7,500.00       (3,386.50)       (16,932.50)   (1.18)
05 NV SECRETARIES 2-5                                      609          45     1,825.46         (224.11)        (8,291.89)   (1.06)
01 B GENERAL MANAGEMENT ll (PG 9-17)                       125           2     1,198.29       (1,815.96)        (3,631.92)   (0.99)
__ 41 SALES BELOW 10                                       432           3     4,779.07       (2,205.71)        (6,617.13)   (0.98)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)             3,613          53     6,145.26         (797.30)       (39,865.06)   (0.93)
02 T TRAFFIC, TRANS & LOGISTIC SPEC (PG 1-10)              864          33     3,647.16         (892.43)       (15,171.35)   (0.75)
02 OTHER SPECIALIST (PG 1-10)                            1,514          24     7,049.71       (2,107.21)       (29,500.97)   (0.57)
__ 21 GENERAL PROFESSIONALS                                375           3     3,790.33       (1,581.49)        (4,744.47)   (0.42)
__ 11 MANAGEMENT ll                                      1,021          25    11,474.69       (1,038.27)       (23,880.19)   (0.32)
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)              1,297          20     1,964.27       (1,205.10)       (13,256.14)   (0.27)
02 P INFO SYSTEMS SPECIALIST LEVEL l (PG 1-4)              745          30     2,846.90          (17.36)          (382.02)   (0.25)
05 NY ACCOUNTANTS 6-7                                      556          22     3,830.77         (472.83)        (5,201.09)   (0.19)
__ 30 TECHNICIANS                                           99           2     3,096.00       (1,251.20)        (2,502.40)   (0.18)
01 XX-8595 PAINTING & DECORATING OCC                       279          13    11,778.67         (147.64)        (1,328.76)   (0.17)
05 N1 SKILLED CLERICAL 5-7                               2,392         120     1,636.70           54.34          6,140.50    (0.11)
01 Q RESEARCH MANAGEMENT (PG 11+)                          763           7     9,550.00       (1,700.00)        (3,400.00)    0.00




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                                                                  Table 5.4 cont’d
                                                                                            Avg Afr       Diff Afr
              st
Job Group (1 2 digits are Cargill’s EEO category.            Total   Total Afr               Amer          Amer          Weighted
          PG = Pay Grade)                                  Employees  Amer                    Pay         v. Non              Diff       S.D.s
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                         732                10     4,043.88       (907.22)      (7,257.75)      0.21
01 I MERCHANDISING MNGMNT-LEVEL II (PG 5-10)                      1,129               22    12,913.32     (1,244.32)     (14,931.89)      0.28
02 O INFO SYS SPECIALISTS LEVEL ll (PG 5-10)                      1,599               42     6,338.18           9.32         288.89       0.32
01 C GENERAL MANAGEMENT (PG 9-15)                                  637                11    22,083.33       7,106.61      21,319.83       1.36
__ 12 MANAGEMENT lll                                               926                41     4,501.39        566.22       23,214.98       2.14
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                   1,497               31     4,816.07       1,057.54      20,093.27       2.64
                                                                                                Highlighted lines have 50 or more African
An additional 12 job groups have insufficient data to calculate a number of S.D.s.
                                                                                                                Americans.



                                                            Table 5.5 By Division

                                                                                           Avg Afr
                                                        Total             Total Afr         Amer        Diff Afr Amer     Weighted
                         Division                     Employees            Amer              Pay            v. Non          Diff            S.D.s
          07325-GOSCNA                                         1,767                 210   1,631.75        (574.11)       (103,339.78)      (4.88)
          07135-SWEETNRNA                                      3,244                 183   2,752.04        (654.69)       (98,857.61)       (4.52)
          00512-CORN MLG                                       6,162                 298   2,994.11        (590.42)       (150,557.81)      (4.04)
          00001-NAG                                            4,828                 280   1,699.95        (144.93)       (38,696.37)       (3.91)
          00034-FERTILIZER                                     2,114                  88   2,954.89        (853.63)       (67,436.69)       (3.90)
          00518-DRY MLG                                        1,876                 104   1,380.94        (411.97)       (37,077.54)       (3.56)
          07515-ADMIN                                          2,219                 49    12,511.14      (2,301.31)      (94,353.85)       (3.40)
          00538-NSS                                            3,890                 160   4,837.66       (1,561.99)      (231,174.56)      (3.22)
          07968-MEAT SOL                                         963                  7    4,099.73       (9,452.33)      (56,713.98)       (3.16)
          07510-WIRE                                              68                 12     381.92        (1,052.64)      (10,526.37)       (3.05)
          07465-PHOSPHPROD                                       958                  62   3,980.18        (403.49)       (20,578.06)       (2.79)
          00533-CIS                                            1,061                  78   7,718.49       (1,528.62)      (74,902.41)       (2.63)
          07420-EXCEL BEEF                                     2,359                  66   6,558.65       (1,462.54)      (92,139.92)       (2.42)
          07110-US PNUTS                                          24                  11   1,982.57       (1,168.51)       (4,674.03)       (2.24)
          00550-PPD                                            1,825                 27    3,949.08        (466.61)       (11,665.36)       (2.20)
          07290-VALUEINV                                         162                  5    3,125.00       (2,125.00)       (8,500.00)       (2.20)
          00036-WWJFV                                            203                  9    3,270.01        (635.66)        (5,085.27)       (2.15)
          07010-AGHORIZUS                                      2,492                  36   1,603.29        (628.23)       (21,988.19)       (1.78)
          07440-EXCELCR                                          212                 17    4,767.88       (1,124.44)       (8,995.50)       (1.78)
          00505-ADMIN                                          1,894                 39    8,898.10       (2,419.83)      (82,274.14)       (1.63)
          00405-PEANUTS                                          133                 15    1,814.29        (363.28)        (5,085.98)       (1.46)
          07080-WILBUR                                            90                  1    24,187.50      (2,338.55)       (2,338.55)       (1.34)
          07500-SSC                                              110                  1    1,243.56        (329.88)         (329.88)        (1.34)
          07963-ALLIANT                                           53                  2    55,000.00     (15,000.00)      (15,000.00)       (1.22)
          07485-SALT                                           1,305                  65   1,921.86        (380.62)       (23,217.64)       (1.21)
          07115-HORIZMILL                                        786                  52    999.29         (250.58)       (12,529.09)       (1.12)
          07295-CIS                                              398                  29   6,813.04       (3,796.95)      (68,345.06)       (1.05)
          07285-RISKMGMT                                         109                  1    25,000.00     (95,000.00)      (95,000.00)       (1.00)
          07245-HEA/FDTECH                                       285                  8    3,438.67       (1,239.78)       (8,678.46)       (0.79)
          07070-TURKPROD                                       1,103                  32   2,938.46        (170.04)        (5,271.24)       (0.61)




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                                                  Table 5.5 cont’d

                                                                         Avg Afr
                                          Total          Total Afr        Amer       Diff Afr Amer      Weighted
               Division                 Employees         Amer             Pay           v. Non           Diff           S.D.s
 00106-NAG/AGM                                   144                 5   13,000.00     (1,385.32)        (4,155.96)      (0.50)
 07370-CGLCITRPUR                                 80                 3   4,972.72       (916.17)         (2,748.52)      (0.50)
 07430-EXCEL PORK                                543                 4   8,511.23       1,486.13         5,944.52        (0.50)
 00530-WILLKNIGHT                                209                 2    352.18          3.98             3.98          (0.43)
 07475-FERTDISTR                                 262                 5   6,440.00      (1,991.29)        (3,982.58)      (0.41)
 00513-OILSEEDS                                 2,256           131      2,306.44        (36.70)         (3,816.52)      (0.35)
 00532-FMG                                      1,276             22     39,750.93      1,568.19         29,795.54       (0.26)
 07250-MWLYSINE                                  137                 2   2,578.22         56.79           113.58         0.00
 00531-AFL                                       377              29     4,774.86         27.28           682.01         0.03
 07415-EMMPAK                                    288              11     2,610.15         38.39           383.86         0.05
 00507-SALT                                     1,201             46     3,018.05         23.90           860.53         0.12
 00537-SILENT KNIGHT                             101                 2    333.83          11.69            11.69         0.23
 00503-AN NUTR DV                               2,169             10     3,644.82       1,823.74         7,294.98        0.24
 07480-DEICTECHN                                 510              13     3,245.88        (22.95)         (298.35)        0.36
 07105-ARO                                       369              40     2,197.05       (579.31)        (21,434.61)      0.36
 00539-EXCEL                                    6,171           143      5,915.15       (611.47)        (83,159.73)      0.41
 00073-COFFEE                                     40                 5   3,933.33       1,400.00         4,200.00        0.57
 07060-SUNFRFDS                                  384                 5   23,371.02      11,437.27        45,749.07       0.58
 07495-NSS                                      1,759             63     5,274.81        507.44          28,416.67       0.64
 07220-VIT E                                      71                 1   2,939.95        (34.19)          (34.19)        0.78
 00013-MOLASSES                                   86                 2   1,400.00        400.00           400.00         1.00
 00546-CGL ENERGY                                283                 5    742.43          69.43            69.43         1.00
 07085-FSD                                        27                 3   2,500.00        500.00           500.00         1.00
 07125-DRYCORNING                                115                 3   4,000.00       2,000.00         2,000.00        1.00
 07300-PETROLEUM                                  35                 2   1,500.00        500.00           500.00         1.00
 00523-CSW                                       473              27      851.68          50.23          1,205.64        1.31
 07025-CAN                                       948                 4    493.70         310.21           620.41         1.58
 07120-DSONA                                     960              92     2,117.45       (411.88)        (34,186.43)      1.71
 00047-ROGERS                                     55              10     9,500.00       1,833.33         3,666.67        1.71
 00511-BIOSCIENCES                               219                 2   3,479.74       1,283.40         2,566.79        1.76
                                                                                     Highlighted lines have 50 or more
 An additional 52 divisions have insufficient data to calculate a number of S.D.s
                                                                                     African Americans




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                           Table 5.6 By Education Level and Service

                      Total     Total African    Avg Afr    Diff Afr Amer
 Education Level    Employees    Americans      Amer Pay        v. Non      Weighted Diff    S.D.s
Advance degree         5,130            117      9,817.17      (7,618.15)   (472,325.56)    (5.00)
College               24,536            611      6,553.03        (717.77)   (353,859.67)    (4.57)
Less than college      3,995            131      2,812.01      (1,088.20)    (75,086.06)    (3.63)
None recorded         33,992          1,802      2,734.20        (346.79)   (572,893.53)    (8.06)
                      Total     Total African    Avg Afr    Diff Afr Amer
     Service        Employees    Americans      Amer Pay        v. Non      Weighted Diff    S.D.s
 1st quartile         14,560            648      2,644.07        (664.73)   (360,948.76)    (4.34)
 2nd quartile         16,853            529      3,945.60        (824.06)   (365,884.73)    (5.32)
 3rd quartile         18,110            602      4,132.52        (557.13)   (291,937.35)    (4.96)
 4th quartile         18,130            882      4,179.38        (595.29)   (455,393.97)    (6.08)




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   Section VI. Terminations

            Our final study examines whether African Americans are involuntarily terminated
   in disproportionately large numbers relative to their non- African American peers.
   Because there are instances where employees are hired and involuntarily terminated
   within a year, we once again use semi-annual snapshots (with snapshot dates of June 30th
   and December 31st of each year from 1995 to 2003) in order to capture those termination
   decisions that would be excluded using annual snapshots. For each semi-annual
   snapshot, we group employees by FLSA status, division, job group, educational
   attainment and company service and identify from among each group those employees
   involuntarily terminated during the subsequent six month period, according to HRIS
   codes.


            Table 6.1 shows the overall summary for the termination study. In all, it
   encompasses 5,409 instances in which Cargill terminated employees between August
   22, 1995 and September 31, 2003, of which 412 were African American. If Cargill
   terminated African Americans in exactly the same proportions as their similarly situated
   peers, we would expect 315.9 African Americans to be terminated, 96.1 fewer than
   actually were. Expressed as a number of standard deviations, the excess in the number of
   African Americans terminated equates to –7.96 standard deviations, far exceeding the
   two standard deviation threshold. On the probability scale, this disparity equates to less
   than one chance in a million billion.


            Table 6.2 breaks this summary down by year. The table shows, for a given year,
   the total number of employees, the number from among this total that were terminated,
   and the number of these who are African Americans. Also reported is the number of
   African Americans that would be terminated if Cargill terminated African Americans at
   exactly the same rate as their cohort peers. The last two columns of the table report the
   difference between the actual and expected numbers of African American terminations
   and the number of standard deviations associated with this difference. As shown in the
   table, African Americans were terminated more often than expected in each of the nine




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   years, with the disparity exceeding two standard deviations to the disadvantage of
   African Americans in five years (namely, 1995, 1996, 1999, 2000 and 2002).


           Table 6.3 shows that the disparity between the actual and expected numbers of
   African American terminations exceeds four standard deviations to the disadvantage of
   both exempt and non-exempt African Americans.


           Table 6.4 presents the results summarized by job group. Cargill terminated more
   African Americans than expected in 29 of the 40 job groups in which there are
   comparators and at least one termination. The disparity in terminations exceeds two
   standard deviations to the disadvantage of African Americans in six of these job groups.35
   There are no job groups in which the disparity exceeds two standard deviations to the
   advantage of African Americans

           Table 6.5 shows that, at the division level, African Americans were terminated
   more often than expected in 36 out of 52 divisions in which there are comparators and
   at least one termination. The disparity exceeds two standard deviations to the
   disadvantage of African Americans in six of these 36 divisions.36 There are no divisions
   in which the disparity favors African Americans by as much as two standard deviations.


           Table 6.6 breaks down the overall summary first by education level and then by
   length of service. In the two educational groups with the lion’s share of Cargill
   employees, African Americans were terminated in disproportionately large numbers, the
   imbalances being –7.36 standard deviations for one group and –2.87 standard
   35
      The number of standard deviations associated with the disparities in the six job groups range
   from –5.51 to –2.06. There are 35 job groups large enough to generate an imbalance of –2.06
   or more standard deviations. The probability that six or more of these would randomly yield a
   number of standard deviations less than or equal to –2.06 is less than one in 16,000, and
   equates to –3.84 standard deviations.
   36
      The numbers of standard deviations associated with the disparities in the six divisions range
   from –8.65 to –2.01. There are 39 divisions large enough to generate an imbalance of –2.01
   or more standard deviations. The probability that six or more of these would randomly yield a
   number of standard deviations less than or equal to –2.01 is 0.0002, which equates to –3.53
   standard deviations.



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   deviations for the other. African Americans incurred a disproportionately large number
   of terminations in each of the four service quartiles, the smallest imbalance among the
   four being –3.03 standard deviations, and the largest, –5.40.


           In sum, there is a strong pattern in which African Americans have been
   terminated involuntarily in numbers disproportionately large relative to their cohort
   peers, measuring –7.96 standard deviations or, on the probability scale, less than one
   chance in a billion. Of particular interest for the purposes of class certification is the fact
   that the overall disparity cannot be attributed to a single time period, division or job
   group or to only exempt or non-exempt employees. As with the performance rating
   study, the promotion study, the pay increase study, and the bonuses, awards and
   incentives study, the termination rate imbalances between African Americans and their
   peers is not restricted to one particular year, FLSA status, division, job group, educational
   level or service quartile.




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                                    TABLES 6.1 - 6.7: TERMINATIONS


                                          Table 6.1 Overall Summary

                                                African
              Total           Total           Americans
           Employees       Terminated         Terminated             Expected      Difference      S.D.s
            221,154           5,409               412                  315.90          (96.10)     (7.96)



                                                    Table 6.2 By Year

                                                          African
                     Total             Total            Americans
        Year       Employees        Terminated          Terminated         Expected        Difference        S.D.s
        1995              10044              332                82                 45.40         (36.60)      (9.17)
        1996              23028              362                24                 17.61          (6.39)      (2.06)
        1997              24436              464                25                 24.07          (0.93)      (0.12)
        1998              26821              903                67                 60.78          (6.22)      (1.25)
        1999              26929              608                35                 25.06          (9.94)      (2.41)
        2000              28049              826                60                 48.84         (11.16)      (2.35)
        2001              26964              747                54                 45.11          (8.89)      (1.82)
        2002              27028              741                43                 32.62         (10.38)      (2.35)
        2003              27855              426                22                 16.41          (5.59)      (1.48)

                                                 Table 6.3 By FLSA

                                                           African
                   Total              Total              Americans
 FLSA            Employees         Terminated            Terminated          Expected           Difference   S.D.s
Exempt             150,514               3,209              188                   136.03          (51.97)     (6.49)
 Nonex              70,640               2,200              224                   179.87          (44.13)     (4.84)



                                             Table 6.4 By Job Group

                                                                                    African
            st
Job Group (1 2 digits are Cargill’s EEO category.         Total         Total     Americans
           PG = Pay Grade)                              Employees    Terminated   Terminated     Expected Difference S.D.s
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)              12,366          404            73        46.98     (26.02)   (5.51)
06 N4 CRAFTS                                                 4,234           98            17         9.02      (7.98)   (4.19)
05 N3 SKILLED CLERICAL 1-4                                   6,276          308            41        29.12     (11.88)   (4.02)
05 NZ ACCOUNTANTS 2-5                                        9,577          339            45        33.92     (11.08)   (2.99)
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)              5,503           73            7          3.17      (3.83)   (2.62)




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                                                          Table 6.4 cont’d

                                                                                                African
              st
Job Group (1 2 digits are Cargill’s EEO category.              Total             Total        Americans
           PG = Pay Grade)                                   Employees        Terminated      Terminated       Expected       Difference     S.D.s
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                          5,255              137               4            1.50         (2.50)   (2.06)
07 N5 OPERATIVES                                                   16,947               370              38          29.42          (8.58)   (1.82)
01 H MERCHANDISING MANAGEMENT (PG 11+)                               3,166               39               4            2.05         (1.95)   (1.77)
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                       5,261               87               8            5.21         (2.79)   (1.73)
02 R DEVELOP & ANALYTICAL RES SPEC (PG 1-10)                         7,809              161               8            5.03         (2.97)   (1.53)
01 E PRODUCTION MANAGEMNT - LEVEL l (PG 9-12)                      12,720               173               8            4.91         (3.09)   (1.46)
02 X OTHER SPECIALISTS (PG 1-10)                                     3,583               55               4            2.33         (1.67)   (1.30)
__ 11 MANAGEMENT ll                                                  2,097               11               2            1.10         (0.90)   (1.25)
02 O INFO SYSTEMS SPECIALIST LEVEL ll (PG 5-10)                      7,045              163               9            6.34         (2.66)   (1.20)
01 D PRODUCTION MANAGEMNT - LEVEL ll (PG 13+)                        3,737               49               1            0.13         (0.87)   (1.04)
03 NR TECHNICAL SUPPORT                                              5,354              181              13          10.45          (2.55)   (0.87)
05 N1 SKILLED CLERICAL 5-7                                         11,319               310              20          17.06          (2.94)   (0.74)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                       12,490               389               5            3.45         (1.55)   (0.65)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                       3,499               77               6            4.81         (1.19)   (0.63)
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                   23,286               475              26          23.88          (2.12)   (0.44)
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                           2,541               50               2            1.25         (0.75)   (0.35)
01 I MERCHANDISING MNGMNT-LEVEL II (PG 5-10)                         3,707               51               2            1.28         (0.72)   (0.24)
__ 12 MANAGEMENT lll                                                 1,951               35               2            1.30         (0.70)   (0.18)
08 N6 LABORERS                                                       4,375              219              23          22.09          (0.91)   (0.11)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                       1,901               38               4            3.41         (0.59)   (0.10)
__ 21 GENERAL PROFESSIONALS                                            797               11               0            0.12           0.12    0.00
__ 41 SALES BELOW 10                                                   982               16               0            0.13           0.13    0.00
01 B GENERAL MANAGEMENT ll (PG 9-17)                                   436                9               0            0.20           0.20    0.00
01 C GENERAL MANAGEMENT (PG 9-15)                                    1,748               29               1            1.46           0.46    0.00
01 K ACCOUNTING MANAGEMENT (PG 10+)                                  4,613               59               0            0.29           0.29    0.00
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                                3,608               53               1            0.84         (0.16)    0.00
01 U SALES MANAGEMENT (PG 11+)                                       4,542              110               1            1.37           0.37    0.00
01 XX-8595 PAINTING & DECORATING OCC                                   700                8               0            0.33           0.33    0.00
02 OTHER SPECIALIST (PG 1-10)                                        6,672              264               2            1.93         (0.07)    0.00
05 NU SECRETARIES 6-7                                                4,206               83               2            1.98         (0.02)    0.00
05 NV SECRETARIES 2-5                                                3,644              139               7            6.58         (0.42)    0.00
05 NY ACCOUNTANTS 6-7                                                2,880               90              14          14.94            0.94    0.23
03 NT COMPUTER OPERATIONS                                            1,284               45               3            4.30           1.30    0.63
01 Q RESEARCH MANAGEMENT (PG 11+)                                    2,032               46               1            2.17           1.17    0.80
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                       3,503              106               8          10.05            2.05    1.17
An additional 17 job groups have insufficient data to calculate a number of S.D.s.    Highlighted lines have 20 or more expected African Americans.




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                                   Table 6.5 By Division
                                                     African
                         Total          Total      Americans
          Division     Employees     Terminated    Terminated        Expected     Difference     S.D.s
   00550-PPD                 5,685          343                 76        42.51        (33.49) (8.65)
   00513-OILSEEDS            7,834          164                 26        15.03        (10.97) (3.42)
   00512-CORN MLG           14,920           83                 12         6.35         (5.65) (2.79)
   07420-EXCEL BEEF          5,346           66                  6         2.38         (3.62) (2.13)
   00001-NAG                16,634          491                 40        30.00        (10.00) (2.02)
   07495-NSS                 4,683          217                 14         9.24         (4.76) (2.01)
   07025-CAN                 6,050          134                  6         3.30         (2.70) (1.45)
   07135-SWEETNRNA           7,532          154                 12         8.18         (3.82) (1.36)
   07515-ADMIN               9,710          190                  8         5.30         (2.70) (1.09)
   00532-FMG                 3,984          197                 10         7.90         (2.10) (1.07)
   07440-EXCELCR              707            14                  3         1.73         (1.27) (1.02)
   07105-ARO                  434             7                  2         0.80         (1.20) (0.96)
   00538-NSS                 7,993           59                  6         4.04         (1.96) (0.87)
   07475-FERTDISTR            764            13                  1         0.20         (0.80) (0.75)
   07962-RMFS SS              686             6                  1         0.20         (0.80) (0.75)
   07245-HEA/FDTECH           683            17                  4         2.92         (1.08) (0.74)
   00518-DRY MLG             6,281          107                 16        13.96         (2.04) (0.70)
   07295-CIS                 2,064           74                 12        10.37         (1.63) (0.66)
   00533-CIS                 3,164           64                 11         9.28         (1.72) (0.62)
   07370-CGLCITRPUR           581             9                  1         0.25         (0.75) (0.58)
   07010-AGHORIZUS           7,276          324                  6         4.53         (1.47) (0.49)
   07415-EMMPAK              1,303           21                  2         1.05         (0.95) (0.49)
   00516-FOOD SECTR           450             2                  1         0.27         (0.73) (0.49)
   07485-SALT                3,293           58                  6         4.68         (1.32) (0.46)
   00108-WILBR CHOC           872             4                  1         0.33         (0.67) (0.35)
   07968-MEAT SOL            2,644           31                  1         0.33         (0.68) (0.34)
   00539-EXCEL              16,113          188                  7         5.94         (1.06) (0.25)
   00531-AFL                  914           260                 25        24.00         (1.00) (0.22)
   00523-CSW                 2,014           23                  4         3.33         (0.67) (0.18)
   00405-PEANUTS              924            48                 11        10.42         (0.58) (0.07)
   00034-FERTILIZER          4,674           35                  2         2.00          0.00    0.00
   00036-WWJFV               1,115           57                  1         1.17          0.17    0.00
   00206-CFI                  248             4                  1         0.50         (0.50)   0.00
   00503-AN NUTR DV          9,782          195                  2         2.24          0.24    0.00
   00505-ADMIN              14,218          109                  3         3.16          0.16    0.00
   00508-SEED                3,229           79                  1         1.20          0.20    0.00
   00511-BIOSCIENCES          650             5                  0         0.07          0.07    0.00
   00530-WILLKNIGHT          1,571          151                  0         0.20          0.20    0.00
   07115-HORIZMILL           2,593           43                  3         2.80         (0.20)   0.00
   07265-IOL                  157             5                  0         0.50          0.50    0.00
   07325-GOSCNA              5,390          142                 13        13.27          0.27    0.00
   07400-WWCOFFEE              44            37                  8         7.50         (0.50)   0.00
   07405-WWCOTTON             624            16                  6         5.58         (0.42)   0.00
   07430-EXCEL PORK          1,747           22                  2         1.54         (0.46)   0.00




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                                                         Table 6.5 cont’d

                                                                         African
                                     Total              Total          Americans
             Division              Employees         Terminated        Terminated             Expected      Difference      S.D.s
     07480-DEICTECHN                         1,253              14                        0          0.27           0.27    0.00
     07500-SSC                                586                6                        1          0.60          (0.40)   0.00
     07510-WIRE                               327                4                        0          0.50           0.50    0.00
     00507-SALT                              5,361             202                        9          9.64           0.64    0.05
     00535-HOHENBERG                         1,129              25                    11            11.92           0.92    0.26
     07120-DSONA                             3,243              56                        5          6.26           1.26    0.35
     07465-PHOSPHPROD                        2,555              39                        2          3.02           1.02    0.46
     07070-TURKPROD                          3,962             152                        2          4.15           2.15    1.06
                                                                                              Highlighted lines have 20 or more
      An additional 63 divisions have insufficient data to calculate a number of S.D.s.
                                                                                                expected African Americans.




                                        Table 6.6 By Education and Service
                                                                        African
                           Total                 Total                Americans
 Education Level         Employees            Terminated              Terminated              Expected        Difference          S.D.s
Advance degree                 15,226                    282                      13                 9.91          (3.09)         (1.82)
College                        79,396                  1,464                      62                47.73         (14.27)         (2.87)
Less than college              12,974                    315                      13                14.05            1.05          0.32
None recorded                 113,558                  3,348                     324               244.21         (79.79)         (7.36)
                                                                        African
                           Total                 Total                Americans
     Service             Employees            Terminated              Terminated              Expected        Difference          S.D.s
 1st quartile                  55,607                  2,148                     170               137.46         (32.54)         (4.06)
 2nd quartile                  54,850                  1,362                     111                79.16         (31.84)         (5.40)
 3rd quartile                  54,521                  1,129                      75                58.34         (16.66)         (3.22)
 4th quartile                  56,176                    770                      56                40.94         (15.06)         (3.03)




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   Other Studies
          In addition to the studies described above, we ran versions from which minorities
   (primarily Hispanics and Asians) other than African Americans were excluded. If Cargill
   discriminates against minority groups other than African Americans, the results of studies
   comparing African Americans to non- African Americans may underestimate the
   disparities associated with being African American at Cargill. Excluding minorities other
   than African Americans generally caused the disparities and the corresponding numbers
   of standard deviations to increase, suggesting that the results presented above are
   conservative in their assessment of plaintiffs’ claim that Cargill discriminates against
   African Americans in performance ratings, advancement, compensation and terminations.
   The results of these studies are reported in Appendix B.


            We conducted other variations on the studies described above. Noting that some
   African Americans lack non- African American comparators when employees are
   grouped by FLSA status, division, job group, education level and service, we ran our
   studies forming cohorts in two other, less restrictive, ways: (1) by FLSA status, division,
   education level and service and (2) by FLSA status, job group, education and service.
   The results of these studies are consistent with the results presented above and in some
   cases show even greater imbalances by race than do the studies described above.


          We also conducted a study that examined whether Cargill assigns the lowest two
   ratings in the PMP system (i.e., a 2 or 3 under the 5-point number rating scale or a BE or
   MS under the 5-point letter scale) to a disproportionately large number of African
   Americans. Since these ratings indicate that an employee has failed to meet performance
   expectations, Cargill may use these ratings to justify disciplinary actions against African
   Americans or to justify terminations. The overall disparity of –6.68 standard deviations
   indicates that African Americans received significantly more of the bottom two ratings
   than similarly situated non-African Americans.

          In another variation, we expanded the termination study to examine terminations
   coded as involuntary and terminations coded as voluntary but due to job abandonment,
   failure to return from leave of absence, dissatisfaction and walking off the job.


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Appendix A: Racial Composition of Cargill’s Salaried Workforce by EEO-1 Category
          from 1995 to 2002 Compared to 1990 and 2000 Census
                             -National Comparisons-




April 21, 2004
(Revised: July 9, 2004)




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                               1995 Cargill Salaried Workforce                       Census
                                                               Non-                    1990       2000
                                 Total         African        African      African    African    African
EEO-1 Job Category             Employees      American       American     American   American   American
                                   (#)           (#)           (#)          (%)        (%)        (%)
Officials and Managers (01)         2,811               73      2,738         2.60       5.35       6.29
Professionals (02)                  4,019              162      3,857         4.03       7.34       7.63
Technicians (03)                      410               24        386         5.85       8.87      10.97
Sales Workers (04)                  1,265               14      1,251         1.11       7.75       8.61
Office/Clerical Workers (05)        2,327              114      2,213         4.90      11.41      12.24
Craft Workers (06)                    105               14         91        13.33       7.21       6.84
Operatives (07)                       360               18        342         5.00      14.07      13.44
Laborers (08)                          51               15         36        29.41      13.05      11.61
Service Workers (09)                     30              2           28       6.67      17.06      15.79



                               1996 Cargill Salaried Workforce                       Census
                                                               Non-                    1990       2000
                                 Total         African        African      African    African    African
EEO-1 Job Category             Employees      American       American     American   American   American
                                   (#)           (#)           (#)          (%)        (%)        (%)
Officials and Managers (01)         2,944               69      2,875         2.34       5.35       6.29
Professionals (02)                  4,430              184      4,246         4.15       7.34       7.63
Technicians (03)                      405               25        380         6.17       8.87      10.97
Sales Workers (04)                  1,181               13      1,168         1.10       7.75       8.61
Office/Clerical Workers (05)        2,356              131      2,225         5.56      11.41      12.24
Craft Workers (06)                    128               17        111        13.28       7.21       6.84
Operatives (07)                       410               17        393         4.15      14.07      13.44
Laborers (08)                          45               10         35        22.22      13.05      11.61
Service Workers (09)                     30              2           28       6.67      17.06      15.79




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                               1997 Cargill Salaried Workforce                       Census
                                                               Non-                    1990       2000
                                 Total         African        African      African    African    African
EEO-1 Job Category             Employees      American       American     American   American   American
                                   (#)           (#)           (#)          (%)        (%)        (%)
Officials and Managers (01)         2,448               58      2,390         2.37       5.35       6.29
Professionals (02)                  5,321              214      5,107         4.02       7.34       7.63
Technicians (03)                      422               27        395         6.40       8.87      10.97
Sales Workers (04)                  1,200               17      1,183         1.42       7.75       8.61
Office/Clerical Workers (05)        2,611              142      2,469         5.44      11.41      12.24
Craft Workers (06)                    198               25        173        12.63       7.21       6.84
Operatives (07)                       837               39        798         4.66      14.07      13.44
Laborers (08)                         359               20        339         5.57      13.05      11.61
Service Workers (09)                     28              2           26       7.14      17.06      15.79



                               1998 Cargill Salaried Workforce                       Census
                                                               Non-                    1990       2000
                                 Total         African        African      African    African    African
    EEO-1 Job Category         Employees      American       American     American   American   American
                                   (#)           (#)           (#)          (%)        (%)        (%)
Officials and Managers (01)         2,514               71      2,443         2.82       5.35       6.29
Professionals (02)                  5,345              203      5,142         3.80       7.34       7.63
Technicians (03)                      409               27        382         6.60       8.87      10.97
Sales Workers (04)                  1,160               11      1,149         0.95       7.75       8.61
Office/Clerical Workers (05)        2,333              108      2,225         4.63      11.41      12.24
Craft Workers (06)                    203               25        178        12.32       7.21       6.84
Operatives (07)                       922               61        861         6.62      14.07      13.44
Laborers (08)                         389               40        349        10.28      13.05      11.61
Service Workers (09)                     25              2           23       8.00      17.06      15.79




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                               1999 Cargill Salaried Workforce                       Census
                                                               Non-                    1990       2000
                                 Total         African        African      African    African    African
    EEO-1 Job Category         Employees      American       American     American   American   American
                                   (#)           (#)           (#)          (%)        (%)        (%)
Officials and Managers (01)         2,699               74      2,625         2.74       5.35       6.29
Professionals (02)                  5,489              221      5,268         4.03       7.34       7.63
Technicians (03)                      422               24        398         5.69       8.87      10.97
Sales Workers (04)                  1,104               14      1,090         1.27       7.75       8.61
Office/Clerical Workers (05)        2,334              102      2,232         4.37      11.41      12.24
Craft Workers (06)                    427               35        392         8.20       7.21       6.84
Operatives (07)                     1,271               99      1,172         7.79      14.07      13.44
Laborers (08)                         395               43        352        10.89      13.05      11.61
Service Workers (09)                     24              2           22       8.33      17.06      15.79



                               2000 Cargill Salaried Workforce                       Census
                                                               Non-                    1990       2000
                                 Total         African        African      African    African    African
    EEO-1 Job Category         Employees      American       American     American   American   American
                                   (#)           (#)           (#)          (%)        (%)        (%)
Officials and Managers (01)         2,754               66      2,688         2.40       5.35       6.29
Professionals (02)                  5,189              208      4,981         4.01       7.34       7.63
Technicians (03)                      387               25        362         6.46       8.87      10.97
Sales Workers (04)                  1,081               19      1,062         1.76       7.75       8.61
Office/Clerical Workers (05)        2,133               89      2,044         4.17      11.41      12.24
Craft Workers (06)                    375               22        353         5.87       7.21       6.84
Operatives (07)                     1,346              112      1,234         8.32      14.07      13.44
Laborers (08)                         309               35        274        11.33      13.05      11.61
Service Workers (09)                     19              2           17      10.53      17.06      15.79




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                               2001 Cargill Salaried Workforce                       Census
                                                               Non-                    1990       2000
                                 Total         African        African      African    African    African
    EEO-1 Job Category         Employees      American       American     American   American   American
                                   (#)           (#)           (#)          (%)        (%)        (%)
Officials and Managers (01)         2,757               70      2,687         2.54       5.35       6.29
Professionals (02)                  4,949              190      4,759         3.84       7.34       7.63
Technicians (03)                      363               35        328         9.64       8.87      10.97
Sales Workers (04)                  1,144               17      1,127         1.49       7.75       8.61
Office/Clerical Workers (05)        2,023               90      1,933         4.45      11.41      12.24
Craft Workers (06)                    373               19        354         5.09       7.21       6.84
Operatives (07)                     1,314              119      1,195         9.06      14.07      13.44
Laborers (08)                         328               35        293        10.67      13.05      11.61
Service Workers (09)                     20              1           19       5.00      17.06      15.79



                               2002 Cargill Salaried Workforce                       Census
                                                               Non-                    1990       2000
                                 Total         African        African      African    African    African
    EEO-1 Job Category         Employees      American       American     American   American   American
                                   (#)           (#)           (#)          (%)        (%)        (%)
Officials and Managers (01)         2,897               71      2,826         2.45       5.35       6.29
Professionals (02)                  5,131              201      4,930         3.92       7.34       7.63
Technicians (03)                      381               33        348         8.66       8.87      10.97
Sales Workers (04)                  1,251               20      1,231         1.60       7.75       8.61
Office/Clerical Workers (05)        1,980               94      1,886         4.75      11.41      12.24
Craft Workers (06)                    340               16        324         4.71       7.21       6.84
Operatives (07)                     1,441              112      1,329         7.77      14.07      13.44
Laborers (08)                         339               38        301        11.21      13.05      11.61
Service Workers (09)                     18              2           16      11.11      17.06      15.79




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      Racial Composition of Cargill’s Salaried Workforce by EEO-1 Category
              from 1995 to 2002 Compared to 1990 and 2000 Census
                             -Regional Comparisons-




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                               1995 Midwest Cargill Salaried Workforce                        Census
                                                               Non-                     1990        2000
                                 Total          African       African       African    African     African
    EEO-1 Job Category         Employees       American      American      American   American    American
                                   (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)         1,725               37      1,688          2.14       4.02           4.92
Professionals (02)                  2,575               58      2,517          2.25       5.91           5.92
Technicians (03)                         296            15        281          5.07       6.98           8.06
Sales Workers (04)                       779             9        770          1.16       6.47           6.94
Office/Clerical Workers (05)        1,504               43      1,461          2.86       9.53           9.92
Craft Workers (06)                        74             5            69       6.76       4.81           4.54
Operatives (07)                          281             1        280          0.36       9.54           9.43
Laborers (08)                             30             1            29       3.33       8.36           8.59
Service Workers (09)                      24             1            23       4.17      12.56         12.50



                               1996 Midwest Cargill Salaried Workforce                        Census
                                                               Non-                     1990        2000
                                 Total          African       African       African    African     African
    EEO-1 Job Category         Employees       American      American      American   American    American
                                   (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)         1,848               36      1,812          1.95       4.02           4.92
Professionals (02)                  2,909               65      2,844          2.23       5.91           5.92
Technicians (03)                         282            15        267          5.32       6.98           8.06
Sales Workers (04)                       731             9        722          1.23       6.47           6.94
Office/Clerical Workers (05)        1,535               45      1,490          2.93       9.53           9.92
Craft Workers (06)                        67             4            63       5.97       4.81           4.54
Operatives (07)                          306             1        305          0.33       9.54           9.43
Laborers (08)                             23             1            22       4.35       8.36           8.59
Service Workers (09)                      25             1            24       4.00      12.56         12.50




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                               1997 Midwest Cargill Salaried Workforce                        Census
                                                               Non-                     1990        2000
                                 Total          African       African       African    African     African
    EEO-1 Job Category         Employees       American      American      American   American    American
                                   (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)         1,674               37      1,637          2.21       4.02           4.92
Professionals (02)                  3,564               82      3,482          2.30       5.91           5.92
Technicians (03)                         283            16        267          5.65       6.98           8.06
Sales Workers (04)                       725            11        714          1.52       6.47           6.94
Office/Clerical Workers (05)        1,779               56      1,723          3.15       9.53           9.92
Craft Workers (06)                        98             3            95       3.06       4.81           4.54
Operatives (07)                          663             3        660          0.45       9.54           9.43
Laborers (08)                            247             5        242          2.02       8.36           8.59
Service Workers (09)                      23             1            22       4.35      12.56         12.50




                               1998 Midwest Cargill Salaried Workforce                        Census
                                                               Non-                     1990        2000
                                 Total          African       African       African    African     African
    EEO-1 Job Category         Employees       American      American      American   American    American
                                   (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)         1,714               45      1,669          2.63       4.02           4.92
Professionals (02)                  3,511               78      3,433          2.22       5.91           5.92
Technicians (03)                         269            12        257          4.46       6.98           8.06
Sales Workers (04)                       698             6        692          0.86       6.47           6.94
Office/Clerical Workers (05)        1,594               44      1,550          2.76       9.53           9.92
Craft Workers (06)                        93             3            90       3.23       4.81           4.54
Operatives (07)                          677             3        674          0.44       9.54           9.43
Laborers (08)                            248             6        242          2.42       8.36           8.59
Service Workers (09)                      21             1            20       4.76      12.56         12.50




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                               1999 Midwest Cargill Salaried Workforce                        Census
                                                               Non-                     1990        2000
                                 Total          African       African       African    African     African
    EEO-1 Job Category         Employees       American      American      American   American    American
                                   (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)         1,840               40      1,800          2.17       4.02           4.92
Professionals (02)                  3,649               81      3,568          2.22       5.91           5.92
Technicians (03)                         268            10        265          3.73       6.98           8.06
Sales Workers (04)                       633             5        628          0.79       6.47           6.94
Office/Clerical Workers (05)        1,576               39      1,537          2.47       9.53           9.92
Craft Workers (06)                       238             6        232          2.52       4.81           4.54
Operatives (07)                          910            22        888          2.42       9.54           9.43
Laborers (08)                            245             4        241          1.63       8.36           8.59
Service Workers (09)                      23             1            22       4.35      12.56         12.50




                               2000 Midwest Cargill Salaried Workforce                        Census
                                                               Non-                     1990        2000
                                 Total          African       African       African    African     African
    EEO-1 Job Category         Employees       American      American      American   American    American
                                   (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)         1,903               33      1,870          1.73       4.02           4.92
Professionals (02)                  3,492               81      3,411          2.32       5.91           5.92
Technicians (03)                         239            10        229          4.18       6.98           8.06
Sales Workers (04)                       611            13        598          2.13       6.47           6.94
Office/Clerical Workers (05)        1,457               38      1,419          2.61       9.53           9.92
Craft Workers (06)                       220             7        213          3.18       4.81           4.54
Operatives (07)                          889            23        866          2.59       9.54           9.43
Laborers (08)                            214             3        211          1.40       8.36           8.59
Service Workers (09)                      18             1            17       5.56      12.56         12.50




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                               2001 Midwest Cargill Salaried Workforce                         Census
                                                               Non-                      1990        2000
                                 Total          African       African       African     African     African
    EEO-1 Job Category         Employees       American      American      American    American    American
                                   (#)            (#)           (#)          (%)         (%)            (%)
Officials and Managers (01)         1,898               35      1,863          1.84        4.02           4.92
Professionals (02)                  3,224               74      3,150          2.30        5.91           5.92
Technicians (03)                         212            16        196          7.55        6.98           8.06
Sales Workers (04)                       656            11        645          1.68        6.47           6.94
Office/Clerical Workers (05)        1,312               34      1,278          2.59        9.53           9.92
Craft Workers (06)                       212             4        208          1.89        4.81           4.54
Operatives (07)                          866            22        844          2.54        9.54           9.43
Laborers (08)                            228             2        226          0.88        8.36           8.59
Service Workers (09)                      19             0            19           0      12.56         12.50




                               2002 Midwest Cargill Salaried Workforce                         Census
                                                               Non-                      1990        2000
                                 Total          African       African       African     African     African
    EEO-1 Job Category         Employees       American      American      American    American    American
                                   (#)            (#)           (#)          (%)         (%)            (%)
Officials and Managers (01)         1,951               38      1,913          1.95        4.02           4.92
Professionals (02)                  3,280               92      3,188          2.80        5.91           5.92
Technicians (03)                         211            12        199          5.69        6.98           8.06
Sales Workers (04)                       741            13        728          1.75        6.47           6.94
Office/Clerical Workers (05)        1,264               34      1,230          2.69        9.53           9.92
Craft Workers (06)                       178             2        176          1.12        4.81           4.54
Operatives (07)                          901            25        876          2.77        9.54           9.43
Laborers (08)                            219             2        217          0.91        8.36           8.59
Service Workers (09)                      17             1            16       5.88       12.56         12.50




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                                      1995 Northeast Cargill Salaried Workforce                         Census
                                                                       Non-                      1990           2000
                                        Total           African       African       African     African        African
      EEO-1 Job Category              Employees        American      American      American    American       American
                                           (#)            (#)           (#)          (%)          (%)            (%)
 Officials and Managers (01)                     129             2        127          1.55         5.30           5.80
 Professionals (02)                              221             9        212          4.07         6.94           6.87
 Technicians (03)                                 19             1            18       5.26         8.32         10.02
 Sales Workers (04)                              132             -        132              -        6.51           7.44
 Office/Clerical Workers (05)                    143             7        136          4.90        12.16         11.68
 Craft Workers (06)*                               -             -             -           -            n/a            n/a
 Operatives (07)*                                  -             -             -           -            n/a            n/a
 Laborers (08)*                                    -             -             -           -            n/a            n/a
 Service Workers (09)*                             -             -             -           -            n/a            n/a




                                      1996 Northeast Cargill Salaried Workforce                         Census
                                                                       Non-                      1990           2000
                                        Total           African       African       African     African        African
      EEO-1 Job Category              Employees        American      American      American    American       American
                                           (#)            (#)           (#)          (%)          (%)            (%)
 Officials and Managers (01)                     138             2        136          1.45         5.30           5.80
 Professionals (02)                              225            14        211          6.22         6.94           6.87
 Technicians (03)                                 23             1            22       4.35         8.32         10.02
 Sales Workers (04)                              113             0        113              0        6.51           7.44
 Office/Clerical Workers (05)                    138             5        133          3.62        12.16         11.68
 Craft Workers (06)                                2             0             2           0        6.21           5.87
 Operatives (07)                                   3             0             3           0       10.33           9.21
 Laborers (08)                                     2             0             2           0        9.87           8.79
 Service Workers (09)*                             -             -             -           -            n/a            n/a

* There were no workers in the category in this year; a row of all hyphens indicates no relevant records.




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                                      1997 Northeast Cargill Salaried Workforce                         Census
                                                                       Non-                      1990           2000
                                        Total           African       African       African     African        African
      EEO-1 Job Category              Employees        American      American      American    American       American
                                           (#)            (#)           (#)          (%)          (%)            (%)
 Officials and Managers (01)                     106             1        105          0.94         5.30           5.80
 Professionals (02)                              178            14        164          7.87         6.94           6.87
 Technicians (03)                                 30             3            27      10.00         8.32         10.02
 Sales Workers (04)                              129             1        128          0.78         6.51           7.44
 Office/Clerical Workers (05)                    144             7        137          4.86        12.16         11.68
 Craft Workers (06)                                3             0             3           0        6.21           5.87
 Operatives (07)                                   9             0             9           0       10.33           9.21
 Laborers (08)                                     4             0             4           0        9.87           8.79
 Service Workers (09)*                             -             -             -           -            n/a            n/a




                                      1998 Northeast Cargill Salaried Workforce                         Census
                                                                       Non-                      1990           2000
                                        Total           African       African       African     African        African
      EEO-1 Job Category              Employees        American      American      American    American       American
                                           (#)            (#)           (#)          (%)          (%)            (%)
 Officials and Managers (01)                     105             1        104          0.95         5.30           5.80
 Professionals (02)                              172            13        159          7.56         6.94           6.87
 Technicians (03)                                 25             3            22      12.00         8.32         10.02
 Sales Workers (04)                              112             1        111          0.89         6.51           7.44
 Office/Clerical Workers (05)                     97             5            92       5.15        12.16         11.68
 Craft Workers (06)                                3             0             3           0        6.21           5.87
 Operatives (07)                                  19             2            17      10.53        10.33           9.21
 Laborers (08)                                     4             0             4           0        9.87           8.79
 Service Workers (09)*                             -             -             -           -            n/a            n/a

* There were no workers in the category in this year; a row of all hyphens indicates no relevant records.




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                                      1999 Northeast Cargill Salaried Workforce                         Census
                                                                       Non-                      1990           2000
                                        Total           African       African       African     African        African
      EEO-1 Job Category              Employees        American      American      American    American       American
                                           (#)            (#)           (#)          (%)          (%)            (%)
 Officials and Managers (01)                     104             2        102          1.92         5.30           5.80
 Professionals (02)                              172            14        158          8.14         6.94           6.87
 Technicians (03)                                 19             0            19           0        8.32         10.02
 Sales Workers (04)                              108             1        107          0.93         6.51           7.44
 Office/Clerical Workers (05)                     92             5            87       5.43        12.16         11.68
 Craft Workers (06)                                7             0             7           0        6.21           5.87
 Operatives (07)                                  20             2            18      10.00        10.33           9.21
 Laborers (08)                                     6             0             6           0        9.87           8.79
 Service Workers (09)*                             -             -             -           -            n/a            n/a




                                      2000 Northeast Cargill Salaried Workforce                         Census
                                                                       Non-                      1990           2000
                                        Total           African       African       African     African        African
      EEO-1 Job Category              Employees        American      American      American    American       American
                                           (#)            (#)           (#)          (%)          (%)            (%)
 Officials and Managers (01)                      99             0            99           0        5.30           5.80
 Professionals (02)                              134             5        129          3.73         6.94           6.87
 Technicians (03)                                 14             0            14           0        8.32         10.02
 Sales Workers (04)                               94             0            94           0        6.51           7.44
 Office/Clerical Workers (05)                     86             4            82       4.65        12.16         11.68
 Craft Workers (06)                               13             0            13           0        6.21           5.87
 Operatives (07)                                  99             3            96       3.03        10.33           9.21
 Laborers (08)*                                    -             -             -           -            n/a            n/a
 Service Workers (09)*                             -             -             -           -            n/a            n/a

* There were no workers in the category in this year; a row of all hyphens indicates no relevant records.




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                                      2001 Northeast Cargill Salaried Workforce                         Census
                                                                      Non-                       1990           2000
                                        Total           African      African       African      African        African
      EEO-1 Job Category              Employees        American     American      American     American       American
                                           (#)            (#)          (#)          (%)           (%)            (%)
 Officials and Managers (01)                      87            1            86       1.15          5.30           5.80
 Professionals (02)                              146            2         144         1.37          6.94           6.87
 Technicians (03)                                 16            0            16           0         8.32         10.02
 Sales Workers (04)                              102            0         102             0         6.51           7.44
 Office/Clerical Workers (05)                     89            4            85       4.49         12.16         11.68
 Craft Workers (06)                               16            0            16           0         6.21           5.87
 Operatives (07)                                  40            7            33      17.50         10.33           9.21
 Laborers (08)*                                    -            -             -            -            n/a            n/a
 Service Workers (09)*                             -            -             -            -            n/a            n/a




                                      2002 Northeast Cargill Salaried Workforce                         Census
                                                                      Non-                       1990           2000
                                        Total           African      African       African      African        African
      EEO-1 Job Category              Employees        American     American      American     American       American
                                           (#)            (#)          (#)          (%)           (%)            (%)
 Officials and Managers (01)                     132            2         130         1.52          5.30           5.80
 Professionals (02)                              254            3         251         1.18          6.94           6.87
 Technicians (03)                                 17            0            17           0         8.32         10.02
 Sales Workers (04)                              109            0         109             0         6.51           7.44
 Office/Clerical Workers (05)                     82            1            81       1.22         12.16         11.68
 Craft Workers (06)                               16            0            16           0         6.21           5.87
 Operatives (07)                                  38            6            32      15.79         10.33           9.21
 Laborers (08)                                     3            0             3           0         9.87           8.79
 Service Workers (09)*                             -            -             -            -            n/a            n/a

* There were no workers in the category in this year; a row of all hyphens indicates no relevant records.




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                                1995 South Cargill Salaried Workforce                          Census
                                                                Non-                     1990        2000
                                  Total          African       African       African    African     African
     EEO-1 Job Category         Employees       American      American      American   American    American
                                    (#)            (#)           (#)          (%)        (%)            (%)
 Officials and Managers (01)              698            31        667          4.44       7.89           9.65
 Professionals (02)                  1,014               92        922          9.07      11.14         12.05
 Technicians (03)                          79             8            71      10.13      13.42         16.53
 Sales Workers (04)                       262             5        257          1.91      11.89         13.51
 Office/Clerical Workers (05)             573            62        511         10.82      15.61         18.30
 Craft Workers (06)                        24             9            15      37.50      11.72         11.17
 Operatives (07)                           54            13            41      24.07      24.40         23.52
 Laborers (08)                             16            14             2      87.50      23.86         20.65
 Service Workers (09)                       6             1             5      16.67      28.17         25.13




                                1996 South Cargill Salaried Workforce                          Census
                                                                Non-                     1990        2000
                                  Total          African       African       African    African     African
     EEO-1 Job Category         Employees       American      American      American   American    American
                                    (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)               714            29        685          4.06       7.89           9.65
Professionals (02)                   1,098               99        999          9.02      11.14         12.05
Technicians (03)                           78             9            69      11.54      13.42         16.53
Sales Workers (04)                        256             4        252          1.56      11.89         13.51
Office/Clerical Workers (05)              575            79        496         13.74      15.61         18.30
Craft Workers (06)                         53            13            40      24.53      11.72         11.17
Operatives (07)                            65            12            53      18.46      24.40         23.52
Laborers (08)                              11             9             2      81.82      23.86         20.65
Service Workers (09)                        5             1             4      20.00      28.17         25.13




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                               1997 South Cargill Salaried Workforce                          Census
                                                               Non-                     1990        2000
                                 Total          African       African       African    African     African
    EEO-1 Job Category         Employees       American      American      American   American    American
                                   (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)              547            18        529          3.29       7.89           9.65
Professionals (02)                  1,284           115         1,169          8.96      11.14         12.05
Technicians (03)                          90             8            82       8.89      13.42         16.53
Sales Workers (04)                       256             5        251          1.95      11.89         13.51
Office/Clerical Workers (05)             576            77        499         13.37      15.61         18.30
Craft Workers (06)                        81            22            59      27.16      11.72         11.17
Operatives (07)                          113            32            81      28.32      24.40         23.52
Laborers (08)                             78            14            64      17.95      23.86         20.65
Service Workers (09)                       5             1             4      20.00      28.17         25.13




                               1998 South Cargill Salaried Workforce                          Census
                                                               Non-                     1990        2000
                                 Total          African       African       African    African     African
    EEO-1 Job Category         Employees       American      American      American   American    American
                                   (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)              584            23        561          3.94       7.89           9.65
Professionals (02)                  1,375           111         1,264          8.07      11.14         12.05
Technicians (03)                          98            11            87      11.22      13.42         16.53
Sales Workers (04)                       270             4        266          1.48      11.89         13.51
Office/Clerical Workers (05)             546            58        488         10.62      15.61         18.30
Craft Workers (06)                        87            22            65      25.29      11.72         11.17
Operatives (07)                          180            53        127         29.44      24.40         23.52
Laborers (08)                            101            33            68      32.67      23.86         20.65
Service Workers (09)                       4             1             3      25.00      28.17         25.13




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                               1999 South Cargill Salaried Workforce                          Census
                                                               Non-                     1990        2000
                                 Total          African       African       African    African     African
    EEO-1 Job Category         Employees       American      American      American   American    American
                                   (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)              633            28        605          4.42       7.89           9.65
Professionals (02)                  1,367           124         1,243          9.07      11.14         12.05
Technicians (03)                         118            13        105         11.02      13.42         16.53
Sales Workers (04)                       271             8        263          2.95      11.89         13.51
Office/Clerical Workers (05)             562            58        504         10.32      15.61         18.30
Craft Workers (06)                       133            27        106         20.30      11.72         11.17
Operatives (07)                          254            72        182         28.35      24.40         23.52
Laborers (08)                            104            37            67      35.58      23.86         20.65
Service Workers (09)                       1             1             0     100.00      28.17         25.13




                               2000 South Cargill Salaried Workforce                          Census
                                                               Non-                     1990        2000
                                 Total          African       African       African    African     African
    EEO-1 Job Category         Employees       American      American      American   American    American
                                   (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)              626            30        596          4.79       7.89           9.65
Professionals (02)                  1,292           120         1,172          9.29      11.14         12.05
Technicians (03)                         102            13            89      12.75      13.42         16.53
Sales Workers (04)                       272             6        266          2.21      11.89         13.51
Office/Clerical Workers (05)             495            47        448          9.49      15.61         18.30
Craft Workers (06)                        99            14            85      14.14      11.72         11.17
Operatives (07)                          257            79        178         30.74      24.40         23.52
Laborers (08)                             68            32            36      47.06      23.86         20.65
Service Workers (09)                       1             1             0     100.00      28.17         25.13




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                               2001 South Cargill Salaried Workforce                          Census
                                                               Non-                     1990        2000
                                 Total          African       African       African    African     African
    EEO-1 Job Category         Employees       American      American      American   American    American
                                   (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)              648            32        616          4.94       7.89           9.65
Professionals (02)                  1,329           113         1,216          8.50      11.14         12.05
Technicians (03)                         106            17            89      16.04      13.42         16.53
Sales Workers (04)                       278             6        272          2.16      11.89         13.51
Office/Clerical Workers (05)             528            51        477          9.66      15.61         18.30
Craft Workers (06)                        96            14            82      14.58      11.72         11.17
Operatives (07)                          307            83        224         27.04      24.40         23.52
Laborers (08)                             72            32            40      44.44      23.86         20.65
Service Workers (09)                       1             1             0     100.00      28.17         25.13




                               2002 South Cargill Salaried Workforce                          Census
                                                               Non-                     1990        2000
                                 Total          African       African       African    African     African
    EEO-1 Job Category         Employees       American      American      American   American    American
                                   (#)            (#)           (#)          (%)        (%)            (%)
Officials and Managers (01)              702            29        673          4.13       7.89           9.65
Professionals (02)                  1,360           106         1,254          7.79      11.14         12.05
Technicians (03)                         126            20        106         15.87      13.42         16.53
Sales Workers (04)                       284             7        277          2.46      11.89         13.51
Office/Clerical Workers (05)             551            58        493         10.53      15.61         18.30
Craft Workers (06)                       100            12            88      12.00      11.72         11.17
Operatives (07)                          414            76        338         18.36      24.40         23.52
Laborers (08)                             94            35            59      37.23      23.86         20.65
Service Workers (09)                       1             1             0     100.00      28.17         25.13




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                                      1995 West Cargill Salaried Workforce                              Census
                                                                      Non-                       1990           2000
                                        Total           African      African       African      African        African
      EEO-1 Job Category              Employees        American     American      American     American       American
                                           (#)            (#)          (#)          (%)           (%)            (%)
 Officials and Managers (01)                     259            3         256         1.16          3.03           3.17
 Professionals (02)                              209            3         206         1.44          3.82           3.60
 Technicians (03)                                 16            0            16           0         4.39           5.08
 Sales Workers (04)                               92            0            92           0         3.80           3.46
 Office/Clerical Workers (05)                    107            2         105         1.87          6.37           5.84
 Craft Workers (06)                                7            0             7           0         3.27           2.52
 Operatives (07)                                  25            4            21      16.00          4.50           3.99
 Laborers (08)                                     5            0             5           0         3.80           3.24
 Service Workers (09)*                             -            -             -            -            n/a            n/a




                                      1996 West Cargill Salaried Workforce                              Census
                                                                      Non-                       1990           2000
                                        Total           African      African       African      African        African
      EEO-1 Job Category              Employees        American     American      American     American       American
                                           (#)            (#)          (#)          (%)           (%)            (%)
 Officials and Managers (01)                     244            2         242         0.82          3.03           3.17
 Professionals (02)                              198            6         192         3.03          3.82           3.60
 Technicians (03)                                 22            0            22           0         4.39           5.08
 Sales Workers (04)                               81            0            81           0         3.80           3.46
 Office/Clerical Workers (05)                    108            2         106         1.85          6.37           5.84
 Craft Workers (06)                                6            0             6           0         3.27           2.52
 Operatives (07)                                  36            4            32      11.11          4.50           3.99
 Laborers (08)                                     9            0             9           0         3.80           3.24
 Service Workers (09)*                             -            -             -            -            n/a            n/a

* There were no workers in the category in this year; a row of all hyphens indicates no relevant records.




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                                      1997 West Cargill Salaried Workforce                              Census
                                                                      Non-                       1990           2000
                                        Total           African      African       African      African        African
      EEO-1 Job Category              Employees        American     American      American     American       American
                                           (#)            (#)          (#)          (%)           (%)            (%)
 Officials and Managers (01)                     121            2         119         1.65          3.03           3.17
 Professionals (02)                              295            3         292         1.02          3.82           3.60
 Technicians (03)                                 19            0            19           0         4.39           5.08
 Sales Workers (04)                               90            0            90           0         3.80           3.46
 Office/Clerical Workers (05)                    112            2         110         1.79          6.37           5.84
 Craft Workers (06)                               16            0            16           0         3.27           2.52
 Operatives (07)                                  52            4            48       7.69          4.50           3.99
 Laborers (08)                                    30            1            29       3.33          3.80           3.24
 Service Workers (09)*                             -            -             -            -            n/a            n/a




                                      1998 West Cargill Salaried Workforce                              Census
                                                                      Non-                       1990           2000
                                        Total           African      African       African      African        African
      EEO-1 Job Category              Employees        American     American      American     American       American
                                           (#)            (#)          (#)          (%)           (%)            (%)
 Officials and Managers (01)                     111            2         109         1.80          3.03           3.17
 Professionals (02)                              287            1         286         0.35          3.82           3.60
 Technicians (03)                                 17            1            16       5.88          4.39           5.08
 Sales Workers (04)                               80            0            80           0         3.80           3.46
 Office/Clerical Workers (05)                     96            1            95       1.04          6.37           5.84
 Craft Workers (06)                               20            0            20           0         3.27           2.52
 Operatives (07)                                  46            3            43       6.52          4.50           3.99
 Laborers (08)                                    36            1            35       2.78          3.80           3.24
 Service Workers (09)*                             -            -             -            -            n/a            n/a

* There were no workers in the category in this year; a row of all hyphens indicates no relevant records.




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                                      1999 West Cargill Salaried Workforce                              Census
                                                                      Non-                       1990           2000
                                        Total           African      African       African      African        African
      EEO-1 Job Category              Employees        American     American      American     American       American
                                           (#)            (#)          (#)          (%)           (%)            (%)
 Officials and Managers (01)                     122            4         118         3.28          3.03           3.17
 Professionals (02)                              301            2         299         0.66          3.82           3.60
 Technicians (03)                                 17            1            16       5.88          4.39           5.08
 Sales Workers (04)                               92            0            92           0         3.80           3.46
 Office/Clerical Workers (05)                    104            0         104             0         6.37           5.84
 Craft Workers (06)                               49            2            47       4.08          3.27           2.52
 Operatives (07)                                  87            3            84       3.45          4.50           3.99
 Laborers (08)                                    40            2            38       5.00          3.80           3.24
 Service Workers (09)*                             -            -             -            -            n/a            n/a



                                      2000 West Cargill Salaried Workforce                              Census
                                                                      Non-                       1990           2000
                                        Total           African      African       African      African        African
      EEO-1 Job Category              Employees        American     American      American     American       American
                                           (#)            (#)          (#)          (%)           (%)            (%)
 Officials and Managers (01)                     126            3         123         2.38          3.03           3.17
 Professionals (02)                              271            2         269         0.74          3.82           3.60
 Technicians (03)                                 32            2            30       6.25          4.39           5.08
 Sales Workers (04)                              104            0         104             0         3.80           3.46
 Office/Clerical Workers (05)                     95            0            95           0         6.37           5.84
 Craft Workers (06)                               43            1            42       2.33          3.27           2.52
 Operatives (07)                                 101            7            94       6.93          4.50           3.99
 Laborers (08)                                    27            0            27           0         3.80           3.24
 Service Workers (09)*                             -            -             -            -            n/a            n/a

* There were no workers in the category in this year; a row of all hyphens indicates no relevant records.




                                                       Appendix A
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                                      2001 West Cargill Salaried Workforce                              Census
                                                                      Non-                       1990           2000
                                        Total           African      African       African      African        African
      EEO-1 Job Category              Employees        American     American      American     American       American
                                           (#)            (#)          (#)          (%)           (%)            (%)
 Officials and Managers (01)                     124            2         122         1.61          3.03           3.17
 Professionals (02)                              250            1         249         0.40          3.82           3.60
 Technicians (03)                                 29            2            27       6.90          4.39           5.08
 Sales Workers (04)                              108            0         108             0         3.80           3.46
 Office/Clerical Workers (05)                     94            1            93       1.06          6.37           5.84
 Craft Workers (06)                               49            1            48       2.04          3.27           2.52
 Operatives (07)                                 101            7            94       6.93          4.50           3.99
 Laborers (08)                                    28            1            27       3.57          3.80           3.24
 Service Workers (09)*                             -            -             -            -            n/a            n/a




                                      2002 West Cargill Salaried Workforce                              Census
                                                                      Non-                       1990           2000
                                        Total           African      African       African      African        African
      EEO-1 Job Category              Employees        American     American      American     American       American
                                           (#)            (#)          (#)          (%)           (%)            (%)
 Officials and Managers (01)                     112            2         110         1.79          3.03           3.17
 Professionals (02)                              237            0         237             0         3.82           3.60
 Technicians (03)                                 27            1            26       3.70          4.39           5.08
 Sales Workers (04)                              117            0         117             0         3.80           3.46
 Office/Clerical Workers (05)                     83            1            82       1.20          6.37           5.84
 Craft Workers (06)                               46            2            44       4.35          3.27           2.52
 Operatives (07)                                  88            5            83       5.68          4.50           3.99
 Laborers (08)                                    23            1            22       4.35          3.80           3.24
 Service Workers (09)*                             -            -             -            -            n/a            n/a




* There were no workers in the category in this year; a row of all hyphens indicates no relevant records.




                                                       Appendix A
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           Appendix B – African American vs. Caucasian Employees Analysis
                                    1997-2003




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   Section II: Performance Management Process (PMP)

                           TABLES 2.1 - 2.6: PMP RATINGS


                              Table 2.1 Overall Summary

                                            No. of African
                    Total Employees          Americans            S.D.s
                         64,216                 2,225             (9.84)




                                   Table 2.2 By Year

                                                  Total African
                Year      Total Employees          Americans               S.D.s
                1995              5,964               202                  (2.83)
                1996              6,709               213                  (2.41)
                1997              7,505               242                  (1.82)
                1998              7,771               283                  (2.69)
                1999              7,873               295                  (1.43)
                2000              8,339               310                  (4.37)
                2001              9,667               324                  (5.63)
                2002             10,388               356                  (5.00)



                              Table 2.3 By Rating System

    Rating System       Total Employees            Total African Americans              S.D.s
        Letter                  58,266                          1,963                   (9.61)
       Number                    5,950                            262                   (2.29)




                               Table 2.4 By FLSA status

          FLSA         Total Employees         Total African Americans              S.D.s
         Exempt              49,720                          1,528                  (9.54)
       Non-exempt            14,496                            697                  (3.16)




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                                                       Table 2.5 By Job Group

   Job Group                                                                  Total Employees      Total African Americans        S.D.s
  02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                                  7,779                     353                 (5.89)
  02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)                                 2,386                      75                 (3.60)
  __ 11 MANAGEMENT ll                                                                 849                      28                 (3.20)
  02 O INFORMATION SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                           2,400                      56                 (2.93)
  01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                                    4,564                     142                 (2.82)
  02 X OTHER SPECIALISTS (PG 1-10)                                                  1,165                      39                 (2.58)
  02 OTHER SPECIALIST (PG 1-10)                                                     1,988                      37                 (2.52)
  02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                                          845                      15                 (2.40)
  01 C GENERAL MANAGEMENT (PG 9-15)                                                   628                      11                 (2.40)
  02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                                    3,753                     233                 (2.23)
  05 N3 SKILLED CLERICAL 1-4                                                        1,296                      95                 (2.21)
  01 N INFO SYSTEMS MANAGEMENT (PG 11+)                                             1,217                      26                 (2.17)
  02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                                    1,352                      51                 (2.12)
  08 N6 LABORERS                                                                      174                      10                 (2.11)
  01 S TRAFFIC, TRANS & LOGISTICS MANAGEMENT (PG 11+)                                 308                      11                 (2.11)
  02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                                    1,110                      51                 (1.86)
  06 N4 CRAFTS                                                                        555                      26                 (1.74)
  05 N1 SKILLED CLERICAL 5-7                                                        3,101                     120                 (1.63)
  05 NY ACCOUNTANTS 6-7                                                               750                      18                 (1.41)
  02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                                      507                      19                 (1.40)
  05 NV SECRETARIES 2-5                                                               888                      44                 (1.39)
  01 K ACCOUNTING MANAGEMENT (PG 10+)                                               1,561                      28                 (1.16)
  02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                                    1,019                      57                 (1.03)
  01 XX-8595 PAINTING & DECORATING OCC                                                269                      11                 (1.00)
  07 N5 OPERATIVES                                                                  2,786                     137                 (0.88)
  03 NR TECHNICAL SUPPORT                                                           1,172                      52                 (0.81)
  04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                                       1,586                      17                 (0.76)
  05 NZ ACCOUNTANTS 2-5                                                             2,051                     119                 (0.42)
  __ 41 SALES BELOW 10                                                                361                       3                 (0.40)
  04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                                      4,482                      68                 (0.25)
  __ 12 MANAGEMENT lll                                                                753                      27                 (0.23)
  03 NT COMPUTER OPERATIONS                                                           394                      53                 (0.19)
  05 NU SECRETARIES 6-7                                                             1,182                      13                 (0.16)
  02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                                   1,843                      43                 (0.02)
  01 H MERCHANDISING MANAGEMENT (PG 11+)                                            1,023                      26                  0.22
  01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                                  1,262                      34                  0.25
  01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                                    1,260                      27                  0.28
  09 N7 SERVICE WORKERS                                                               119                       9                  0.29
  01 U SALES MANAGEMENT (PG 11+)                                                    1,560                      23                  0.80
  __ 21 GENERAL PROFESSIONALS                                                         306                       2                  2.42
An additional 15 job groups have insufficient data to calculate a number of
                                                                                 Highlighted lines have 50 or more African Americans
    S.D.s.




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                             Table 2.6 By Division

                                   Total No. of      Total No. of African
   Division                        Employees             Americans             S.D.s
   07420-EXCEL BEEF                    2,078                  62               (4.89)
   07515-ADMIN                         4,051                  83               (4.12)
   00512-CORN MLG                      4,232                 215               (3.57)
   07115-HORIZMILL                         948                56               (3.48)
   07500-SSC                               280                19               (2.96)
   00535-HOHENBERG                         138                49               (2.70)
   07135-SWEETNRNA                     2,437                 149               (2.69)
   00505-ADMIN                         3,567                  86               (2.63)
   07510-WIRE                              150                13               (2.58)
   00533-CIS                           1,169                 106               (2.51)
   07465-PHOSPHPROD                        947                61               (2.49)
   07295-CIS                               732                85               (2.31)
   00518-DRY MLG                       1,506                 100               (2.24)
   07010-AGHORIZUS                     1,514                  24               (2.15)
   07495-NSS                           1,780                  57               (2.05)
   00073-COFFEE                            144                26               (1.98)
   07968-MEAT SOL                      1,092                   8               (1.80)
   00513-OILSEEDS                      1,183                  58               (1.78)
   00523-CSW                               550                30               (1.61)
   00510-CCI                               134                 8               (1.41)
   07080-WILBUR                            229                 3               (1.38)
   07370-CGLCITRPUR                        191                 8               (1.37)
   07105-ARO                                87                 6               (1.34)
   07430-EXCEL PORK                        702                13               (1.33)
   00036-WWJFV                             228                15               (1.28)
   07415-EMMPAK                            418                14               (1.25)
   07245-HEA/FDTECH                        237                 4               (1.16)
   07120-DSONA                             359                22               (1.11)
   07475-FERTDISTR                         286                 5               (1.09)
   00539-EXCEL                         5,596                 129               (1.07)
   07480-DEICTECHN                         494                15               (1.06)
   00516-FOOD SECTR                         94                 6               (1.05)
   07110-US PNUTS                           14                 3               (1.00)
   00405-PEANUTS                            77                16               (0.99)
   07070-TURKPROD                      1,202                  34               (0.95)
   07025-CAN                           2,107                  25               (0.76)
   00108-WILBR CHOC                        181                 4               (0.73)
   07440-EXCELCR                           263                20               (0.62)




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                                                    Table 2.6 Cont’d
                                                      Total No. of           Total No. of African
   Division                                           Employees                  Americans                 S.D.s
   00550-PPD                                               1,504                       11                  (0.61)
   07220-VIT E                                                  31                       1                 (0.58)
   00532-FMG                                               1,124                       15                  (0.53)
   07405-WWCOTTON                                              191                     36                  (0.46)
   00034-FERTILIZER                                        1,574                       69                  (0.29)
   00503-AN NUTR DV                                        3,621                       32                      0.05
   07325-GOSCNA                                            1,231                       77                      0.07
   07125-DRYCORNING                                            249                       6                     0.17
   00507-SALT                                              1,920                       64                      0.19
   00508-SEED                                              1,067                         4                     0.38
   00106-NAG/AGM                                               145                       4                     0.50
   00001-NAG                                               3,001                      103                      0.90
   00538-NSS                                               1,777                       57                      1.19
   07485-SALT                                              1,238                       62                      1.26
   07060-SUNFRFDS                                              329                       4                     1.41
    An additional 57 divisions have insufficient
                                                         Highlighted lines have 50 or more African Americans
    data to calculate a number of S.D.s.




                                    Table 2.7 By Education and Service

   Education Level                  Total Employees                  Total African Americans              S.D.s
      Advance degree                       4,829                                126                       (2.13)
      College                             25,226                                634                       (5.10)
      Less than college                    3,884                                119                       (2.05)
      None recorded                       30,277                              1,346                       (7.91)
   Service                          Total Employees                  Total African Americans              S.D.s
      1st quartile                         11,017                               409                       (3.16)
      2nd quartile                         17,475                               539                       (5.47)
      3rd quartile                         17,655                               540                       (5.02)
      4th quartile                         18,069                               737                       (5.67)




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   Section III. Promotions

                              TABLES 3.1 – 3.5: PROMOTIONS

                                 Table 3.1 Overall Summary

                                      African           Expected
           Total       Total No.     Americans           African
         Employees     Promoted      Promoted           Americans     Shortfall   S.D.s
          205,980       11,665          382              463.18        (81.18)    (4.96)



                                     Table 3.2 By Year

                                 Total      Afr Amer
         Year        Total     Promoted     Promoted    Expected    Difference    S.D.s
       Jun 1995       9,618         378            18     21.39        (3.39)     (0.97)
       Dec 1995      10,728         761            21     24.89        (3.89)     (0.87)
       Jun 1996      10,979         694            21     27.17        (6.17)     (1.45)
       Dec 1996      11,216         697            25     26.80        (1.80)     (0.35)
       Jun 1997      11,800         758            28     32.49        (4.49)     (0.96)
       Dec 1997      12,620         857            27     34.90        (7.90)     (1.66)
       Jun 1998      12,604         794            28     29.07        (1.07)     (0.13)
       Dec 1998      12,412         846            27     31.85        (4.85)     (0.97)
       Jun 1999      12,704         857            30     29.09         0.91       0.09
       Dec 1999      13,141         979            23     38.31       (15.31)     (3.10)
       Jun 2000      12,899         954            25     36.08       (11.08)     (2.26)
       Dec 2000      12,545         690            24     27.52        (3.52)     (0.76)
       Jun 2001      12,397         640            19     26.84        (7.84)     (1.87)
       Dec 2001      12,188         532            17     24.54        (7.54)     (2.02)
       Jun 2002      12,658         564            23     26.98        (3.98)     (0.93)
       Dec 2002      12,590         441            15     16.42        (1.42)     (0.31)
       Jun 2003      12,881         223            11      8.83         2.17       0.76




                                 Table 3.3 By FLSA Status

                                  Total      Afr Amer
           FLSA       Total     Promoted     Promoted    Expected    Difference    S.D.s
          Exempt     139,562        8,671         246    297.70       (51.70)      (3.89)
        Non-exempt    66,418        2,994         136    165.48       (29.48)      (3.02)




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                                                  Table 3.4 By Job Group

                                                                          Total  Afr Amer
   Job Group                                               Total        Promoted Promoted Expected    Difference   S.D.s
05 NZ ACCOUNTANTS 2-5                                           9,269         439      16    27.60      (11.60)    (2.92)
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                  4,837         625       8    16.85       (8.85)    (2.52)
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)             21,264         1,124      29    43.13      (14.13)    (2.49)
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)               10,518           830      38    50.95      (12.95)    (2.21)
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                      2,262         223       1      4.54      (3.54)    (2.11)
02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)               7,161         567      11    17.87       (6.87)    (1.75)
03 NR TECHNICAL SUPPORT                                         4,892         315       8    12.05       (4.05)    (1.33)
05 N3 SKILLED CLERICAL 1-4                                      5,862         268      14    18.64       (4.64)    (1.28)
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                 5,006         422      13    16.81       (3.81)    (1.26)
01 XX-8595 PAINTING & DECORATING OCC                             671           20       1      2.69      (1.69)    (1.17)
05 N1 SKILLED CLERICAL 5-7                                   10,874           555      16    20.64       (4.64)    (1.12)
__ 11 MANAGEMENT ll                                             1,878          77       1      2.81      (1.81)    (1.06)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                  1,803         229       7      9.73      (2.73)    (1.01)
01 K ACCOUNTING MANAGEMENT (PG 10+)                             4,379         236       4      6.21      (2.21)    (0.93)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                  3,195         406      16    19.00       (3.00)    (0.91)
06 N4 CRAFTS                                                    3,775          93       6      8.08      (2.08)    (0.86)
09 N7 SERVICE WORKERS                                            407           14       0      1.15      (1.15)    (0.79)
01 H MERCHANDISING MANAGEMENT (PG 11+)                          2,877         147       4      5.22      (1.22)    (0.46)
07 N5 OPERATIVES                                             15,716           542      33    35.77       (2.77)    (0.46)
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                  3,327         234       6      7.22      (1.22)    (0.37)
08 N6 LABORERS                                                  4,017         148      15    16.48       (1.48)    (0.34)
05 NV SECRETARIES 2-5                                           3,475         220       5      6.18      (1.18)    (0.34)
02 X OTHER SPECIALISTS (PG 1-10)                                3,338         190       7      7.74      (0.74)    (0.10)
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                     5,003         293       6      6.58      (0.58)    (0.04)
__ 20 FINANCIAL PROFESSIONALS                                    433           42       2      2.11      (0.11)    0.00
__ 21 GENERAL PROFESSIONALS                                      741           37       1      0.54      0.46      0.00
__ 41 SALES BELOW 10                                             790          114       3      3.34      (0.34)    0.00
__ CS {Unknown Job Group}                                        165           16       1      0.50      0.50      0.00
01 A GENERAL MANAGEMENT III (PG 18+)                             131           10       1      0.70      0.30      0.00
01 B GENERAL MANAGEMENT ll (PG 9-17)                             417           31       1      0.76      0.24      0.00
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                           3,482         176       4      3.94      0.06      0.00
01 S TRAFFIC, TRANS & LOGISTICS MANAGEMENT (PG 11+)              813           28       1      1.00      0.00      0.00
02 O INFORMATION SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)         6,539         366      10    10.23       (0.23)    0.00
05 NY ACCOUNTANTS 6-7                                           2,773         151       9      8.35      0.65      0.09
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)               12,355           560      19    18.18       0.82      0.09
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                 12,123           463       8      7.11      0.89      0.17
__ 12 MANAGEMENT lll                                            1,449         101       6      4.88      1.12      0.32
02 OTHER SPECIALIST (PG 1-10)                                   6,393         336       6      4.84      1.16      0.46
01 U SALES MANAGEMENT (PG 11+)                                  4,335         147       3      2.06      0.94      0.47
05 NU SECRETARIES 6-7                                           4,049         168       2      0.97      1.03      0.57
__ 30 TECHNICIANS                                                169           14       1      0.25      0.75      0.58
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                  3,625         152       6      4.00      2.00      0.91




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                                                         Table 3.4 Cont’d
                                                                                   Total       Afr Amer
    Job Group                                                    Total           Promoted      Promoted Expected Difference                 S.D.s
03 NT COMPUTER OPERATIONS                                                1,189            78         12         9.59             2.41            1.30
01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                         3,449           246         17        13.42             3.58            1.37
01 C GENERAL MANAGEMENT (PG 9-15)                                        1,687            97             4      2.50             1.50            1.66
                                                                                                             Highlighted lines have 20 or more
An additional 11 job groups have insufficient data to calculate a number of S.D.s.
                                                                                                               expected African Americans



                                                  Table 3.5 By Division

                                                         Total              Afr Amer
     Division                             Total        Promoted             Promoted           Expected         Difference              S.D.s
  00512-CORN MLG                          14,319             1,462                 54            75.28                 (21.28)          (3.12)
  00513-OILSEEDS                           7,186               410                   9           19.25                 (10.25)          (2.85)
  07120-DSONA                              2,737               115                   7           13.07                  (6.07)          (2.14)
  00507-SALT                               5,161               287                   3            8.19                  (5.19)          (1.90)
  00538-NSS                                7,779               422                   9           13.38                  (4.38)          (1.27)
  00001-NAG                               16,071             1,092                 45            52.21                  (7.21)          (1.14)
  07105-ARO                                  345                14                   0            1.72                  (1.72)          (1.13)
  00539-EXCEL                             13,670               964                 25            30.33                  (5.33)          (1.06)
  00518-DRY MLG                            5,789               388                 20            23.93                  (3.93)          (0.99)
  07440-EXCELCR                              655                37                   1            2.35                  (1.35)          (0.93)
  07290-VALUEINV                             315                21                   0            1.00                  (1.00)          (0.87)
  00516-FOOD SECTR                           416                59                   1            2.50                  (1.50)          (0.74)
  00523-CSW                                1,848                73                   4            5.37                  (1.37)          (0.71)
  07135-SWEETNRNA                          7,122               339                 17            19.69                  (2.69)          (0.67)
  07515-ADMIN                              9,164               418                   7            9.19                  (2.19)          (0.63)
  07968-MEAT SOL                           2,467               138                   1            2.11                  (1.11)          (0.52)
  07245-HEA/FDTECH                           637                39                   1            1.78                  (0.78)          (0.49)
  07420-EXCEL BEEF                         3,688               218                   4            5.44                  (1.44)          (0.46)
  00036-WWJFV                                987                64                   1            1.83                  (0.83)          (0.43)
  07115-HORIZMILL                          2,288               117                   9           10.49                  (1.49)          (0.41)
  07010-AGHORIZUS                          7,042               167                   1            1.87                  (0.87)          (0.30)
  00532-FMG                                3,663               381                   3            3.99                  (0.99)          (0.28)
  00503-AN NUTR DV                         9,588               313                   1            1.78                  (0.78)          (0.24)
  07500-SSC                                  543                10                   0            0.60                  (0.60)          (0.20)
  07070-TURKPROD                           3,594               166                   2            2.78                  (0.78)          (0.19)
  00505-ADMIN                             13,452             1,099                 31            32.21                  (1.21)          (0.16)
  07415-EMMPAK                             1,209                36                   1            1.59                  (0.59)          (0.13)




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                                                      Table 3.5 Cont’d
                                                          Total           Afr Amer
   Division                               Total         Promoted          Promoted         Expected        Difference          S.D.s
   00535-HOHENBERG                          1,081                 31                   5      5.65              (0.65)         (0.10)
   07025-CAN                                5,785               192                    1      1.60              (0.60)         (0.10)
   07220-VIT E                                 77                 10                   0      0.55              (0.55)         (0.08)
   07325-GOSCNA                             5,160               195               26        26.76               (0.76)         (0.07)
   00015-WGTG-LA                              261                 27                   1      0.67              0.33           0.00
   00047-ROGERS                               232                 11                   0      0.25              (0.25)         0.00
   00073-COFFEE                               359                 21                   1      1.50              (0.50)         0.00
   00108-WILBR CHOC                           863                 20                   0      0.33              (0.33)         0.00
   00405-PEANUTS                              922                 20                   3      2.52              0.48           0.00
   00510-CCI                                  437                 14                   0      0.50              (0.50)         0.00
   00530-WILLKNIGHT                         1,539                 77                   1      0.63              0.37           0.00
   00531-AFL                                  874                 55                   5      4.63              0.37           0.00
   00533-CIS                                2,802               206               18        17.99               0.01           0.00
   00537-SILENT KNIGHT                        193                  5                   1      1.10              (0.10)         0.00
   00546-CGL ENERGY                           996                 76                   3      3.50              (0.50)         0.00
   07090-FDPHARMNAM                           326                  5                   0      0.25              (0.25)         0.00
   07100-SOYPROTSOL                           311                 19                   0      0.05              (0.05)         0.00
   07110-US PNUTS                              83                  2                   0      0.50              (0.50)         0.00
   07295-CIS                                1,810                 47                   7      6.55              0.45           0.00
   07370-CGLCITRPUR                           535                 33                   2      2.14              (0.14)         0.00
   07405-WWCOTTON                             586                 18                   3      3.05              (0.05)         0.00
   07443-TAYLOR BEEF                          166                 1                    0      0.10              (0.10)         0.00
   07475-FERTDISTR                            704                 43                   0      0.25              (0.25)         0.00
   07495-NSS                                4,521               162                    7      7.41              (0.41)         0.00
   07480-DEICTECHN                          1,241                 52                   1      0.49              0.51           0.02
   00034-FERTILIZER                         4,459               213                    6      5.33              0.67           0.10
   07485-SALT                               3,129               126                    6      5.31              0.69           0.11
   07465-PHOSPHPROD                         2,396                 92                   7      5.70              1.30           0.43
   07963-ALLIANT                              100                  9                   1      0.25              0.75           0.58
   00550-PPD                                5,374               309                    8      5.81              2.19           0.93
   00511-BIOSCIENCES                          619                 47                   1      0.15              0.86           0.99
   00106-NAG/AGM                              590                 42                   4      2.50              1.50           1.04
   07430-EXCEL PORK                         1,690                 76                   3      1.25              1.75           1.33
                                                                                           Highlighted lines have 20 or more
   An additional 55 divisions have insufficient data to calculate a number of S.D.s.
                                                                                             expected African Americans




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                        Table 3.6 By Education Level and Service

                                   Total     Afr Amer
  Education Level       Total    Promoted    Promoted   Expected   Difference     S.D.s
    Advance degree        13,547      925          38      40.03      (2.03)     (0.42)
    College               75,489    6,251         164     194.52    (30.52)      (2.79)
    Less than college     12,435      598          15      18.28      (3.28)     (1.10)
    None recorded        104,509    3,891         165     210.35    (45.35)      (3.95)
                                    Total    Afr Amer
  Service               Total     Promoted   Promoted   Expected Difference      S.D.s
     1st quartile        51,346     4,356         140     199.68    (59.68)      (5.61)
     2nd quartile        50,872     3,612         114     124.07    (10.07)      (1.12)
     3rd quartile        50,516     2,437          89      85.24      3.76        0.47
     4th quartile        53,246     1,260          39      54.19    (15.19)      (2.57)




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        Section IV. Pay Progression

                                 TABLES 4.1-4.5: PAY PROGRESSION


                                          Table 4.1 Overall Summary

             Total   Total African Avg Afr Amer Diff Afr Amer v.
           Employees Americans         Pay             Non                      Weighted Diff       S.D.s
            79,730      3,403       $2,287.44         ($326.83)                  ($902,051.20)      (5.21)



                                              Table 4.2 By Year

                               Total
                Total         African        Avg Afr          Diff Afr Amer
      Year    Employees      Americans      Amer Pay             v. Cauc         Weighted Diff            S.D.s
      1995         8,029            338     $1,935.47           ($168.32)         ($44,100.70)            (0.96)
      1996         9,309            373     $1,985.58           ($191.49)         ($57,828.66)            (1.83)
      1997         9,601            393     $2,179.97             ($5.93)          ($1,785.88)            (1.07)
      1998       10,331             415     $2,650.68           ($646.59)        ($215,315.78)            (2.14)
      1999       10,614             455     $2,696.58           ($390.96)        ($148,955.10)            (1.85)
      2000       10,801             484     $2,561.57           ($548.80)        ($220,067.79)            (2.22)
      2001       10,440             460     $2,195.98            ($62.39)         ($24,081.10)            (1.22)
      2002       10,605             485     $1,942.93           ($482.02)        ($189,916.19)            (3.18)



                                             Table 4.3 By FLSA

                                 Total
                     Total      African        Avg Afr        Diff Afr Amer
     FLSA          Employees   Americans      Amer Pay           v. Cauc         Weighted Diff              S.D.s
    Exempt            54,257        1,817     $3,049.65         ($318.57)        ($473,707.72)              (2.87)
  Non-exempt          25,473        1,586     $1,397.10         ($336.48)        ($428,343.48)              (4.59)



                                           Table 4.4 By Job Group

                                                                        Total                Diff Afr
                                                          Total          Afr     Avg Afr     Amer v.         Weighted
  Job Group                                             Employees       Amer    Amer Pay      Cauc             Diff        S.D.s
__ 11 MANAGEMENT ll                                               813      26   $1,516.67   ($1,475.24)     ($35,405.83)   (3.06)
07 N5 OPERATIVES                                                5,627     428   $1,109.21   ($370.42)      ($147,427.05)   (2.72)
05 N3 SKILLED CLERICAL 1-4                                      2,326     201    $920.57    ($474.61)       ($65,971.18)   (2.54)
02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)               2,656      74   $2,381.54   ($769.70)       ($50,030.66)   (2.51)
05 NV SECRETARIES 2-5                                           1,418      67   $1,217.19   ($484.78)       ($25,208.73)   (2.45)
09 N7 SERVICE WORKERS                                             168      13    $402.00    ($1,034.24)      ($6,205.43)   (2.08)




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                                                              Table 4.4 Cont’d
                                                                                       Total                   Diff Afr
                                                                       Total            Afr      Avg Afr       Amer v.       Weighted
   Job Group                                                         Employees         Amer     Amer Pay        Cauc           Diff         S.D.s
08 N6 LABORERS                                                             1,211         130      $1,269.14     ($636.33)    ($67,451.24)   (2.07)
01 K ACCOUNTING MANAGEMENT (PG 10+)                                        1,746           31     $5,584.62   ($2,419.47)    ($62,906.19)   (2.01)
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                             1,835           61     $4,884.52   ($1,083.80)    ($45,519.75)   (1.79)
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                           8,234         426      $2,367.63     ($223.49)    ($86,041.91)   (1.76)
01 B GENERAL MANAGEMENT ll (PG 9-17)                                         162            2     $1,500.00   ($3,500.00)     ($7,000.00)   (1.58)
05 N1 SKILLED CLERICAL 5-7                                                 4,356         161      $1,526.58     ($278.45)    ($41,210.16)   (1.42)
01 C GENERAL MANAGEMENT (PG 9-15)                                            636           12     $1,000.00   ($1,059.20)     ($5,295.98)   (1.40)
01 H MERCHANDISING MANAGEMENT (PG 11+)                                     1,142           34     $3,972.22   ($4,062.82)    ($73,130.78)   (1.31)
02 O INFORMATION SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                    2,542           64     $4,502.08     ($831.98)    ($39,935.09)   (1.24)
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                             5,114         149      $3,228.34     ($268.26)    ($37,556.97)   (1.22)
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                            1,963           55     $3,259.46   ($1,373.10)    ($50,804.54)   (0.92)
05 NU SECRETARIES 6-7                                                      1,649           25     $2,193.49      $212.25       $3,395.93    (0.85)
01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                           1,370           44     $5,238.10       $42.41        $890.60     (0.83)
05 NZ ACCOUNTANTS 2-5                                                      3,727         225      $1,355.45      ($54.04)     ($9,402.48)   (0.80)
__ 41 SALES BELOW 10                                                         303            2     $2,250.00   ($1,430.95)     ($2,861.90)   (0.79)
01 U SALES MANAGEMENT (PG 11+)                                             1,604           19     $2,937.50     ($858.26)    ($13,732.14)   (0.79)
02 X OTHER SPECIALISTS (PG 1-10)                                           1,284           45     $6,248.28     ($448.81)    ($13,015.55)   (0.76)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                             1,242           63     $3,508.82     ($352.78)    ($11,994.50)   (0.64)
05 NY ACCOUNTANTS 6-7                                                      1,127           37     $1,484.05     ($373.92)     ($7,852.42)   (0.57)
03 NR TECHNICAL SUPPORT                                                    1,948         101      $2,588.96     ($162.65)    ($13,824.95)   (0.43)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                               785           24     $3,888.89     ($262.53)     ($4,725.52)   (0.39)
02 OTHER SPECIALIST (PG 1-10)                                                825           18     $2,940.00   ($1,295.56)    ($19,433.33)   (0.37)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                               4,667           72     $4,207.90     ($599.85)    ($41,389.90)   (0.31)
06 N4 CRAFTS                                                               1,400         129      $1,701.74      ($84.05)     ($7,144.52)   (0.17)
03 NT COMPUTER OPERATIONS                                                    451           67     $2,664.85   ($1,182.03)    ($47,281.22)   (0.08)
01 Q RESEARCH MANAGEMENT (PG 11+)                                            727            9     $6,250.00   ($1,250.00)     ($2,500.00)   0.00
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                             1,275           70     $2,844.73      $366.10     $17,938.91     0.09
01 S TRAFFIC, TRANS & LOGISTICS MANAGEMENT (PG 11+)                          316           10     $6,000.00     ($500.00)     ($3,000.00)   0.18
__ 30 TECHNICIANS                                                                87         2     $2,750.00      $712.50       $1,425.00    0.31
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                                1,665           23     $3,033.33      ($32.24)       ($483.58)   0.36
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                                      1,330           25     $6,714.29      $999.39     $13,991.45     0.41
__ 21 GENERAL PROFESSIONALS                                                  325            3     $2,083.33      $385.04       $1,155.12    0.75
01 XX-8595 PAINTING & DECORATING OCC                                         187            9     $4,055.56   ($1,439.54)    ($12,955.82)   0.79
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                             3,995         325      $2,120.48      $129.37     $36,871.19     0.97
__ 20 FINANCIAL PROFESSIONALS                                                202            1     $8,000.00    $3,500.00       $3,500.00    1.00
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                             1,453           36     $5,227.27    $1,767.05     $58,312.72     1.05
02 OTHER SPECIALIST (PG 1-10)                                              2,421           40     $3,236.09      ($72.96)     ($2,334.78)   1.18
__ 12 MANAGEMENT lll                                                         752           42     $1,917.07      $182.97       $7,501.97    1.36
01 A GENERAL MANAGEMENT III (PG 18+)                                             60         2     $7,000.00    $7,000.00     $14,000.00     1.41
An additional 11 job groups have insufficient data to calculate a
                                                                                      Highlighted lines have 50 or more African Americans
number of S.D.s.




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                                     Table 4.4 By Division

                      Total           Total African   Avg Afr       Diff Afr Amer
 Division                                                                           Weighted Diff   S.D.s
                    Employees          Americans      Amer Pay      v. Cauc
 00512-CORN MLG           6,700                349    $2,815.30     ($669.56)       ($202,206.06)   (3.13)
 00518-DRY MLG            2,748                179    $1,408.50     ($453.90)       ($66,268.88)    (2.65)
 07440-EXCELCR              155                  13   $1,850.00     ($1,831.99)     ($14,655.95)    (2.43)
 07135-SWEETNRNA          1,891                103    $2,412.22     ($332.08)       ($27,894.72)    (2.39)
 00533-CIS                1,378                148    $3,160.83     ($1,285.23)     ($111,814.84)   (2.22)
 07115-HORIZMILL            625                  49   $1,245.81     ($370.44)       ($15,558.69)    (2.13)
 00036-WWJFV                495                  24   $1,826.60     ($400.16)       ($8,003.16)     (2.02)
 00001-NAG                7,019                319    $2,111.42     ($189.72)       ($56,915.19)    (1.92)
 07290-VALUEINV                 94                3   $3,000.00     ($2,325.00)     ($4,650.00)     (1.63)
 07010-AGHORIZUS          1,941                  33   $986.72       ($337.65)       ($11,142.39)    (1.48)
 00523-CSW                  900                  64   $1,502.17     ($444.33)       ($20,439.09)    (1.37)
 00034-FERTILIZER         2,416                102    $2,476.33     ($252.92)       ($21,245.65)    (1.35)
 07475-FERTDISTR            180                   3   $0.00         ($4,500.00)     ($4,500.00)     (1.34)
 07420-EXCEL BEEF         1,067                  43   $1,397.56     ($621.48)       ($25,480.66)    (1.31)
 07370-CGLCITRPUR           139                   6   $2,689.67     ($788.11)       ($4,728.67)     (1.25)
 07500-SSC                  174                  14   $1,180.00     ($530.00)       ($5,300.00)     (1.12)
 00507-SALT               2,533                  97   $2,366.21     ($743.12)       ($64,651.71)    (1.10)
 07080-WILBUR               181                   2   $2,250.00     ($191.67)       ($383.33)       (1.08)
 07120-DSONA                487                  54   $1,507.20     ($773.45)       ($36,352.35)    (1.00)
 00013-MOLASSES             235                   4   $2,800.00     ($3,200.00)     ($6,400.00)     (1.00)
 00516-FOOD SECTR           182                   9   $7,537.49     ($863.52)       ($6,908.12)     (0.98)
 00505-ADMIN              6,124                132    $4,268.32     ($782.30)       ($97,787.92)    (0.98)
 07968-MEAT SOL             750                   5   $2,875.00     ($725.00)       ($2,900.00)     (0.95)
 00108-WILBR CHOC           474                  10   $1,137.78     ($309.61)       ($2,786.48)     (0.81)
 07515-ADMIN              2,685                  58   $2,720.47     ($710.61)       ($39,083.77)    (0.81)
 07325-GOSCNA             1,658                193    $1,874.21     ($298.07)       ($49,479.87)    (0.80)
 00530-WILLKNIGHT           647                   5   $1,308.00     $318.89         $1,275.55       (0.79)
 00510-CCI                  211                  19   $900.00       ($237.50)       ($2,850.00)     (0.78)
 07220-VIT E                    67                1   $3,000.00     ($1,214.29)     ($1,214.29)     (0.68)
 07110-US PNUTS                 28               12   $552.98       ($506.51)       ($2,026.04)     (0.63)
 00513-OILSEEDS           3,224                185    $1,840.88     ($516.16)       ($72,778.69)    (0.63)
 07485-SALT                 775                  41   $1,878.42     ($292.79)       ($11,125.89)    (0.56)
 00531-AFL                  178                  15   $2,131.33     ($450.31)       ($5,854.03)     (0.42)
 00538-NSS                4,119                173    $2,290.37     $79.13          $12,897.38      (0.42)
 07405-WWCOTTON             143                  26   $1,307.86     $13.57          $190.00         (0.42)
 07105-ARO                  308                  38   $1,726.61     ($350.84)       ($12,279.56)    (0.34)
 07430-EXCEL PORK           501                  10   $2,560.00     ($107.92)       ($1,079.16)     (0.29)
 07480-DEICTECHN            330                   9   $1,946.67     ($170.19)       ($1,531.69)     (0.27)
 00532-FMG                1,539                  20   $5,350.26     ($92.78)        ($1,762.84)     (0.18)
 07510-WIRE                     92               11   $1,625.00     ($145.83)       ($1,166.67)     (0.12)
 07070-TURKPROD             965                  38   $1,492.14     ($93.21)        ($3,168.97)     (0.10)
 07025-CAN                1,358                  22   $1,035.12     ($73.20)        ($1,317.57)     (0.07)
 00047-ROGERS               126                  21   $2,666.67     ($208.33)       ($1,250.00)     (0.04)
 07415-EMMPAK               253                  10   $1,433.31     ($127.89)       ($1,151.04)     0.07
 00539-EXCEL              5,915                165    $2,947.45     ($41.81)        ($6,564.50)     0.15



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                                                       Table 4.4 Cont’d

                                                      Total                           Diff Afr
                                   Total             African          Avg Afr         Amer v.         Weighted
 Division                        Employees          Americans        Amer Pay             Cauc          Diff             S.D.s
 00503-AN NUTR DV                          4,646               51    $1,272.44      ($58.78)         ($2,527.62)     0.23
 00535-HOHENBERG                            564               155    $980.51        $194.99          $16,964.04      0.34
 00106-NAG/AGM                              299                  8   $6,200.00      $1,400.00        $7,000.00       0.72
 00073-COFFEE                               162                30    $1,376.62      $534.95          $6,954.37       0.89
 00550-PPD                                 2,362               28    $2,218.80      $379.20          $9,480.08       0.90
 07465-PHOSPHPROD                           552                38    $6,181.48      $2,457.20        $66,344.28      0.90
 07245-HEA/FDTECH                           133                  2   $1,000.00      $500.00          $500.00         0.94
 07295-CIS                                  424                56    $3,305.86      ($629.98)        ($22,049.29)    1.00
 00546-CGL ENERGY                           419                  8   $6,250.00      $2,750.00        $2,750.00       1.00
 07060-SUNFRFDS                             229                  4   $4,000.00      $1,000.00        $2,000.00       1.00
 00511-BIOSCIENCES                          198                  3   $6,728.64      $2,446.10        $7,338.31       1.11
 07495-NSS                                 1,085               36    $2,658.00      $537.16          $17,189.00      1.18
 00405-PEANUTS                              436               111    $922.00        $6.58            $434.48         1.33
 00508-SEED                                1,320                 4   $2,333.33      $688.89          $2,066.67       1.34
 00015-WGTG-LA                              118                  3   $3,666.67      $1,266.67        $3,800.00       1.73
 An additional 47 divisions have insufficient data to calculate a number of          Highlighted lines have 50 or more African
      S.D.s.                                                                                         Americans




                                  Table 4.6 By Education Level and Service
                                                                               Diff Afr
                             Total         Total Afr        Avg Afr            Amer v.
Education Level            Employees        Amer           Amer Pay              Cauc          Weighted Diff         S.D.s
  Advance degree                5,193            153       $5,233.77          ($1,469.47)      ($113,149.19)         (2.11)
  College                      29,676            785       $3,807.31           ($289.52)       ($184,422.54)         (2.04)
  Less than college             5,065            172       $2,023.18           ($155.88)        ($12,158.36)         (1.28)
  None recorded                39,796         2,293        $1,690.69           ($300.98)       ($592,321.11)         (4.36)
                                                                               Diff Afr
                                           Total Afr         Avg Afr           Amer v.
Service                       Total         Amer            Amer Pay             Cauc          Weighted Diff         S.Ds
  1st quartile                 18,746            797       $2,812.95          ($681.57)        ($436,201.87)         (4.83)
  2nd quartile                 19,017            676       $2,468.84          ($540.44)        ($296,160.73)         (3.65)
  3rd quartile                 20,568            779       $2,346.75          ($169.57)        ($106,317.56)         (1.52)
  4th quartile                 21,399         1,151        $1,787.00           ($67.06)         ($63,371.05)         (0.87)




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                               TABLE 5.1-5.7: BONUS, AWARDS and INCENTIVES

                                                   Table 5.1 Overall Summary

                                Total
                      Total    African               Avg Afr      Diff Afr Amer
                    Employees Americans             Amer Pay         v. Cauc         Weighted Diff          S.D.s
                      62,739      2,661             $3,743.62       ($606.49)       ($1,361,568.12)       (10.37)



                                                           Table 5.2 By Year

                       Total   Total African               Avg Afr Amer Diff Afr Amer
                Year Employees Americans                       Pay         v. Cauc    Weighted Diff               S.D.s
                1995          997                  39          $617.12         $20.52             $656.61           0.35
                1996        6,452             217             $5,568.39      ($414.37)       ($77,072.90)         (3.96)
                1997        6,311             260             $5,879.49      ($693.18)     ($142,101.48)          (1.58)
                1998        7,179             312             $3,568.84      ($495.91)     ($128,440.97)          (3.30)
                1999        8,138             332             $3,147.49      ($351.32)     ($103,989.58)          (2.07)
                2000        8,527             391             $3,259.49      ($717.02)     ($242,351.24)          (6.05)
                2001        8,103             380             $3,214.87      ($716.59)     ($236,473.08)          (6.37)
                2002        8,864             413             $3,157.27      ($795.53)     ($275,252.07)          (3.67)
                2003        8,168             317             $4,081.63      ($618.75)     ($156,543.41)          (1.97)



                                                          Table 5.3 By FLSA

                             Total        Total African       Avg Afr Amer Diff Afr Amer
            FLSA           Employees       Americans              Pay         v. Cauc             Weighted Diff            S.D.s
            Exempt             45,139              1,456         $5,910.15          ($988.49)     ($1,178,283.06)          (7.76)
         Non-exempt            17,600              1,205         $1,291.10          ($174.06)      ($183,285.06)           (6.88)



                                                        Table 5.4 By Job Group

                                                                          Total                     Diff Afr
                                                               Total       Afr       Avg Afr        Amer v.           Weighted
  Job Group                                                  Employees    Amer      Amer Pay         Cauc               Diff        S.D.s
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                  7,599      380      $3,461.75       ($623.35)     ($215,680.02)   (5.93)
07 N5 OPERATIVES                                                  6,390      467      $1,169.08       ($188.31)      ($85,492.22)   (4.52)
02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)                 2,410       77      $2,571.54     ($1,394.42)      ($93,426.45)   (4.37)
05 NZ ACCOUNTANTS 2-5                                             1,601      114      $1,743.66       ($266.68)      ($22,401.09)   (3.74)
02 X OTHER SPECIALISTS (PG 1-10)                                  1,226       42     $11,272.56     ($5,407.17)     ($167,622.38)   (3.34)
01 K ACCOUNTING MANAGEMENT (PG 10+)                               1,619       23     $12,986.40     ($7,568.74)     ($151,374.80)   (2.71)




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                                                                     Table 5.4 Cont’d
                                                                                          Total                      Diff Afr
                                                                        Total              Afr       Avg Afr         Amer v.         Weighted
  Job Group                                                           Employees           Amer      Amer Pay          Cauc             Diff             S.D.s
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                                 1,401         31      $12,101.92      ($4,700.56)    ($112,813.55)       (2.68)
06 N4 CRAFTS                                                                   1,333         87       $1,179.44        ($319.51)     ($24,922.02)       (2.63)
03 NR TECHNICAL SUPPORT                                                        1,349         86       $1,407.22        ($143.24)     ($10,312.97)       (2.39)
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                                 4,912        154       $7,045.13        ($971.98)    ($140,936.62)       (2.34)
03 NT COMPUTER OPERATIONS                                                         128        31       $1,170.12        ($620.83)      ($6,208.25)       (2.03)
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                                          1,408         25       $9,948.06      ($2,978.51)     ($44,677.65)       (1.81)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                                    429        12       $1,531.32        ($536.72)      ($5,367.23)       (1.74)
08 N6 LABORERS                                                                 1,541        158         $665.81        ($140.21)     ($19,769.26)       (1.72)

09 N7 SERVICE WORKERS                                                             131         7         $923.67        ($846.90)      ($2,540.69)       (1.64)

01 A GENERAL MANAGEMENT III (PG 18+)                                                 31       2       $3,497.00      ($3,739.00)      ($7,478.00)       (1.58)
05 N3 SKILLED CLERICAL 1-4                                                     1,137         57       $1,423.67        ($141.30)      ($6,358.35)       (1.55)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                                    754        46       $2,133.26        ($946.61)     ($19,878.77)       (1.50)
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                                 3,416        234       $3,868.75        ($335.00)     ($72,025.85)       (1.42)
__ 20 FINANCIAL PROFESSIONALS                                                     120         2       $2,000.00      ($5,684.75)      ($5,684.75)       (1.41)
05 NU SECRETARIES 6-7                                                             563         9       $1,810.94        ($147.10)        ($588.39)       (1.34)
01 S TRAFFIC, TRANS & LOGISTICS MANAGEMENT (PG 11+)                               308        11       $7,500.00      ($3,386.50)     ($16,932.50)       (1.18)
05 NV SECRETARIES 2-5                                                             576        45       $1,848.39        ($184.14)      ($6,628.97)       (1.14)
01 U SALES MANAGEMENT (PG 11+)                                                 1,574         21      $16,247.68        ($444.11)      ($7,549.94)       (1.06)
01 B GENERAL MANAGEMENT ll (PG 9-17)                                              120         2       $1,198.29      ($1,815.96)      ($3,631.92)       (0.99)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                                   3,501         53       $6,237.19        ($830.94)     ($40,716.02)       (0.95)
01 H MERCHANDISING MANAGEMENT (PG 11+)                                         1,035         23      $68,099.45         $124.58        $1,370.43        (0.93)
__ 41 SALES BELOW 10                                                              351         3       $4,779.07      ($2,362.59)      ($7,087.77)       (0.82)
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                                    831        33       $3,066.78      ($1,026.98)     ($15,404.68)       (0.76)
__ 11 MANAGEMENT ll                                                               907        25      $11,474.69      ($1,321.09)     ($30,385.00)       (0.70)
02 OTHER SPECIALIST (PG 1-10)                                                  1,457         24       $7,049.71      ($2,107.21)     ($29,500.97)       (0.57)
__ 21 GENERAL PROFESSIONALS                                                       344         3       $3,790.33      ($1,655.69)      ($4,967.06)       (0.43)
__ 30 TECHNICIANS                                                                    85       2       $3,096.00      ($1,408.88)      ($2,817.75)       (0.42)
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                                    687        30       $2,846.90         ($82.11)      ($1,806.37)       (0.40)
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                                    1,215         20       $1,964.27      ($1,198.06)     ($13,178.67)       (0.39)
05 N1 SKILLED CLERICAL 5-7                                                     2,289        120       $1,636.70          $20.23        $2,286.27        (0.39)
01 XX-8595 PAINTING & DECORATING OCC                                              266        13      $11,778.67        ($172.07)      ($1,548.62)       (0.27)
05 NY ACCOUNTANTS 6-7                                                             525        22       $3,830.77        ($476.74)      ($5,244.14)       (0.21)
02 O INFORMATION SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                        1,478         42       $6,338.18         ($36.89)      ($1,143.69)       0.20
02 OTHER SPECIALIST (PG 1-10)                                                     636        10       $4,043.88        ($907.22)      ($7,257.75)       0.21
01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                               1,063         22      $12,913.32      ($1,279.05)     ($15,348.56)       0.22
01 Q RESEARCH MANAGEMENT (PG 11+)                                                 681         7      $10,100.00         $100.00          $100.00        1.00
01 C GENERAL MANAGEMENT (PG 9-15)                                                 616        11      $22,083.33       $7,106.61       $21,319.83        1.36
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                                1,381         31       $4,829.17         $603.14        $9,650.32        2.04
__ 12 MANAGEMENT lll                                                              650        41       $4,506.70         $760.37       $30,414.68        2.32

An additional 11 job groups have insufficient data to calculate a number of S.D.s.                Highlighted lines have 50 or more African Americans




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                                    Table 5.5 By Division

                                     Total
                        Total                   Avg Afr       Diff Afr Amer
Division                            African                                   Weighted Diff    S.D.s
                      Employees                Amer Pay          v. Cauc
                                   Americans

07325-GOSCNA               1,707         210    $1,631.75       ($574.81)     ($103,465.63)    (4.74)
07135-SWEETNRNA            3,115         183    $2,752.04       ($634.97)      ($95,881.06)    (4.38)
00512-CORN MLG             5,956         298    $2,995.48       ($595.42)     ($150,640.69)    (4.28)
00001-NAG                  4,673         280    $1,699.95       ($152.68)      ($40,765.18)    (4.11)
00034-FERTILIZER           2,015          88    $2,958.15       ($876.41)      ($68,360.26)    (3.96)
00518-DRY MLG              1,696         104    $1,379.61       ($416.10)      ($37,032.97)    (3.48)
07515-ADMIN                2,074          49   $12,598.92       ($2,143.45)    ($85,737.93)    (3.24)
00538-NSS                  3,791         160    $4,808.95       ($1,286.32)   ($189,089.15)    (3.19)
07968-MEAT SOL              908            7    $4,099.73       ($9,530.77)    ($57,184.62)    (3.06)
07465-PHOSPHPROD            896           62    $3,779.78       ($677.24)      ($31,153.16)    (2.93)
07510-WIRE                   62           12        $381.92     ($1,103.76)    ($11,037.62)    (2.60)
00533-CIS                   957           78    $8,080.13       ($1,498.19)    ($67,418.60)    (2.57)
00550-PPD                  1,711          27    $3,949.08       ($545.20)      ($13,629.93)    (2.41)
07110-US PNUTS               24           11    $1,982.57       ($1,168.51)      ($4,674.03)   (2.24)
00036-WWJFV                 183            9    $3,270.01       ($635.66)        ($5,085.27)   (2.15)
07420-EXCEL BEEF           1,647          66    $6,558.65       ($1,489.38)    ($93,830.79)    (2.14)
07115-HORIZMILL             666           52        $999.29     ($340.97)      ($17,048.62)    (2.05)
07010-AGHORIZUS            2,426          36    $1,603.29       ($645.59)      ($22,595.82)    (1.91)
07290-VALUEINV              146            5    $2,500.00       ($1,750.00)      ($3,500.00)   (1.63)
07440-EXCELCR               198           17    $5,198.58       ($1,150.80)      ($8,055.57)   (1.51)
00405-PEANUTS               133           15    $1,814.29       ($363.28)        ($5,085.98)   (1.46)
00505-ADMIN                1,787          39    $8,898.10       ($2,090.03)    ($71,061.17)    (1.43)
07485-SALT                 1,243          65    $1,921.86       ($380.28)      ($23,197.02)    (1.35)
07080-WILBUR                 87            1   $24,187.50       ($2,338.55)      ($2,338.55)   (1.34)
07500-SSC                   106            1    $1,243.56       ($329.88)        ($329.88)     (1.34)
07963-ALLIANT                53            2   $55,000.00      ($15,000.00)    ($15,000.00)    (1.22)
07070-TURKPROD              987           32    $2,938.46       ($210.42)        ($6,522.87)   (0.93)
07295-CIS                   367           29    $6,813.04       ($2,454.36)    ($44,178.39)    (0.88)




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                                                                   Table 5.5 Cont’d
                                                     Total
                                  Total               Afr         Avg Afr             Diff Afr Amer         Weighted
Division                        Employees            Amer        Amer Pay                v. Cauc              Diff           S.D.s
07245-HEA/FDTECH                               264         8      $3,438.67             ($1,255.21)          ($8,786.46)       (0.83)
00530-WILLKNIGHT                               205         2       $352.18                 $1.22               $1.22           (0.63)
00537-SILENT KNIGHT                             93         2       $333.83                ($4.02)              ($4.02)         (0.52)
00106-NAG/AGM                                  144         5      $13,000.00            ($1,385.32)          ($4,155.96)       (0.50)
07370-CGLCITRPUR                                75         3      $4,972.72              ($916.17)           ($2,748.52)       (0.50)
07430-EXCEL PORK                               529         4      $8,511.23              $1,459.18           $5,836.72         (0.48)
07475-FERTDISTR                                238         5      $6,440.00             ($1,991.29)          ($3,982.58)       (0.41)
00513-OILSEEDS                               2,067      131       $2,306.44               ($16.71)           ($1,737.67)       (0.20)
00532-FMG                                    1,183       22       $39,750.93             $1,299.47           $24,689.92        (0.15)
00531-AFL                                      360       29       $4,774.86                $7.02              $175.60          (0.11)
07415-EMMPAK                                   274       11       $2,610.15                $6.05               $60.48          (0.09)
00108-WILBR CHOC                                78         1       $825.76                 $0.00               $0.00            0.00
07250-MWLYSINE                                 130         2      $2,578.22                $56.79             $113.58           0.00
07105-ARO                                      290       40       $2,087.94              ($797.87)          ($28,723.42)        0.01
00507-SALT                                   1,161       46       $3,018.05                $27.94            $1,005.67          0.23
00539-EXCEL                                  5,141      143       $5,958.34              ($616.89)          ($82,662.62)        0.23
00503-AN NUTR DV                             2,133       10       $3,644.82              $1,823.74           $7,294.98          0.24
00073-COFFEE                                    27         5      $2,900.00               $933.33            $1,866.67          0.24
07060-SUNFRFDS                                 374         5      $27,828.02             $15,249.69          $45,749.07         0.58
07480-DEICTECHN                                506       13       $3,245.88                $30.81             $400.56           0.77
07220-VIT E                                     71         1      $2,939.95               ($34.19)            ($34.19)          0.78
07495-NSS                                    1,701       63       $5,274.81               $570.12            $31,926.76         0.80
00013-MOLASSES                                  83         2      $1,400.00               $400.00             $400.00           1.00
00546-CGL ENERGY                               271         5       $742.43                 $69.43              $69.43           1.00
07125-DRYCORNING                               111         3      $4,000.00              $2,000.00           $2,000.00          1.00
07300-PETROLEUM                                 33         2      $1,500.00               $500.00             $500.00           1.00
07025-CAN                                      920         4       $493.70                $310.21             $620.41           1.58
00047-ROGERS                                    53       10       $9,500.00              $1,833.33           $3,666.67          1.71
00511-BIOSCIENCES                              209         2      $3,479.74              $1,292.09           $2,584.17          1.76
00523-CSW                                      441       27        $964.01                 $83.78            $1,675.58          1.78
07120-DSONA                                    781       92       $2,069.57             ($1,055.18)         ($85,469.42)        2.80
As additional 53 divisions have insufficient data to calculate a number of
                                                                                  Highlighted lines have 50 or more African Americans
S.D.s.




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                           Table 5.6 By Education Level and Service

                                     Total
                        Total       African      Avg Afr     Diff Afr Amer
Education Level       Employees    Americans    Amer Pay        v. Cauc        Weighted Diff    S.D.s
  Advance degree           4,584          117    $9,795.11      ($4,996.78)     ($294,810.27)   (4.30)
  College                23,493           611    $6,610.41         ($877.00)    ($419,206.00)   (4.80)
  Less than college        3,815          131    $2,831.31      ($1,104.92)      ($75,134.80)   (3.50)
  None recorded          30,847         1,802    $2,728.18         ($349.03)    ($572,417.05)   (8.09)
                                     Total
                        Total       African      Avg Afr     Diff Afr Amer
Service               Employees    Americans    Amer Pay        v. Cauc        Weighted Diff    S.D.s
   1st quartile          13,471           648    $2,619.12         ($534.07)    ($285,728.05)   (4.31)
   2nd quartile          15,578           529    $3,872.25         ($751.06)    ($327,460.96)   (4.93)
   3rd quartile          16,583           602    $4,155.01         ($537.66)    ($276,895.27)   (5.33)
   4th quartile          17,107           882    $4,183.23         ($621.19)    ($471,483.83)   (6.08)




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                                TABLES 6.1 - 6.7: TERMINATIONS

                                    Table 6.1 Overall Summary

                                           African              Expected
            Total         Total          Americans               African
          Employees    Terminated        Terminated             Americans     Difference        S.D.s
           221,154        5,409             412                  315.90        (96.10)          (7.96)




                                            Table 6.2 By Year

                                                 African          Expected
                  Total            Total       Americans           African
      Year      Employees       Terminated     Terminated         Americans    Difference          S.D.s
    Jun 1995          10,044         332            82                45.40     (36.60)           (9.17)
    Dec 1995          11,367         162            10                 8.10          (1.90)       (0.77)
    Jun 1996          11,661         200            14                 9.51          (4.49)       (1.80)
    Dec 1996          11,914         230            11                10.83          (0.17)        0.00
    Jun 1997          12,522         234            14                13.24          (0.76)       (0.10)
    Dec 1997          13,411         442            24                26.19          2.19          0.52
    Jun 1998          13,410         461            43                34.59          (8.41)       (2.47)
    Dec 1998          13,273         301            15                14.57          (0.43)        0.00
    Jun 1999          13,656         307            20                10.49          (9.51)       (3.73)
    Dec 1999          14,150         331            35                24.44     (10.56)           (3.09)
    Jun 2000          13,899         495            25                24.40          (0.60)       (0.03)
    Dec 2000          13,555         299            28                22.35          (5.65)       (1.67)
    Jun 2001          13,409         448            26                22.77          (3.23)       (0.80)
    Dec 2001          13,232         347            14                13.71          (0.29)        0.00
    Jun 2002          13,796         394            29                18.91     (10.09)           (3.20)
    Dec 2002          13,755         298            14                11.17          (2.83)       (0.82)
    Jun 2003          14,100         128              8                5.23          (2.77)       (1.19)



                                           Table 6.2 By FLSA

                                                  African             Expected
                 Total            Total         Americans              African
  FLSA         Employees       Terminated       Terminated            Americans           Difference       S.D.s
 Exempt         150,514          3,209                    188               136.03            (51.97)      (6.49)
Non-exempt       70,640          2,200                    224               179.87            (44.13)      (4.84)




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                                                          Table 6.4 By Job Group

                                                                                                     African       Expected
                                                                        Total           Total      Americans        African
   Job Group                                                          Employees      Terminated    Terminated      Americans      Difference S.D.s
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                              12,366           404              73          46.98       (26.02)   (5.51)
06 N4 CRAFTS                                                                 4,234            98              17           9.02        (7.98)   (4.19)
05 N3 SKILLED CLERICAL 1-4                                                   6,276           308              41          29.12       (11.88)   (4.02)
05 NZ ACCOUNTANTS 2-5                                                        9,577           339              45          33.92       (11.08)   (2.99)
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                              5,503            73               7           3.17        (3.83)   (2.62)
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                                  5,255           137               4           1.50        (2.50)   (2.06)
07 N5 OPERATIVES                                                            16,947           370              38          29.42        (8.58)   (1.82)
01 H MERCHANDISING MANAGEMENT (PG 11+)                                       3,166            39               4           2.05        (1.95)   (1.77)
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                               5,261            87               8           5.21        (2.79)   (1.73)
02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)                            7,809           161               8           5.03        (2.97)   (1.53)
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                              12,720           173               8           4.91        (3.09)   (1.46)
02 X OTHER SPECIALISTS (PG 1-10)                                             3,583            55               4           2.33        (1.67)   (1.30)
__ 11 MANAGEMENT ll                                                          2,097            11               2           1.10        (0.90)   (1.25)
02 O INFORMATION SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                      7,045           163               9           6.34        (2.66)   (1.20)
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                               3,737            49               1           0.13        (0.87)   (1.04)
03 NR TECHNICAL SUPPORT                                                      5,354           181              13          10.45        (2.55)   (0.87)
05 N1 SKILLED CLERICAL 5-7                                                  11,319           310              20          17.06        (2.94)   (0.74)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                                12,490           389               5           3.45        (1.55)   (0.65)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                               3,499            77               6           4.81        (1.19)   (0.63)
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                            23,286           475              26          23.88        (2.12)   (0.44)
02 OTHER SPECIALIST (PG 1-10)                                                2,541            50               2           1.25        (0.75)   (0.35)
01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                             3,707            51               2           1.28        (0.72)   (0.24)
__ 12 MANAGEMENT lll                                                         1,951            35               2           1.30        (0.70)   (0.18)
08 N6 LABORERS                                                               4,375           219              23          22.09        (0.91)   (0.11)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                               1,901            38               4           3.41        (0.59)   (0.10)
__ 21 GENERAL PROFESSIONALS                                                    797            11               0           0.12          0.12    0.00
__ 41 SALES BELOW 10                                                           982            16               0           0.13          0.13    0.00
01 B GENERAL MANAGEMENT ll (PG 9-17)                                           436             9               0           0.20          0.20    0.00
01 C GENERAL MANAGEMENT (PG 9-15)                                            1,748            29               1           1.46          0.46    0.00
01 K ACCOUNTING MANAGEMENT (PG 10+)                                          4,613            59               0           0.29          0.29    0.00
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                                        3,608            53               1           0.84        (0.16)    0.00
01 U SALES MANAGEMENT (PG 11+)                                               4,542           110               1           1.37          0.37    0.00
01 XX-8595 PAINTING & DECORATING OCC                                           700             8               0           0.33          0.33    0.00
02 OTHER SPECIALIST (PG 1-10)                                                6,672           264               2           1.93        (0.07)    0.00
05 NU SECRETARIES 6-7                                                        4,206            83               2           1.98        (0.02)    0.00
05 NV SECRETARIES 2-5                                                        3,644           139               7           6.58        (0.42)    0.00
05 NY ACCOUNTANTS 6-7                                                        2,880            90              14          14.94          0.94    0.23
03 NT COMPUTER OPERATIONS                                                    1,284            45               3           4.30          1.30    0.63
01 Q RESEARCH MANAGEMENT (PG 11+)                                            2,032            46               1           2.17          1.17    0.80
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                               3,503           106               8          10.05          2.05    1.17
An additional 17 job groups have insufficient data to calculate a number of S.D.s.     Highlighted lines have 20 or more expected African Americans




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                                  Table 6.5 By Division

                                                     African        Expected
                      Total         Total          Americans         African
Division            Employees    Terminated        Terminated       Americans      Difference    S.D.s
00550-PPD                5,685          343                 76             42.51       (33.49)   (8.65)
00513-OILSEEDS           7,834          164                 26             15.03       (10.97)   (3.42)
00512-CORN MLG          14,920           83                 12              6.35        (5.65)   (2.79)
07420-EXCEL BEEF         5,346           66                     6           2.38        (3.62)   (2.13)
00001-NAG               16,634          491                 40             30.00       (10.00)   (2.02)
07495-NSS                4,683          217                 14              9.24        (4.76)   (2.01)
07025-CAN                6,050          134                     6           3.30        (2.70)   (1.45)
07135-SWEETNRNA          7,532          154                 12              8.18        (3.82)   (1.36)
07515-ADMIN              9,710          190                     8           5.30        (2.70)   (1.09)
00532-FMG                3,984          197                 10              7.90        (2.10)   (1.07)
07440-EXCELCR             707            14                     3           1.73        (1.27)   (1.02)
07105-ARO                 434             7                     2           0.80        (1.20)   (0.96)
00538-NSS                7,993           59                     6           4.04        (1.96)   (0.87)
07475-FERTDISTR           764            13                     1           0.20        (0.80)   (0.75)
07962-RMFS SS             686             6                     1           0.20        (0.80)   (0.75)
07245-HEA/FDTECH          683            17                     4           2.92        (1.08)   (0.74)
00518-DRY MLG            6,281          107                 16             13.96        (2.04)   (0.70)
07295-CIS                2,064           74                 12             10.37        (1.63)   (0.66)
00533-CIS                3,164           64                 11              9.28        (1.72)   (0.62)
07370-CGLCITRPUR          581             9                     1           0.25        (0.75)   (0.58)
07010-AGHORIZUS          7,276          324                     6           4.53        (1.47)   (0.49)
07415-EMMPAK             1,303           21                     2           1.05        (0.95)   (0.49)
00516-FOOD SECTR          450             2                     1           0.27        (0.73)   (0.49)
07485-SALT               3,293           58                     6           4.68        (1.32)   (0.46)
00108-WILBR CHOC          872             4                     1           0.33        (0.67)   (0.35)
07968-MEAT SOL           2,644           31                     1           0.33        (0.68)   (0.34)
00539-EXCEL             16,113          188                     7           5.94        (1.06)   (0.25)
00531-AFL                 914           260                 25             24.00        (1.00)   (0.22)
00523-CSW                2,014           23                     4           3.33        (0.67)   (0.18)
00405-PEANUTS             924            48                 11             10.42        (0.58)   (0.07)
00034-FERTILIZER         4,674           35                     2           2.00          0.00   0.00
00036-WWJFV              1,115           57                     1           1.17          0.17   0.00
00206-CFI                 248             4                     1           0.50        (0.50)   0.00
00503-AN NUTR DV         9,782          195                     2           2.24          0.24   0.00
00505-ADMIN             14,218          109                     3           3.16          0.16   0.00
00508-SEED               3,229           79                     1           1.20          0.20   0.00
00511-BIOSCIENCES         650             5                     0           0.07          0.07   0.00
00530-WILLKNIGHT         1,571          151                     0           0.20          0.20   0.00
07115-HORIZMILL          2,593           43                     3           2.80        (0.20)   0.00
07265-IOL                 157             5                     0           0.50          0.50   0.00




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                                                                                African            Expected
                                    Total                Total                Americans             African
Division                          Employees           Terminated              Terminated           Americans          Difference        S.D.s
07325-GOSCNA                                5,390                  142                     13               13.27            0.27       0.00
07400-WWCOFFEE                                 44                   37                      8                7.50           (0.50)      0.00
07405-WWCOTTON                                624                   16                      6                5.58           (0.42)      0.00
07430-EXCEL PORK                            1,747                   22                      2                1.54           (0.46)      0.00
07480-DEICTECHN                             1,253                   14                      0                0.27            0.27       0.00
07500-SSC                                     586                    6                      1                0.60           (0.40)      0.00
07510-WIRE                                    327                    4                      0                0.50            0.50       0.00
00507-SALT                                  5,361                  202                      9                9.64            0.64       0.05
00535-HOHENBERG                             1,129                   25                     11               11.92            0.92       0.26
07120-DSONA                                 3,243                   56                      5                6.26            1.26       0.35
07465-PHOSPHPROD                            2,555                   39                      2                3.02            1.02       0.46
07070-TURKPROD                              3,962                  152                      2                4.15            2.15       1.06
An additional 63 divisions have insufficient data to calculate a
                                                                               Highlighted lines have 20 or more expected African Americans
number of S.D.s.




                                             Table 6.6 By Education and Service
                                                                                African           Expected
                                    Total              Total                  Americans            African
   Education Level                Employees         Terminated                Terminated          Americans         Difference       S.D.s
       Advance degree                 15,226                   282                       13             9.91          (3.09)       (1.82)
       College                        79,396                 1,464                       62            47.73         (14.27)       (2.87)
       Less than college              12,974                   315                       13            14.05           1.05         0.32
       None recorded                 113,558                 3,348                      324           244.21         (79.79)       (7.36)
                                                                                African           Expected
                                    Total              Total                  Americans            African
   Service                        Employees         Terminated                Terminated          Americans         Difference       S.D.s
       1st quartile                    55,607                2,148                      170           137.46          (32.54)      (4.06)
       2nd quartile                    54,850                1,362                      111            79.16          (31.84)      (5.40)
       3rd quartile                    54,521                1,129                       75            58.34          (16.66)      (3.22)
       4th quartile                    56,176                  770                       56            40.94          (15.06)      (3.03)




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